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                                                                             Page 1


                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


              __________________________
              PATRICK SAGET,                   )Case No.
              et al.,                          )18-cv-01599-WFK-ST
                  Plaintiffs                   )
              vs.                              )
              DONALD TRUMP, President          )
              of the United States             )
              et al.,                          )
                  Defendants                   )
              __________________________




                  Videotaped Deposition of Kathryn Anderson
                                   Washington, D.C.
                                   December 13, 2018
                                        10:11 a.m.




              Reported by:      Bonnie L. Russo
              Job No. 448917


                                Magna Legal Services
                                    866-624-6221
                                   www.MagnaLS.com
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                                                                             Page 2
         1    Videotaped Deposition of Kathryn Anderson held

         2    at:

         3

         4

         5

         6                    Mayer Brown, LLP

         7                    1999 K Street, N.W.

         8                    Washington, D.C.

         9

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        11

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        15

        16

        17

        18

        19    Pursuant to Notice, when were present on behalf

        20    of the respective parties:

        21

        22
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                                                                             Page 3
         1    APPEARANCES:
         2    On behalf of the Plaintiffs:
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         3       JILL M. FORTNEY, Esq.
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         4       71 South Wacker Drive
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         6       jfortney@mayerbrown.com
         7
         8    On behalf of Defendants:
                 JOSEPH A. MARUTOLLO, Esq.
         9       JAMES R. CHO, Esq.
                 UNITED STATES DEPARTMENT OF JUSTICE
        10       UNITED STATES ATTORNEY'S OFFICE
                 CIVIL DIVISION
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                 718-254-6288
        13       joseph.marutollo@usdoj.gov
                 james.cho@usdoj.gov
        14
        15
        16
        17
              Also Present:
        18    Marcus A. Christian, Esq., Mayer Brown, LLP
              Brantley Webb, Esq., Mayer Brown, LLP
        19    Glen Fortner, Videographer
        20
        21
        22
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         3    BY MR. CONNELLY                                        11
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                              Protected Status
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         3                Annual Report
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         1    EXHIBITS (CONTINUED):
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                          dated 5-8-17
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                              DPP_00010924-926
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        17                   dated 6-7-17
                            CP_00020560-563
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        19                    dated 7-18-17
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         1    EXHIBITS (CONTINUED):
         2
              Exhibit 34      Termination of the Designation 364
         3                    of Haiti for Temporary
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         4                    Extension of Employment
                              Authorization Documentation
         5                    for TPS Haiti
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        21                    dated 11-20-17
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         1    EXHIBITS (CONTINUED):
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         9
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        11
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        14
        15    (Exhibits included with transcript.)
        16
        17
        18
        19
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        21
        22
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                                                                             Page 9
         1                  P R O C E E D I N G S

         2

         3                 THE VIDEOGRAPHER:       We are now on the

         4    record.

         5                 This begins Videotape 1 in the

         6    deposition of Kathryn Anderson in the matter of

         7    Patrick Saget, et al., v. Donald Trump, U.S.

         8    Department of Homeland Security, et al., in the

         9    United States District Court for the Eastern

        10    District of New York.

        11                 Today's date is December 13th, 2018.

        12    And the time is 10:11.

        13                 This deposition is being taken at

        14    Mayer Brown, LLP, at the request of Mayer

        15    Brown.

        16                 The videographer is Glen Fortner of

        17    Magna Legal Services.

        18                 And the court reporter is Bonnie

        19    Russo of Magna Legal Services.

        20                 Will counsel and all parties present

        21    state their appearance and who they represent.

        22                 MR. CONNELLY:      Vincent Connelly of
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 10 of 463 PageID #:
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                                                                         Page 10
       1    the law firm Mayer Brown representing the

       2    plaintiffs.

       3                 MS. FORTNEY:      This is Jill Fortney

       4    of the law firm Mayer Brown representing the

       5    plaintiffs.

       6                 MR. CHRISTIAN:      Marcus Christian of

       7    the law firm Mayer Brown representing the

       8    plaintiffs.

       9                 MS. WEBB:     Brantley Webb, Mayer

      10    Brown, on behalf of the plaintiffs.

      11                 MR. MARUTOLLO:      Joseph Marutollo

      12    from the U.S. Attorneys Office on behalf -- on

      13    behalf of the government.

      14                 MR. CHO:     James Cho, also with the

      15    U.S. Attorney's Office, on behalf of the

      16    government.

      17                 MS. AFANEH:     Tahani Afaneh, with the

      18    Department of Homeland Security on behalf of

      19    the government.

      20                 MS. SHAH:     Liza Shah with the United

      21    States Citizenship and Immigration Services for

      22    the government.
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                                    8445

                                                                         Page 11
       1                 THE VIDEOGRAPHER:       The court

       2    reporter will please swear in the witness.

       3

       4                       KATHRYN ANDERSON,

       5                 being first duly sworn, to tell the

       6    truth, the whole truth and nothing but the

       7    truth, testified as follows:

       8

       9           EXAMINATION BY COUNSEL FOR PLAINTIFF

      10                 BY MR. CONNELLY:

      11         Q.      Good morning.

      12         A.      Good morning.

      13         Q.      Would you please tell us your name.

      14         A.      Kathryn Anderson.

      15         Q.      And, Kathryn, where -- with -- for

      16    whom do you work?

      17         A.      At the Department of Homeland

      18    Security, U.S. Citizenship and Immigration

      19    Services.

      20         Q.      How long have you worked with that

      21    agency?

      22         A.      I started with -- I'll call it
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                                                                         Page 12
       1    USCIS -- in 2011.

       2         Q.      Okay.    And I don't want a home -- I

       3    don't want a home address, but would you tell

       4    me where your residence is?

       5         A.      In Washington, D.C.

       6         Q.      Okay.    You have -- you're a lawyer;

       7    is that correct?

       8         A.      Correct.

       9         Q.      All right.     Have you ever

      10    participated in depositions before, either, you

      11    know, in taking, defending or serving as a

      12    witness?

      13         A.      I've participated in taking and

      14    defending but never served as a witness.

      15         Q.      Okay.    Well, I won't spend too much

      16    time on the preliminaries.          But if -- you know,

      17    particularly if there's something I ask you

      18    that's confusing, tell me.

      19         A.      Okay.

      20         Q.      Because otherwise the record will

      21    obviously -- your answer will reflect, you

      22    know, the presumption that you understand the
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                                                                         Page 13
       1    question.

       2                 Any time you want to take a break,

       3    feel free to do so.

       4                 I think that's all I need to tell

       5    someone who's -- who's been through the process

       6    before.

       7                 Why don't you give me -- let's --

       8    let's just go back to college.

       9                 Where did you go to college?

      10         A.      The University of Notre Dame.

      11         Q.      Oh.   And what -- what -- what year

      12    did you graduate?

      13         A.      2003 for undergrad.

      14         Q.      Okay.    And from there what did you

      15    do before -- or maybe went -- you went directly

      16    to law school?

      17         A.      I went straight to law school, also

      18    at the University of Notre Dame.

      19         Q.      And graduated when, '06?

      20         A.      Correct.

      21         Q.      From there what did you do before

      22    joining your present position?
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                                                                         Page 14
       1         A.      I worked for a law firm that at that

       2    time was called Baker & Daniels in South Bend,

       3    Indiana.

       4         Q.      All right.     For how long a period of

       5    time?

       6         A.      I was there until 2010.

       7         Q.      What -- what was your practice area?

       8         A.      Business litigation, a little bit of

       9    white collar crime defense.

      10         Q.      Any immigration or anything that,

      11    you know, was related to your -- I mean similar

      12    to what you're currently doing with the

      13    government?

      14         A.      Sure.    I had a couple of pro bono

      15    asylum cases.

      16         Q.      From -- do you happen to recall

      17    where -- where were those people from?

      18                 MR. MARUTOLLO:      Objection.

      19                 You can answer.

      20                 THE WITNESS:      Africa and Central

      21    America.

      22                 BY MR. CONNELLY:
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                                                                         Page 15
       1         Q.      And after your stint -- well, why

       2    don't you just walk me through.

       3                 When you -- when you left the South

       4    Bend firm, where did you do?

       5         A.      Sure.    I took on a volunteer

       6    position with the Mennonite Voluntary Service.

       7    I moved to New York City for that.            And my

       8    placement for the Mennonite Voluntary Service

       9    was with World Vision International, their

      10    United Nations office.

      11         Q.      You were acting in a legal capacity

      12    for them?

      13         A.      No.

      14         Q.      How long did you stay with that

      15    organization?

      16         A.      The volunteer stint was one year.

      17         Q.      And just, in ten words or less, what

      18    -- what -- what did you do during that time?

      19         A.      Sure.    I did policy and advocacy

      20    work to the United Nations on behalf of World

      21    Vision.

      22         Q.      And what -- what is -- what is
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                                                                         Page 16
       1    the -- kind of the purpose of World Vision?

       2         A.      Sure.    They focus on humanitarian

       3    aid and development work around the world with

       4    a particular focus on children.

       5         Q.      After that one-year voluntary work,

       6    what did you do?

       7         A.      That's when I got the position with

       8    USCIS.

       9         Q.      In -- here in Washington?

      10         A.      No.   That was in New York.

      11         Q.      And so we have a kind of cleaner

      12    record, so what -- what year now are we talking

      13    about when you joined USCIS?

      14         A.      We're in 2011.

      15         Q.      Okay.    Why don't you brief -- very

      16    briefly kind of walk me through.           Because

      17    obviously you're going to have a geographic

      18    change.     I don't know whether you'll have a

      19    title change.

      20                 Tell me, you know, what you -- what

      21    the -- your progress is within the

      22    organization.
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                                                                         Page 17
       1         A.      Sure.    So I started in the New York

       2    asylum office -- this was in 2011 -- as an

       3    asylum officer.       I was there for about a year

       4    and a half before I transferred to the Newark

       5    asylum office, also still as an asylum officer.

       6    So I was there for about another year and a

       7    half.

       8                 And that's when I moved to D.C. and

       9    got a position at USCIS headquarters in the

      10    office of policy and strategy.

      11         Q.      And was the move to D.C. -- I'm

      12    adding up your -- your one and a half years

      13    plus one and a half years -- that's 2014?

      14         A.      It was early 2014.

      15         Q.      Okay.    Going back just for a moment.

      16                 What -- what are the -- what were

      17    your responsibilities and duties as an asylum

      18    officer, rather, in New -- in New York or in

      19    Newark?

      20         A.      Sure.    In both offices I interviewed

      21    applicants for asylum and adjudicated their

      22    cases.    Also in the New York office I
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                                                                         Page 18
       1    interviewed credible fear cases as well.

       2         Q.      I'm sorry.     I missed it.

       3                 Credible?

       4         A.      Credible fear.

       5         Q.      Explain that for me.

       6         A.      Sure.    The process for people who

       7    are in the expedited removal process.             So maybe

       8    somebody who comes in through the southern

       9    border, doesn't have documents to enter, and is

      10    placed in a expedited removal process.             If they

      11    claim a fear of return to their country of

      12    nationality, our laws prescribe that the asylum

      13    division screens them to see if they have a

      14    credible fear of persecution.

      15         Q.      Okay.    And I -- I'm sorry.        If you

      16    gave me your title, I missed it.

      17                 When you moved to Washington, what

      18    was your position?

      19         A.      So my initial position was policy

      20    analyst.

      21         Q.      What did you do in that capacity?

      22         A.      So I was a policy analyst in the
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                                                                         Page 19
       1    international and humanitarian affairs division

       2    of the USCIS office of policy and strategy.

       3    And in that role, I worked on policy issues

       4    related to humanitarian immigration benefits

       5    for USCIS.

       6         Q.      How long did you remain a policy

       7    analyst?

       8         A.      I was in the policy analyst role

       9    until I think about the fall of 2015 when I

      10    became acting chief of that same division.

      11         Q.      Let me momentarily retreat, although

      12    I will try to stay on --

      13         A.      Sure.

      14         Q.      -- sequential, chronological,

      15    unilateral questions.

      16                 What prompted your decision to move

      17    from Newark, where you were an asylum officer,

      18    down to Washington, where you became a policy

      19    analyst?

      20         A.      Sure.    I've always been interested

      21    both in individual casework and working with

      22    individuals and at the same time doing broader
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                                                                         Page 20
       1    policy work.

       2                 So in the asylum officer context, I

       3    was interviewing people day after day.             And I

       4    -- I loved that.       I loved meeting people and

       5    making decision on their cases.

       6                 But I was also interested in -- in

       7    getting a -- a higher-level policy perspective

       8    as well.     So it was just -- I felt as though it

       9    was the right time to -- to make that move.

      10         Q.      Would -- would this -- would --

      11    would the change to become a policy analyst be

      12    perceived within the organization as a

      13    promotion?

      14         A.      Yes.

      15                 MR. MARUTOLLO:      Objection.

      16                 You can answer.

      17                 THE WITNESS:      Sorry.

      18                 BY MR. CONNELLY:

      19         Q.      And now we're -- you've brought us

      20    to the fall of 2015 when you're the acting

      21    chief of that division.

      22                 How -- I assume that that expanded
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                                                                          Page 21
       1    your responsibilities in some fashion?

       2         A.      It did.    I took on a supervisory

       3    capacity and also took on responsibility for

       4    overseeing all of the work of the division as

       5    opposed to just my particular areas.

       6         Q.      How many people did you supervise?

       7         A.      It varied over the time that I was

       8    in that role.        I think anywhere from two to

       9    four or five.

      10         Q.      Were the people that you supervised,

      11    were they also lawyers?

      12         A.      Some, but not all.       It's not a

      13    requirement for that position.

      14         Q.      And let's finish off.

      15                 Further titles and position since

      16    the fall of 2015?

      17         A.      Sure.    So I was acting as the chief

      18    of the division from fall of 2015 until the day

      19    that the administration changed.           So what was

      20    that, January 2017, when the -- excuse me --

      21    when the permanent chief of the division

      22    returned from a detail that he had been on.              So
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                                                                         Page 22
       1    at that point I became the deputy chief of the

       2    division.

       3         Q.      And who was the permanent chief who

       4    returned?

       5         A.      Brandon Prelogar.

       6         Q.      And have you -- have you continued

       7    to serve as deputy chief through today?

       8         A.      No.     I --

       9         Q.      Okay.

      10         A.      -- took on a new position just over

      11    two weeks ago.

      12         Q.      Okay.    What's that?

      13         A.      It's a senior advisor for the USCIS

      14    refugee asylum and international operations

      15    directorate.

      16         Q.      I think that organization is one of

      17    the acronyms that I'm going to ask you about

      18    because --

      19         A.      RAIO.

      20         Q.      RAIO?

      21         A.      Yes.

      22         Q.      Yeah.
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                                                                         Page 23
       1                 R-A-I-O?

       2         A.      Yes.    Correct.

       3         Q.      Okay.    Would you describe that as

       4    a -- a promotion? a lateral move?

       5                 Or describe --

       6         A.      I saw it as --

       7         Q.      -- it any way you like.

       8         A.      Sure.    I saw it as a promotion, yes.

       9         Q.      Do you still remain in the same

      10    physical location as you had been as a deputy

      11    chief and acting chief?

      12         A.      What do you mean "physical

      13    location"?

      14         Q.      I mean I just don't -- is your -- is

      15    your -- are you new responsibilities now as

      16    senior adviser -- do -- do you -- are you still

      17    basically in the same building that you were in

      18    previously?

      19         A.      Oh, it's the same building, a

      20    different floor.

      21                 MR. CONNELLY:      Okay.    I'm going to

      22    start showing you some documents.            And I think
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                                                                         Page 24
       1    what we'll do is we'll just number them

       2    numerically, and we'll put your initials in

       3    front of them so that, as other deposition

       4    documents load up this case, it'll be a little

       5    bit easier to remember which ones we showed to

       6    you.

       7                 MR. MARUTOLLO:      Excuse me for a

       8    moment.

       9                 MR. CONNELLY:      Sure.

      10                 MR. MARUTOLLO:      For the sake of

      11    clarity, can we also has attach them to the

      12    transcript --

      13                 MR. CONNELLY:      Sure.

      14                 MR. MARUTOLLO:      -- when this is all

      15    completed, just so we'll have it all in one

      16    place?

      17                 MR. CONNELLY:      Sure.    Sure.

      18    Absolutely.

      19                 So I'm going to -- I'm going to show

      20    you what I believe to be a copy of the TPS

      21    statute.

      22                 We'll make that KA-1.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 25 of 463 PageID #:
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                                                                         Page 25
       1                 Let's go off the record for a

       2    second.

       3                 THE VIDEOGRAPHER:       Off the record.

       4                 The time is 10:22.

       5                 (A short recess was taken.)

       6                 (Deposition Exhibit KA-1 was marked

       7    for identification.)

       8                 THE VIDEOGRAPHER:       We're going back

       9    on record.

      10                 The time is 10:24.

      11                 BY MR. CONNELLY:

      12         Q.      Have you had a chance to look at

      13    KA-1, which I'll suggest is a -- a copy of the

      14    TPS statute?

      15         A.      I have it in front of me.         I have

      16    not reread the entire thing, but --

      17         Q.      Okay.

      18         A.      -- I see it.

      19         Q.      Okay.    Do you have -- I mean is this

      20    statute something that you are familiar with --

      21         A.      Yes.

      22         Q.      -- from your duties at CIS?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 26 of 463 PageID #:
                                    8460

                                                                         Page 26
       1         A.      Yes.

       2         Q.      Okay.    If you could go to the second

       3    page, which is numbered on the bottom as Page 2

       4    of the statute.       And -- and in the lower part

       5    of this page -- of the page you'll see in bold

       6    there is designations.         And then under

       7    "Designations" it begins "(1) In General."

       8                 Are -- are you there with me on

       9    that?

      10         A.      I see it, yes.

      11         Q.      Okay.    My first question is this

      12    statute references the attorney general

      13    throughout the statute.

      14         A.      Correct.

      15         Q.      Okay?

      16                 From my current understanding -- but

      17    I'm looking to you to be educated -- my sense

      18    is that a lot of the decisions, you know, in

      19    terms of both the termination and extensions of

      20    TPS status, are made by the Department of

      21    Homeland Security; is that correct?

      22                 MR. MARUTOLLO:      Objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 27 of 463 PageID #:
                                    8461

                                                                         Page 27
       1                 You know, I -- the witness is

       2    testifying as a fact witness.           I object to the

       3    extent this is calling for some kind of legal

       4    conclusion.

       5                 But you can answer the question.

       6                 THE WITNESS:      Correct.    The

       7    decisions about TPS designations are made by

       8    the secretary of Homeland Security.

       9                 BY MR. CONNELLY:

      10         Q.      Okay.    And -- and if you know -- I

      11    mean I -- I'm not -- I'm not, frankly, very

      12    concerned about this -- you know, this --

      13    the -- the titles.

      14                 But I'm curious is -- do you -- do

      15    you know whether there -- there are other

      16    statutes, or is there -- is there something

      17    that the attorney general at some point

      18    designated to the head of the Department of

      19    Homeland Security making these decisions?

      20                 MR. MARUTOLLO:      Objection.

      21                 You can answer.

      22                 THE WITNESS:      I believe part of the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 28 of 463 PageID #:
                                    8462

                                                                         Page 28
       1    Homeland Security Act of 2001 changed the

       2    references in this statute to refer to the

       3    secretary of Homeland Security instead of the

       4    attorney general.

       5                 MR. CONNELLY:      Okay.

       6                 THE WITNESS:      I think that citation

       7    is in the Federal Register notices, if you need

       8    it.    I don't know it.

       9                 BY MR. CONNELLY:

      10          Q.     All right.     Okay.    Fine.

      11                 Also, because it's going to be --

      12    inform, you know, some greater part of my

      13    questions during the course of the day, if you

      14    would just follow along with me, where we're

      15    at, there are not -- there are three

      16    subsections, (A) then (B) and then (C), which

      17    spills over to Page 3.

      18                 Do you see those?

      19          A.     I see.

      20          Q.     Yeah.    And again, I'm not -- I'm

      21    going to try to move things along.            But I don't

      22    want to put any words your mouth.            So if what
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 29 of 463 PageID #:
                                    8463

                                                                         Page 29
       1    I -- what I suggest to you doesn't seem right,

       2    just correct me.

       3                 It appears that those are the three

       4    sections that indicate the kinds of things that

       5    would occur in a country that might -- might

       6    bring about the country, you know, having a TPS

       7    designation; is that correct?

       8                 MR. MARUTOLLO:      Objection.      Again,

       9    that calls for legal conclusion.           The law

      10    speaks for itself.

      11                 But you can certainly answer the

      12    question.

      13                 THE WITNESS:      I understand A, B and

      14    C to be the three potential bases -- legal

      15    bases for -- upon which a TPS designation could

      16    be made.

      17                 BY MR. CONNELLY:

      18         Q.      Okay.    And let -- let me just

      19    broadly -- and I'll re-ask.

      20                 In the course of your duties at CIS,

      21    have you become familiar with the concepts of

      22    ongoing armed conflict; the concepts of
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 30 of 463 PageID #:
                                    8464

                                                                         Page 30
       1    earthquake, flood, drought, epidemic or other

       2    environmental disaster; and the concepts of

       3    extraordinary and temporary conditions?

       4         A.      I'm very familiar in my work with

       5    these three sections, yes.

       6         Q.      Okay.    If we could just move down

       7    Page 3 just a little bit to near the bottom

       8    where, under (3), "Periodic review,

       9    terminations and extensions of designations."

      10                 Do you see that?

      11         A.      I do.

      12         Q.      And in the immediate large paragraph

      13    under it, which begins by talking about at

      14    least 60 days before the end of the initial

      15    period of designation, the -- there will be a

      16    determination about whether or not to extend.

      17    I -- that -- that's paraphrasing.

      18                 But do you see where I'm at?

      19         A.      I see where you're talking.

      20         Q.      Okay.

      21         A.      Yes.

      22         Q.      Are you also familiar with the --
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 31 of 463 PageID #:
                                    8465

                                                                         Page 31
       1    the concepts and the -- the review process or

       2    the -- or the extension of a designation?

       3                 Has that -- has that been a part of

       4    your duties?

       5                 MR. MARUTOLLO:      Objection.

       6                 You can answer.

       7                 THE WITNESS:      Yes.   I'm very

       8    familiar with this section as well.

       9                 BY MR. CONNELLY:

      10         Q.      Okay.    Let me ask, in this section,

      11    parenthetically after the reference to the

      12    attorney general, it states:          "After

      13    consultation with appropriate agencies of the

      14    government."

      15                 Do you see that?

      16         A.      I do.

      17         Q.      And if you go back just to the

      18    previous page, under the Designation section

      19    that we just briefly went through, that -- that

      20    qualifier is also mentioned, exactly the same

      21    phrasing:     "After consultation with appropriate

      22    agencies of the government."
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 32 of 463 PageID #:
                                    8466

                                                                         Page 32
       1                 See that?

       2         A.      I see, yes.

       3         Q.      Okay.    Would you tell me, from your

       4    practical perspective, who does the head of the

       5    Department of Homeland Security -- what

       6    agencies does he or she consult with when

       7    making the decisions either about designations

       8    or extensions?

       9                 MR. MARUTOLLO:      Objection.      First,

      10    it calls for speculation.          And it also calls

      11    for legal conclusion.

      12                 But you can answer to the extent you

      13    have knowledge of this as a fact witness.

      14                 THE WITNESS:      In my personal

      15    experience and the work that I've done in the

      16    office of policy and strategy, it's routine for

      17    our office, the office of policy and strategy,

      18    to begin consultations and have some level of

      19    consultations with the Department of State

      20    routinely on both initial designations for TPS

      21    as well as extensions.

      22                 Beyond the Department of State, we
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 33 of 463 PageID #:
                                    8467

                                                                         Page 33
       1    would reach out and consult with other agencies

       2    as it may be relevant to a particular country

       3    or the situation in that particular country.

       4                 For example, when the West Africa

       5    countries were designated on the basis of

       6    Ebola, we contacted and had discussions with

       7    the CDC regarding their view of the safety for

       8    nationals of those countries.

       9                 That's at my level and my

      10    experience.      I don't know who the secretary

      11    always reaches out to at the secretary's level.

      12                 BY MR. CONNELLY:

      13         Q.      But you mentioned reaching out to

      14    the State Department, correct?

      15         A.      Correct.

      16         Q.      Could you again, on a factual level,

      17    on your personal knowledge level, illustrate

      18    that for me or explain how there's an

      19    interaction on occasion for either designation

      20    or extensions between Department of Homeland

      21    Security and Department of State.

      22                 MR. MARUTOLLO:      Objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 34 of 463 PageID #:
                                    8468

                                                                         Page 34
       1                 You can answer.

       2                 THE WITNESS:      The division that I

       3    was in within the office of policy and strategy

       4    kind of runs and coordinates TPS policy making

       5    for USCIS.      And so it's the responsibility of

       6    the -- I'll -- I'll call it IHAD, the

       7    International and Humanitarian Affairs

       8    Division.     It's the responsibility of IHAD to

       9    start the review process, to kind of kick off,

      10    I would say, the review process for any country

      11    that's already designated when that time frame

      12    comes up.

      13                 Similarly, if there's discussion of

      14    a new initial designation, IHAD also kicks off

      15    that process.

      16                 So as part of kicking off that

      17    process, IHAD reaches out to PRM.

      18                 BY MR. CONNELLY:

      19         Q.      Hang on for a second, again, to both

      20    education me and to keep our record clean.

      21                 First, I-H-A-D, I-H-A-D, is -- that

      22    is a -- that is a part of Department of
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 35 of 463 PageID #:
                                    8469

                                                                         Page 35
       1    Homeland Security, correct?

       2         A.      Correct.     That's --

       3         Q.      Okay.    That's right.

       4                 And now who is -- who do they reach

       5    out to?

       6                 You just -- you just mentioned an

       7    acronym.

       8         A.      Sure.    At the Department of State,

       9    the bureau is PRM.        I think that's Population,

      10    Refugees and Migration.

      11         Q.      Okay.    And what is the purpose of

      12    reaching out to -- going outside of Department

      13    of Homeland Security to PRM, which is a part of

      14    the Department of State?

      15         A.      Historically PRM has coordinated the

      16    TPS input and development of the State

      17    Department's position on TPS designations.              So

      18    they are the point of contact for the

      19    Department of State for TPS.

      20         Q.      And -- and -- and to what purpose is

      21    there this outreach?

      22                 What is -- what is the information
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 36 of 463 PageID #:
                                    8470

                                                                         Page 36
       1    flow or what's the decision making process

       2    between the agencies?

       3         A.      Sure.

       4                 MR. MARUTOLLO:      Objection.      Vague.

       5    Also, again, calls for legal conclusion.

       6    Again, this is a fact witness.

       7                 So you can answer to the extent you

       8    know.     But I instruct you to answer only to the

       9    extent that you have personal knowledge of this

      10    information.

      11                 THE WITNESS:      We reach out to the

      12    Department of State to ask them if they have

      13    any position on TPS designations.            But the

      14    primary purpose is to get their input on

      15    conditions in the country.          Because looking at

      16    conditions in the country is a very important

      17    part of both the TPS review process and initial

      18    designations.

      19                 So they have inmate knowledge of

      20    various countries around the world.            And so we

      21    ask them for their input on reviewing country

      22    conditions.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 37 of 463 PageID #:
                                    8471

                                                                         Page 37
       1                 BY MR. CONNELLY:

       2           Q.    Who makes the final decision on

       3    whether a country -- a country will be

       4    designated or the TPS status?

       5           A.    The secretary --

       6                 MR. MARUTOLLO:      Objection.

       7                 THE WITNESS:      Sorry.

       8                 MR. MARUTOLLO:      But you can answer.

       9                 THE WITNESS:      The secretary of

      10    Homeland Security.

      11                 BY MR. CONNELLY:

      12         Q.      So is that also true for the final

      13    decision on an extension of the designation?

      14         A.      Yes.

      15         Q.      In the course of your duties at CI

      16    -- oh, let -- here.        Let -- let's -- let's

      17    frame this a little bit better.

      18                 As of two weeks ago, in your new

      19    job, do you remain involved in designations or

      20    extension -- extensions of designations for

      21    TPS?

      22         A.      I don't believe that TPS policy
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 38 of 463 PageID #:
                                    8472

                                                                         Page 38
       1    making will be a part of my portfolio in my new

       2    position.

       3         Q.      Okay.    Prior to that time though,

       4    during your -- your when you were with CIS in

       5    Washington as of 2014, were you involved in

       6    making decisions regarding either a designation

       7    of a country or the extension of that

       8    designation?

       9                 MR. MARUTOLLO:      Objection.      Vague.

      10                 You can answer.

      11                 THE WITNESS:      TPS policy making was

      12    part of my portfolio during almost all of the

      13    time that I worked in the office of policy and

      14    strategy.

      15                 BY MR. CONNELLY:

      16         Q.      All right.     And were there specific

      17    occasions when you were a part of the process

      18    trying to determine whether a country should be

      19    designated for TPS status?

      20         A.      Yes.

      21         Q.      What -- and what exactly was your

      22    role?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 39 of 463 PageID #:
                                    8473

                                                                         Page 39
       1                 What -- what -- what information did

       2    you look at?      What information did you convey?

       3                 MR. MARUTOLLO:      Objection.      Compound

       4    and -- and vague.

       5                 But You can answer.

       6                 THE WITNESS:      Okay.    Generally my

       7    role typically was to kick off that process for

       8    USCIS.

       9                 Let me take a step back.

      10                 MR. CONNELLY:      Sure.

      11                 THE WITNESS:      The way that the DHS

      12    department kind of policy making works for TPS

      13    is that USCIS is responsible for the

      14    adjudication of TPS applications and therefore

      15    is the primary agency that has equities in a

      16    TPS designation.

      17                 So traditionally the director of

      18    USCIS makes a recommendation to the secretary

      19    of the Department of Homeland Security.             And

      20    the initial package that goes to the secretary

      21    is prepared by USCIS.

      22                 So my role for the office of policy
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 40 of 463 PageID #:
                                    8474

                                                                         Page 40
       1    and strategy was to pull that package together.

       2    And so the initial steps would be to, as I

       3    mentioned, reach out to the Department of State

       4    to request country conditions; also to reach

       5    out to the research unit within USCIS that also

       6    prepared a country conditions report.

       7                 And then, once we received those

       8    reports, review them, compile the information,

       9    and draft the initial draft of the

      10    recommendation memo that would go from the

      11    director of USCIS to the secretary of Homeland

      12    Security.

      13         Q.      And was there a similar process

      14    regarding extensions as opposed to the initial

      15    designation?

      16         A.      There's a similar process, yes, both

      17    for initials and the review of currently

      18    designated countries.

      19         Q.      And again, you mentioned that there

      20    was a package, as you've describe, for the

      21    initial process.

      22                 Was there some kind -- kind of --
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 41 of 463 PageID #:
                                    8475

                                                                         Page 41
       1    similar package of information pulled together

       2    for extensions?

       3                 MR. MARUTOLLO:      Objection.

       4                 Again, you can answer to the extent

       5    as -- as your knowledge as a fact -- fact

       6    witness.     You're not a 30(b)(6) witness.

       7                 MR. CONNELLY:      Yeah.

       8                 MR. MARUTOLLO:      But you can answer

       9    to the extent, in your personal knowledge, you

      10    know.

      11                 THE WITNESS:      There was typically a

      12    similar package for both.

      13                 BY MR. CONNELLY:

      14         Q.      Did you ever do what I'll call

      15    primary research from -- from -- in your

      16    position?

      17                 You mention the package of

      18    information that came to your attention, and

      19    then it ultimately moved up to the head of the

      20    department.

      21                 Did -- did -- did you have a -- did

      22    you have a role where you -- you brought in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 42 of 463 PageID #:
                                    8476

                                                                         Page 42
       1    factual information beyond what was provided to

       2    you in the package?

       3                 MR. MARUTOLLO:      Objection.      Vague.

       4                 You can answer.

       5                 THE WITNESS:      Not typically.

       6                 BY MR. CONNELLY:

       7         Q.      Do you have any recollection of ever

       8    doing so?

       9         A.      There were certain occasions, yes.

      10         Q.      Focusing on Haiti, do you have a

      11    recollection of ever doing it, you know, on

      12    either the Haiti designation or the Haiti

      13    extensions?

      14                 MR. MARUTOLLO:      Objection.

      15                 You can answer.

      16                 THE WITNESS:      I think that with

      17    Haiti there were some specific instances where

      18    I looked into country conditions on my own.

      19                 BY MR. CONNELLY:

      20         Q.      And again, we'll try to stay

      21    chronological, but just so I have a -- kind of

      22    a place maker, tell me, you know, to your best
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 43 of 463 PageID #:
                                    8477

                                                                         Page 43
       1    recollection when that occurred.

       2         A.      I would say that that was probably

       3    in the spring of 2017, for the most part.

       4         Q.      All right.     Can you recall any other

       5    instances in which you, you know, took, as you

       6    described it, a look on, you know, your own for

       7    any determinations or extensions beyond Haiti

       8    in the spring of 2017?

       9         A.      I mean let me say generally I viewed

      10    part of my role as being aware of what was

      11    going on in various countries around the world

      12    to determine if we should even be looking at

      13    certain countries for new TPS designations, et

      14    cetera.

      15                 So actually, stepping back on Haiti,

      16    I mean throughout the time that I was working

      17    only the TPS portfolio, I would keep an eye on

      18    what was going on in Haiti.

      19                 So actually, for example, in -- I

      20    guess it would have been late 2016, Hurricane

      21    Matthew hit Haiti.        And so I was watching that

      22    personally, looking at the country conditions
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 44 of 463 PageID #:
                                    8478

                                                                         Page 44
       1    to think about how that might impact TPS

       2    designations.

       3                 And so especially any time that any

       4    country was coming up for review, I would be

       5    looking into country conditions.

       6         Q.      The initial designation for Haiti

       7    was based upon the 2010 earthquake; is that

       8    correct?

       9         A.      That's correct.

      10                 MR. MARUTOLLO:      Objection.

      11                 But you can answer.

      12                 THE WITNESS:      That's correct.

      13                 BY MR. CONNELLY:

      14         Q.      Okay.    And then there were -- there

      15    were a series -- and I'll -- I'll -- I'll show

      16    them to you in a minute, but there were a

      17    series then of extensions of that initial

      18    determination; is that correct?

      19         A.      Actually, the next decision that was

      20    made was in 2011.       And I think it's important

      21    to note that it was a redesignation --

      22         Q.      Yes.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 45 of 463 PageID #:
                                    8479

                                                                         Page 45
       1         A.      -- and extension of Haiti for TPS.

       2         Q.      Okay?

       3         A.      Following that 2011 redesignation

       4    and extension, there were a series of

       5    extensions.

       6         Q.      All right.     And in that -- in that

       7    2011 time frame as well as the subsequent

       8    extensions, were current conditions reviewed as

       9    a part of the process in -- in deciding whether

      10    or not a redesignation and extension should be

      11    granted?

      12                 MR. MARUTOLLO:      Objection.      The

      13    decisions speak for themselves.           The witness

      14    wasn't even working at USCIS for -- I believe

      15    for half that period.        It calls for legal

      16    conclusion.      Calls for speculation.

      17                 But with that caveat, and to your

      18    personal knowledge, you can answer the

      19    question.

      20                 THE WITNESS:      I started working on

      21    the TPS portfolio in approximately late summer

      22    or fall 2014 I believe.         So I don't have
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 46 of 463 PageID #:
                                    8480

                                                                         Page 46
       1    personal knowledge of what happened before

       2    then.

       3                 BY MR. CONNELLY:

       4         Q.      Okay.    After at the time.       Let -- so

       5    we'll just take it, you know, whatever

       6    extensions occurred between 2014 through 2017.

       7         A.      Could you ask --

       8                 MR. MARUTOLLO:      Can I get -- yeah.

       9                 I'm sorry.     Go ahead.

      10                 THE WITNESS:      Yeah.    Could you ask

      11    the question again.        I'm sorry.

      12                 BY MR. CONNELLY:

      13         Q.      To your recollection, were -- when

      14    the extensions that -- that occurred between

      15    2014 and 2017 for Haiti took place, was a part

      16    of the process in making that determination to

      17    take a look at the current conditions in Haiti,

      18    during, you know, whatever year was in

      19    question, be it 2014, '15 or '16?

      20         A.      Yes.    Part of the review process was

      21    to look at current conditions in Haiti.

      22                 MR. CONNELLY:      Okay.    I'm going to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 47 of 463 PageID #:
                                    8481

                                                                         Page 47
       1    walk you through the redesignation in 2011 and

       2    then some of the extensions that occurred

       3    afterwards as the next series of documents.

       4                 THE WITNESS:      Okay.

       5                 MR. CONNELLY:      So we'll call the

       6    first one that I will show you KA-2.

       7                 (Deposition Exhibit KA-2 was marked

       8    for identification.)

       9                 THE WITNESS:      Thank you.

      10                 MR. CONNELLY:      I think I'm a little

      11    ahead of myself.

      12                 BY MR. CONNELLY:

      13         Q.      Do you have that before you?

      14         A.      I do.

      15         Q.      KA-2?

      16                 And if you still -- you -- and you

      17    have the original document in front of you.

      18                 K -- KA-1 is the -- help me with the

      19    acronym.

      20                 Is -- is this the FRN no -- or the

      21    FRN for the initial designation of temporary

      22    protective status --oh, I'm sorry.            I'm sorry.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 48 of 463 PageID #:
                                    8482

                                                                         Page 48
       1                 Forget about everything I just said.

       2    I'm -- I'm back on track now.

       3                 The first document I showed you was

       4    just a general statute, correct?

       5         A.      KA-1 is, yes, the TPS statute.

       6         Q.      Yeah.     Okay.

       7                 KA-2, is this the official notice

       8    that Haiti has been put on Temporary Protected

       9    Status as of January 21, 2010?

      10         A.      I'm just looking at this, but it

      11    looks to be the redesignation in 2011.

      12         Q.      I've got -- yeah.        We'll -- we'll --

      13    we'll get on track.        We'll be okay with this.

      14                 I've got -- I've got -- what's

      15    before you?

      16                 Just read the top of the document.

      17    We'll get -- we'll get back on track.

      18         A.      76FR29000-01.

      19                 MR. CONNELLY:      Ah.    Okay.   Okay.

      20    Fine.     All right.

      21                 Do we have -- do we have copies of

      22    the original?      Yeah.    Will you hand me this.
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                                                                         Page 49
       1                 Let -- let's -- I'm going to -- I'm

       2    going to give you another document.            And we'll

       3    call it 2A.

       4                 (Deposition Exhibit KA-2A was marked

       5    for identification.)

       6                 THE WITNESS:      Thank you.

       7                 MR. MARUTOLLO:      So do you have

       8    copies of that document?

       9                 MR. CONNELLY:      Oh, I'm sorry.

      10                 (Discussion off the stenographic

      11    record.)

      12                 BY MR. CONNELLY:

      13         Q.      And what -- what is document 2A?

      14                 (Discussion off the stenographic

      15    record.)

      16                 THE WITNESS:      I'm sorry?

      17                 BY MR. CONNELLY:

      18         Q.      What is document that we've -- we've

      19    now labeled KA-2A?

      20         A.      From the title, it appears to be the

      21    federal register notice announcing Haiti's

      22    designation for TPS in 2010.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 50 of 463 PageID #:
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                                                                           Page 50
       1         Q.      Okay.    And am I correct that, given

       2    what you've told me about your own time at CIS,

       3    this was done before you were in Washington,

       4    correct?

       5         A.      That is correct.

       6         Q.      Okay.    If you wouldn't mind, if you

       7    would go to the third page of the document.               In

       8    bold type, about a quarter of the way from the

       9    top, there is a question:          "Why is the

      10    secretary designating Haiti for TPS?"

      11                 Do you see that?

      12         A.      I do.

      13         Q.      Did you ever have any reason, in the

      14    course of your later duties, to become familiar

      15    with this particular document?

      16                 MR. MARUTOLLO:      Objection.      Again,

      17    you know, it's vague.        The witness is not a

      18    30(b)(6) witness.

      19                 But you can answer the question to

      20    the extent you became aware of this document.

      21                 THE WITNESS:      Yes.   I reviewed this

      22    document in working on Haiti TPS.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 51 of 463 PageID #:
                                    8485

                                                                         Page 51
       1                 BY MR. CONNELLY:

       2         Q.      And -- and explain that just a

       3    little bit.

       4                 Why -- why was it useful for you to

       5    go back and review this document in your lather

       6    duties at CIS?

       7         A.      It was helpful to look at this to

       8    see the bases upon which the original decision

       9    had been made, to see the country conditions

      10    that were cited as the reason for the

      11    designation.

      12                 And also we often generally used

      13    previous federal register notices as the basis

      14    for drafting future federal register notices.

      15         Q.      Now let's go to the next doc --           the

      16    document that you already have before you,

      17    which we've labeled KA-2.

      18                 Tell me what that document is.

      19         A.      So this looks to be the Federal

      20    Register notice from 2011 announcing the

      21    extension and redesignation of Haiti for TPS.

      22         Q.      Okay.    And again, this was -- you
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 52 of 463 PageID #:
                                    8486

                                                                         Page 52
       1    weren't in Washington at the time of this

       2    extension and redesignation; is that right?

       3         A.      That's right.

       4         Q.      But did you similarly draw on this

       5    document in some capacity for your own work

       6    once you were in Washington?

       7                 MR. MARUTOLLO:      Objection.

       8                 You can answer.

       9                 THE WITNESS:      I did -- I did review

      10    this document, yes.

      11                 BY MR. CONNELLY:

      12         Q.      For the same purposes as you've

      13    already explained, that you had reviewed the

      14    earlier one?

      15         A.      Yes.

      16         Q.      You made a point, and I appreciate

      17    that this document is not merely an extension;

      18    it's also a redesignation, correct?

      19         A.      Correct.

      20         Q.      And in -- in the first narrative

      21    paragraph of the document on the first page,

      22    does that explain what purpose is served by a
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 53 of 463 PageID #:
                                    8487

                                                                         Page 53
       1    redesignation as opposed to, you know, merely

       2    having an extension?

       3                 MR. MARUTOLLO:      Objection.

       4                 Again, you're not a 30(b)(6)

       5    witness.     You weren't drafting this document.

       6    You're a fact witness.         It -- the document

       7    speaks for itself.

       8                 But you can answer the question.

       9                 THE WITNESS:      I don't fully

      10    understand the question.         I'm sorry.

      11                 BY MR. CONNELLY:

      12         Q.      Okay.    I -- I -- let -- let's --

      13    beyond this document -- but use it if it helps

      14    you a little bit -- are -- are you, from your

      15    own responsibilities, familiar with the

      16    redesignation process?

      17         A.      Yes.

      18         Q.      And -- and what impact does that

      19    have for -- let's -- we'll -- we'll use Haitian

      20    -- Haitians as an example.

      21                 How is a redesignation process --

      22    how does that impact Haitians who may be in the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 54 of 463 PageID #:
                                    8488

                                                                         Page 54
       1    United States who weren't in the United States

       2    at the time of the original designation?

       3                 MR. MARUTOLLO:      Objection.      Calls

       4    for legal conclusion.

       5                 And again, not -- you're not a

       6    30(b)(6) witness.

       7                 But you can answer the question to

       8    the extent you're aware in your personal

       9    knowledge.

      10                 THE WITNESS:      One of the primary

      11    functions of a redesignation, or distinctions,

      12    I should say, as opposed to an extension, a

      13    redesignation, because it is essentially just a

      14    new initial designation, allows for the

      15    secretary of Homeland Security to set a new

      16    continuous residence and continuous physical

      17    presence state for TPS beneficiaries, which

      18    functions to potentially allow for people who

      19    weren't originally eligible for TPS to apply

      20    for TPS under the redesignation.

      21                 MR. CONNELLY:      All right.     I'm going

      22    to give you the next document, which we're
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 55 of 463 PageID #:
                                    8489

                                                                          Page 55
       1    going to label as K -- KA-4.

       2                  (Discussion off the stenographic

       3    record.)

       4                  (Deposition Exhibit KA-4 was marked

       5    for identification.)

       6                  BY MR. CONNELLY:

       7           Q.     Take a moment to acclimate yourself

       8    to this one-page e-mail.

       9           A.     Thank you.

      10          Q.      Is -- is this e-mail familiar to

      11    you?

      12                  MR. MARUTOLLO:     But just make -- be

      13    sure you've a chance to read the whole --

      14                  MR. CONNELLY:     Yeah, yeah.      No.   I'm

      15    sorry.      No.   I didn't mean to jump on you.         No,

      16    no.    Take your time and let me --

      17                  THE WITNESS:     I need some --

      18                  MR. CONNELLY:     Give me an

      19    indication --

      20                  THE WITNESS:     -- additional time to

      21    read it.      Yes.

      22                  MR. CONNELLY:     -- when you're --
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 56 of 463 PageID #:
                                    8490

                                                                         Page 56
       1                 THE WITNESS:      Thank you.

       2                 MR. CONNELLY:      -- comfortable

       3    answering questions.        Yeah.

       4                 THE WITNESS:      Okay.

       5                 BY MR. CONNELLY:

       6         Q.      Okay.    Do you have a recollection

       7    of -- of exchanging these e-mails?

       8         A.      I don't have an independent

       9    recollection apart from this document, but it

      10    looks like I did.

      11         Q.      But do -- let me ask you -- and

      12    again, I -- you know, it's -- it's backing into

      13    your comfort level.

      14                 Do you have any reason to think that

      15    this e -- that this e-mail was not generated on

      16    the times and dates that it indicates?

      17         A.      No.

      18         Q.      And is this -- was this an e-mail

      19    that was on your government computer to the

      20    government computer of Brook E. Hefright?

      21                 I probably just mispronounced her

      22    last name.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 57 of 463 PageID #:
                                    8491

                                                                         Page 57
       1         A.      It's a he, and it's Hefright.

       2         Q.      Oh, okay.

       3         A.      Yes.

       4         Q.      Thank you.

       5         A.      Yes.    I believe this was on our

       6    government e-mails.

       7         Q.      Okay.    And was this e-mail, you

       8    know, generated in the ordinary course of

       9    business?

      10         A.      Yes.

      11         Q.      Okay.    A long preface to -- but

      12    to -- to acclimate you, we're going out of

      13    sequence here a little bit only because what --

      14    what I just showed you was the redesignation

      15    and extension on -- in 2011.          And it appears

      16    that this now April of 2017 e-mail exchange

      17    references back to that document.

      18         A.      That's my understanding.

      19         Q.      Okay.    That -- I just -- as I say, I

      20    wanted you to understand why we're -- we're

      21    doing --

      22         A.      Yes.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 58 of 463 PageID #:
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                                                                         Page 58
       1         Q.      -- what we're doing right now.

       2                 All right.     So let's -- you know,

       3    with all e-mail chains, we'll -- we'll find

       4    this, you know, throughout -- the earlier one

       5    is at the bottom, and then -- and -- and so

       6    it's -- it's usually a good idea to start

       7    there.

       8                 So first let me ask you what was

       9    your purpose in sending the e-mail to Mr.

      10    Hefright who appears to be over in the State

      11    Department?

      12                 MR. MARUTOLLO:      Objection.

      13                 You know, again, to the extent this

      14    calls for internal government deliberations, I

      15    would instruct you not to answer on the

      16    deliberative process privilege.

      17                 To the extent you can answer based

      18    on the text that's in front of you, you can

      19    answer the question.

      20                 THE WITNESS:      From the e-mail chain,

      21    it looks like he reached out to me with a

      22    question.     So I was responding to him.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 59 of 463 PageID #:
                                    8493

                                                                         Page 59
       1                  BY MR. CONNELLY:

       2         Q.       Okay.   And help me out now a little

       3    bit.      Let's stay in his e-mail for a moment

       4    with the acronyms.

       5                  He begins by saying:       "Our A/AS sent

       6    back the Haiti TPS review package."

       7                  What is A/AS?

       8                  MR. MARUTOLLO:     Objection.

       9                  You know, answer to extent you know.

      10    If you --

      11                 BY MR. CONNELLY:

      12         Q.      If you know.      And, you know,

      13    obviously, if you don't know, you'll tell me

      14    that you don't know.

      15         A.      My understanding of what he meant is

      16    acting assistant secretary.

      17         Q.      Do you happen to recall who that was

      18    in April of 2017?

      19         A.      I don't know.      It would have been

      20    for the Bureau of Population, Refugees and

      21    Migration.      I don't know who it was.

      22         Q.      And -- and acting assistant
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 60 of 463 PageID #:
                                    8494

                                                                         Page 60
       1    secretary of state or of Homeland Security?

       2         A.      I take it to mean of the Bureau of

       3    Population, Refugees and Migration at the U.S.

       4    Department of State.

       5         Q.      Okay.

       6         A.      It is definitely within state.

       7         Q.      Okay.    All right.     And then moving

       8    to the second sentence, he -- he -- I quote:

       9    Reading the FRN for the 2011

      10    extension/redesignation.

      11                 Do -- do you see that?

      12         A.      The first paragraph?

      13         Q.      First paragraph, second sentence.

      14    Yeah.

      15         A.      Yes.

      16         Q.      Okay.    FRN is what?

      17         A.      Federal Register notice.

      18         Q.      Okay.    And would that -- would that

      19    appear to be the document that I previously

      20    showed you?

      21                 Is that a reference to that

      22    document, or -- or -- or would it so appear?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 61 of 463 PageID #:
                                    8495

                                                                         Page 61
       1                 MR. MARUTOLLO:      Objection.

       2                 You can answer to the extent you

       3    know.

       4                 THE WITNESS:      I believe it to be.

       5                 BY MR. CONNELLY:

       6         Q.      Okay.    Okay.    And then further in

       7    that sentence -- and I'll quote it -- he -- he

       8    says:     "It looks like both were" -- "It looks

       9    like both were based on the same continuing

      10    temporary and extraordinary conditions - that

      11    is aftereffects of Hurricane Matthew."

      12                 Did you follow that?

      13         A.      I see that.

      14         Q.      Okay.    Am I correct that Hurricane

      15    Matthew occurred in -- I think you've already

      16    referenced this -- 2016?

      17         A.      Yes.

      18         Q.      Okay.    And the earthquake that

      19    caused the original designation, that occurred

      20    in 2010; is that correct?

      21         A.      Correct.

      22         Q.      Now, going to his second paragraph,
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 62 of 463 PageID #:
                                    8496

                                                                         Page 62
       1    he states:      "I've revised our AM."

       2                 What -- what is an AM?

       3                 MR. MARUTOLLO:      Objection.

       4                 You can answer to the extent you

       5    know.

       6                 THE WITNESS:      I believe it to be

       7    action memo.

       8                 BY MR. CONNELLY:

       9         Q.      Okay.    And then further quoting,

      10    again now from his second sentence in the

      11    second paragraph:       "We don't want to speculate

      12    that the cholera epidemic played into the

      13    decision to redesignate since it's not cited in

      14    the FRN.     But the institutional memory here in

      15    PRM is that in 2011 people were looking at

      16    conditions in Haiti through the lens of the

      17    epidemic."

      18                 MR. MARUTOLLO:      Objection.

      19                 I'm not sure what -- what the

      20    question is.

      21                 MR. CONNELLY:      No.   I -- I don't

      22    have a question yet.        I just wanted to -- okay.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 63 of 463 PageID #:
                                    8497

                                                                         Page 63
       1                 BY MR. CONNELLY:

       2         Q.      Were you able to follow along with

       3    me --

       4         A.      I see --

       5         Q.      -- on that?

       6         A.      -- that sentence, yes.

       7         Q.      Okay.    And what is -- what is PRM?

       8         A.      PRM is, as cited below here, Bureau

       9    of Population, Refugees and Migration --

      10         Q.      I see.    Okay.

      11         A.      At the Department of State.

      12         Q.      Okay.    All right.     Now, let's go up

      13    to your reply.       And I don't know that I need to

      14    read it to you.       But if you'll -- if you'll

      15    read it to yourself and tell me when you're

      16    ready for a question.

      17         A.      Okay.

      18         Q.      First, let me ask you,

      19    chronologically, am I correct that the

      20    earthquake occurred first, and the cholera

      21    epidemic did not break out until some time

      22    after the earthquake; is that correct?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 64 of 463 PageID #:
                                    8498

                                                                         Page 64
       1                 MR. MARUTOLLO:      Objection.

       2                 You can answer to the extent you're

       3    aware in your personal capacity -- personal

       4    knowledge.

       5                 THE WITNESS:      That is my

       6    understanding.

       7                 BY MR. CONNELLY:

       8         Q.      Okay.    And then you -- you indicate

       9    -- am I correct that the cholera epidemic and

      10    the public health concerns did play a big in

      11    the 2011 redesignation?

      12                 MR. MARUTOLLO:      Objection.

      13                 Again, to the extent it calls for

      14    internal government deliberations, I'd instruct

      15    you not to answer under the deliberative

      16    process privilege.

      17                 But to the extent you're talking

      18    about this e-mail and about what you wrote in

      19    this e-mail, you can answer the question.

      20                 THE WITNESS:      I did state in the

      21    e-mail that the cholera epidemic and public

      22    health concerns played a big role in the 2011
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 65 of 463 PageID #:
                                    8499

                                                                         Page 65
       1    redesignation.

       2                 BY MR. CONNELLY:

       3           Q.    Yes.

       4                 And then on -- in your next sentence

       5    did you also indicated that the redesignation

       6    also cited the severe insecurity that was

       7    still -- was -- still existed in certain camps?

       8                 MR. MARUTOLLO:      Objection.      First,

       9    I -- I don't think that's exactly what was

      10    written here.       But we would note, again, to the

      11    extent this calls for internal government

      12    deliberations, instruct the witness not to

      13    answer.

      14                 She can certainly answer to the

      15    extent -- based on this e-mail in front of us.

      16                 THE WITNESS:      I stated that the

      17    redesignation cited the severe insecurity that

      18    those still in camps were facing.

      19                 BY MR. CONNELLY:

      20         Q.      Okay.    And is your view on the --

      21    what you say in this e-mail, has it changed at

      22    all?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 66 of 463 PageID #:
                                    8500

                                                                         Page 66
       1                 Does this remain your -- your

       2    personal view, that the cholera epidemic and

       3    the public health concerns and the severe

       4    insecurity in the camps were a part of the

       5    determination in 2011 to redesignate?

       6                 MR. MARUTOLLO:      Objection.      I'm

       7    going to direct the witness not to answer that

       8    question.     It calls for internal government

       9    deliberations.       And -- and it would implicate

      10    the deliberative process privilege.

      11                 But further, her personal view has

      12    no bearing on this case.         So I'd instruct the

      13    witness not to answer that question.

      14                 MR. CONNELLY:      I'm going to -- I'm

      15    only going to slightly change the question.

      16    Maybe your lawyer will continue not to want you

      17    to answer it.

      18                 BY MR. CONNELLY:

      19         Q.      Is what you stated, to your

      20    knowledge, to Mr. Hefright on April 10th, 2017,

      21    and your -- and your responsive e-mail

      22    accurate?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 67 of 463 PageID #:
                                    8501

                                                                         Page 67
       1                 MR. MARUTOLLO:      I'm sorry.      Can you

       2    repeat the question?

       3                 MR. CONNELLY:      Yeah.

       4                 BY MR. CONNELLY:

       5         Q.      I -- I -- I would like to know

       6    whether your -- your statement in your reply

       7    e-mail that we're looking at -- is that -- does

       8    that -- is that an accurate statement?

       9                 MR. MARUTOLLO:      Objection.      Again,

      10    to the extent this calls for internal

      11    governmental deliberations, I instruct the

      12    witness not to answer under the deliberative

      13    process privilege.

      14                 But given that clarification, you

      15    can answer that question.

      16                 THE WITNESS:      I believe what I

      17    stated in this e-mail accurately captures my

      18    understanding of the 2011 redesignation.

      19                 BY MR. CONNELLY:

      20         Q.      Okay.    Could you give me a -- a

      21    sense of how many extensions or determination

      22    decisions you've been involved in since coming
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 68 of 463 PageID #:
                                    8502

                                                                         Page 68
       1    to Washington in 2014?

       2                 MR. MARUTOLLO:      Objection.      Vague.

       3                 But You can answer.

       4                 THE WITNESS:      I'm not sure I can

       5    easily break it down for extension or

       6    terminations.        But in terms of TPS designation

       7    decisions -- so initial designations,

       8    extensions, determinations, et cetera -- I

       9    would estimate probably around 15.

      10                 BY MR. CONNELLY:

      11         Q.      I'm sorry.

      12                 1-5?

      13         A.      Yes.

      14         Q.      Okay.

      15         A.      That's an estimate.        I --

      16         Q.      Right?

      17         A.      -- haven't counted.

      18         Q.      Do you -- and do -- do you have a

      19    recollection of what -- what countries were

      20    involved in those determinations that you were

      21    involved in?

      22         A.      Sure.    It would have been -- because
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 69 of 463 PageID #:
                                    8503

                                                                         Page 69
       1    I worked on it for a number of years, it would

       2    have been actually all the countries, you know,

       3    that are currently designated for TPS.             They

       4    would have come up for review, so I would have

       5    worked on all of those.

       6                 Additionally, some countries that

       7    are no longer designated, such Sierra Leone,

       8    Liberia, Guinea.

       9                 MR. CONNELLY:      I'm going to show you

      10    a short series of extension documents that I

      11    don't think I'll have too many questions on.

      12                 The first one will be KA-5.

      13                 (Deposition Exhibit KA-5 was marked

      14    for identification.)

      15                 THE WITNESS:      I see it.

      16                 BY MR. CONNELLY:

      17         Q.      Ready?

      18         A.      Yes.

      19         Q.      Okay.    Are you familiar with this

      20    document?

      21                 MR. MARUTOLLO:      Objection.

      22                 You can answer.       Again, this is
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 70 of 463 PageID #:
                                    8504

                                                                         Page 70
       1    before you worked at USCIS.          But you can answer

       2    to the extent you became familiar with the

       3    document.

       4                 THE WITNESS:      I believe I have seen

       5    it before.      I'm not intimately familiar with

       6    this one.

       7                 BY MR. CONNELLY:

       8         Q.      Okay.    And is this document what

       9    would be -- the acronym FRN would apply to it?

      10         A.      Yes.

      11         Q.      Okay.    And if you'll go to Page 3,

      12    the format would appear to be similar to what

      13    we've already seen where there was a bolded

      14    title:    "Why is the secretary extending the TPS

      15    designation for Haiti for TPS through July

      16    22nd, 2014?"

      17                 See that section?

      18         A.      I see it.

      19         Q.      Okay.    And if you'll -- if you'll

      20    turn the page, if you go down maybe four

      21    paragraphs, there's a statement:           "Poor camp

      22    conditions were exacerbated by steady rains in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 71 of 463 PageID #:
                                    8505

                                                                         Page 71
       1    October 2010, which lead to flooding and

       2    contributed to a deadly cholera outbreak."

       3                 Do you see that?

       4         A.      I see.

       5         Q.      Okay.    Did you ever -- to your best

       6    recollection, in your -- in your individual

       7    capacity, did you ever reference back to this

       8    section explaining why the extension was being

       9    made at this time?

      10                 MR. MARUTOLLO:      Objection.      First,

      11    vague.    And also I'm not sure what it means by

      12    "individual capacity."

      13                 But to the extent -- to your

      14    personal knowledge you became aware of this or

      15    you dealt with this issue, you can answer.

      16                 THE WITNESS:      I don't recall if I

      17    ever looked back at this particular paragraph

      18    in the 2012 FRN.

      19                 BY MR. CONNELLY:

      20         Q.      All right.     And to make clear, when

      21    I said "individual capacity" -- I know your

      22    lawyer's been concerned that I'm trying to turn
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 72 of 463 PageID #:
                                    8506

                                                                         Page 72
       1    you in an ex -- into an expert, which -- which

       2    is not -- which is not my intent.

       3                 By "individual capacity, I was

       4    short-handing referencing back that you had

       5    told us ten minutes or so ago that at least

       6    some documents that existed prior to your

       7    arrival in 2014, you -- you made some use of

       8    them during your duties.

       9                 And I -- and I wondered whether this

      10    was one -- one such document.

      11         A.      As I mentioned, I believe that I

      12    looked at this document at some point, yes.

      13                 MR. CONNELLY:      Okay.    Next I'll show

      14    you KA-6.

      15                 (Deposition Exhibit KA-6 was marked

      16    for identification.)

      17                 MR. MARUTOLLO:      Need some more

      18    water?

      19                 THE WITNESS:      Yeah.    That'd be

      20    great.

      21                 MR. MARUTOLLO:      Mind taking a

      22    one-minute break to get some more water for the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 73 of 463 PageID #:
                                    8507

                                                                         Page 73
       1    witness?

       2                 MR. CONNELLY:      Yeah, yeah.      Sure.

       3                 THE VIDEOGRAPHER:       We're going off

       4    the record.

       5                 The time is 11:06.

       6                 (A short recess was taken.)

       7                 THE VIDEOGRAPHER:       Going back on the

       8    record.

       9                 The time is 11:07.

      10                 BY MR. CONNELLY:

      11         Q.      Is Document KA-6 the FRN for the

      12    extension for Haiti for March 3rd, 2014?

      13         A.      It looks to be.

      14         Q.      Okay.    Did you have any involvement

      15    in -- in -- in this process, or was it before

      16    your time in Washington?

      17         A.      This was before me.

      18         Q.      If you would go with me to the

      19    fourth page, again under that same, you know,

      20    general rubric that seems to be used for these

      21    FRNs, at the top of the page it says:             "Why is

      22    the secretary extending the TPS designation for
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 74 of 463 PageID #:
                                    8508

                                                                         Page 74
       1    Haiti through January 22nd, 2016?"

       2         A.      I see it.

       3         Q.      Okay.    Way at the bottom of the

       4    page, and then it -- and then it spills over on

       5    to page 5, first it references the January 2010

       6    earthquake.      We've already established

       7    that that -- that's when that occurred.

       8                 And then -- but then it makes a

       9    reference to:        "In 2011 the Haitian economy

      10    began to slowly recover from the effects of the

      11    earthquake.      However, Tropical Storm Isaac and

      12    Hurricane Sandy adversely affected the economic

      13    recovery in 2012."

      14                 Do you see that?

      15         A.      I do.

      16         Q.      Okay.    And as a matter of calendar

      17    logic, those events occurred after the

      18    earthquake; is that right?

      19         A.      Yes.

      20         Q.      Do you recall whether you ever

      21    referenced back to this particular document

      22    after you became more actively involved in the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 75 of 463 PageID #:
                                    8509

                                                                         Page 75
       1    process of designations or extensions?

       2                 MR. MARUTOLLO:      Objection.

       3                 But you can answer.

       4                 THE WITNESS:      I'm sure, again, I

       5    looked at this at some point.

       6                 MR. CONNELLY:      All right.     Let's

       7    move on to KA-7.

       8                 (Deposition Exhibit KA-7 was marked

       9    for identification.)

      10                 BY MR. CONNELLY:

      11         Q.      Is this the FRN for the extension of

      12    the TPS designation for Haiti on August 25th,

      13    2015?

      14         A.      It does look to be.

      15         Q.      Okay.    Now, that would have been

      16    after you had taken over your position in late

      17    2014; is that correct?

      18         A.      I'm sorry.

      19                 What do you mean by position in

      20    2014?

      21         Q.      When you came to Washington as a

      22    policy analyst?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 76 of 463 PageID #:
                                    8510

                                                                         Page 76
       1         A.      Yes.

       2         Q.      Okay.

       3         A.      In August 2015 I would have been a

       4    policy analyst.

       5         Q.      Yeah.    Okay.

       6                 And did you -- did you participate

       7    in gathering information leading to the

       8    extension?

       9                 MR. MARUTOLLO:      Objection.

      10                 To the extent it calls for internal

      11    government deliberations, I instruct you not to

      12    answer.     But you could certainly testify about

      13    if you gathered any information.

      14                 THE WITNESS:      I believe that I did.

      15                 BY MR. CONNELLY:

      16         Q.      And to your best recollect, what was

      17    your role in the process?

      18         A.      I don't have a specific recollection

      19    of this Haiti review.         But as I mentioned

      20    earlier, generally my role in the process was

      21    to kick off the gathering of country

      22    conditions, review them, and draft the initial
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 77 of 463 PageID #:
                                    8511

                                                                         Page 77
       1    memo.

       2         Q.      And your memo would have been --

       3    then traveled to -- to what office?

       4         A.      Sure.    It would have worked its way

       5    up through our office, the office of policy and

       6    strategy.     And then it would have gone to the

       7    director's office in USCIS and ultimately to

       8    the secretary.

       9         Q.      And am I right that your initial

      10    memo would have been based, as you told us a

      11    little bit earlier, on a -- a package of

      12    information you previously described that would

      13    be brought to your attention?

      14                 MR. MARUTOLLO:      Objection.

      15                 Again, to the extent it calls for

      16    internal government deliberations, instruct you

      17    not to answer.       To the extent you can answer

      18    about generally what was part of that package,

      19    you can answer the general subject matter.

      20                 THE WITNESS:      We generally, yes,

      21    pulled the package together in our office.              So

      22    that would have consisted of country conditions
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 78 of 463 PageID #:
                                    8512

                                                                         Page 78
       1    provided by our research unit within USCIS as

       2    well as the department of state recommendation

       3    and then this, as I mentioned, draft

       4    recommendation memo from the USCIS director to

       5    the secretary of Homeland Security.

       6                 BY MR. CONNELLY:

       7         Q.      If you'll go with me to Page 4 of

       8    this document.       And again, the same section

       9    spelling out:        "Why is the secretary extending

      10    the TPS designation for Haiti through July

      11    22nd, 2017?"

      12                 Are you with me on Page 4?

      13         A.      I'm on Page 4, yes.

      14         Q.      Okay.    And I will represent -- but

      15    give yourself an opportunity to -- you know, to

      16    review the information that's on Page 4 through

      17    Page 5.

      18                 But is part of the -- part of the

      19    conditions that are said to be prompting -- or,

      20    well, a part of the redesignation and -- and

      21    extension process the cholera epidemic?

      22                 MR. MARUTOLLO:      I would just ask the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 79 of 463 PageID #:
                                    8513

                                                                         Page 79
       1    witness to take a moment to read --

       2                 MR. CONNELLY:      Yeah.    Yeah, please.

       3                 MR. MARUTOLLO:      -- page 4 and 5.

       4                 BY MR. CONNELLY:

       5         Q.      I -- I could bring you -- I could

       6    bring you to those sections if it's easier.              I

       7    just don't want to -- if you'd -- if you'd

       8    rather look at the entire page, you should feel

       9    free.

      10         A.      Are you looking at the

      11    second-to-last paragraph on that page?

      12         Q.      No.   Actually, let's -- I'll tell --

      13    I'll you where I'm at.         The second paragraph on

      14    the page mentions on the second line a cholera

      15    epidemic.

      16                 Do you see that reference?

      17         A.      I do.

      18         Q.      And then, if you go down two

      19    paragraphs to the paragraph that begins "While

      20    the country continues," in the middle of that

      21    paragraph there's a reference to:            "Most camps

      22    lacking waste management services and adequate
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 80 of 463 PageID #:
                                    8514

                                                                         Page 80
       1    sanitation facilities - leading to a high risk

       2    of cholera transmission - and possessing

       3    malnutrition rates," et cetera.

       4                 Do you see that?

       5         A.      I do.

       6         Q.      Okay.    And then I guess you --

       7    you -- you may have spotted something a little

       8    further down on the page that also references

       9    the concerns with -- oh, yeah, I see --

      10    cholera -- the -- the second-to-the-last

      11    paragraph starts:       "As of December 2014, the

      12    cholera epidemic has affected approximately"

      13    725 -- "725,000 people and claimed over 8,800

      14    lives in Haiti since October 2010."

      15         A.      I see that.

      16         Q.      Okay.    And it's -- it's -- it's a --

      17    it's a calendar truth, is it not, that the --

      18    the -- the cholera problem did not exist at the

      19    moment of the earthquake; it came about after

      20    the earthquake, right?

      21                 MR. MARUTOLLO:      Objection.

      22                 Again, to the extent you know in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 81 of 463 PageID #:
                                    8515

                                                                         Page 81
       1    your duties while at USCIS, you can answer the

       2    question.

       3                 THE WITNESS:      My understanding is

       4    the cholera -- the cholera epidemic in Haiti

       5    began after the earthquake, yes.

       6                 BY MR. CONNELLY:

       7         Q.      Okay.    And -- and am I correct

       8    that -- it seems patently obvious, but let me

       9    ask you -- that thinking about things --

      10    current conditions such as the cholera

      11    epidemic, it was entirely appropriate for the

      12    secretary to consider those factors in the

      13    extension of a determination that had

      14    originally been made largely because of the

      15    earthquake.

      16                 MR. MARUTOLLO:      Objection.      Again,

      17    that calls for the fact witness's view.             She's

      18    not a 30(b)(6) witness.         Calls for legal

      19    conclusion.

      20                 So I'd instruct her not to answer

      21    that question as -- as phrased.

      22                 BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 82 of 463 PageID #:
                                    8516

                                                                         Page 82
       1         Q.      Did you find -- and -- and -- and --

       2    well, did you became -- I take it, because you

       3    were involved in the process, ultimately you

       4    saw -- you had a chance and -- and -- and saw

       5    the FNR [sic] of August 25th, 2015, correct?

       6    The document KA-7 that's before you?

       7         A.      I worked on this document, yes.

       8         Q.      Yeah.    Okay.

       9                 Did you find anything inappropriate

      10    about the cholera epidemic being considered as

      11    one of the factors for the extension?

      12                 MR. MARUTOLLO:      Objection.

      13                 To the extent that it calls for

      14    internal government deliberations, I would

      15    instruct you not to answer.          To the extent it's

      16    about your understanding of certain factors,

      17    you can answer -- in your own capacity you can

      18    answer.

      19                 THE WITNESS:      I'm sorry.     Can you

      20    repeat the question for me.

      21                 BY MR. CONNELLY:

      22         Q.      Yeah.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 83 of 463 PageID #:
                                    8517

                                                                         Page 83
       1                 In your own capacity, but obviously,

       2    you know, within -- with -- within your

       3    official duties, did you think it was

       4    appropriate that the cholera epidemic was

       5    considered as one of the current conditions in

       6    Haiti when making a decision about extending

       7    the designation?

       8                 MR. MARUTOLLO:      Again, I would

       9    instruct you not to answer to the extent it

      10    calls for any internal government deliberations

      11    on the grounds of deliberative process

      12    privilege.

      13                 And it also calls for legal

      14    conclusion about what is or is not appropriate.

      15                 So I'd instruct the witness not to

      16    answer.

      17                 MR. CONNELLY:      We're going to stay

      18    on this.     Or -- or something's going to happen,

      19    and we'll -- somebody else will solve this

      20    issue for me.

      21                 BY MR. CONNELLY:

      22         Q.      In -- if you could bring yourself
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 84 of 463 PageID #:
                                    8518

                                                                         Page 84
       1    back to this time in -- which -- which

       2    ultimately generates an FNR in August 2015,

       3    correct?

       4         A.      I'm sorry.     Is it -- 2015.       Yes.

       5    Sorry.

       6         Q.      Yeah.    Okay.

       7                 And we're -- and we're, again, in

       8    this, you know, section that's formatted into

       9    the extensions, giving the reason why an

      10    extension should be granted, correct?

      11         A.      Correct.

      12         Q.      And would you agree with me that

      13    among the reasons that are given for the

      14    extension are repeated references to a cholera

      15    epidemic?

      16                 MR. MARUTOLLO:      Object --

      17                 BY MR. CONNELLY:

      18         Q.      Can we agree on that?

      19                 MR. MARUTOLLO:      Objection to the

      20    extent the document speaks for itself.

      21                 But yes, you can answer the

      22    question.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 85 of 463 PageID #:
                                    8519

                                                                         Page 85
       1                 THE WITNESS:      Yes.

       2                 BY MR. CONNELLY:

       3         Q.      Okay.    Is that -- is -- is -- from

       4    your perspective as someone involved in this

       5    process, was it appropriate to think about

       6    current conditions that existed in Haiti

       7    subsequent to the January 2010 earthquake?

       8                 MR. MARUTOLLO:      Objection.

       9                 To the extent it calls for internal

      10    government deliberations, I would instruct you

      11    not to answer.       However, to the extent it's

      12    from your perspective, you -- and as raised by

      13    counsel, you can -- you can answer that

      14    question.

      15                 THE WITNESS:      Yes.   I believe that a

      16    review of currently existing conditions in the

      17    country designated for TPS is an important part

      18    of considering whether the designation should

      19    be extended or terminated.

      20                 BY MR. CONNELLY:

      21         Q.      All right.     And -- and currently

      22    existing conditions would not necessarily have
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 86 of 463 PageID #:
                                    8520

                                                                         Page 86
       1    existed at the time of the initial designation,

       2    correct?

       3                 MR. MARUTOLLO:      Objection.

       4                 You can answer.

       5                 THE WITNESS:      Yes.   Current

       6    conditions would not have necessarily existed

       7    at the time of the initial designation.

       8                 MR. CONNELLY:      I'll stay on the

       9    record.

      10                 And -- and -- and your lawyer should

      11    and has the perfect right to try to make sure

      12    that you're -- you know, that you don't answer

      13    questions that -- that are -- that are

      14    privileged.      I -- I -- I'm not trying to break

      15    through that privilege.

      16                 I'm -- I'm never seeking to have you

      17    tell me about some deliberative process that

      18    took place between you and others, you know,

      19    inside -- inside the government, although some

      20    of your e-mails you'll -- we'll see about, you

      21    know, whether you would quarrel with that.

      22                 But when I'm asking you these
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 87 of 463 PageID #:
                                    8521

                                                                         Page 87
       1    questions, I -- I don't want you to tell me,

       2    "Well, somebody told me this," or, "I" -- you

       3    know, or, "Some" -- "Someone told me that."

       4                 I'm -- I'm simply trying to probe

       5    what you -- within your own responsibilities

       6    and doing your own job, what kind of factual

       7    information you considered or -- and considered

       8    appropriate in making determinations about the

       9    extensions or redesignations.

      10                 THE WITNESS:      Okay.

      11                 MR. CONNELLY:      So we'll go to the

      12    next document, KA-8.

      13                 (Deposition Exhibit KA-8 was marked

      14    for identification.)

      15                 BY MR. CONNELLY:

      16         Q.      I'm going to be asking you about,

      17    you know, a very narrow part of this document

      18    relating to Haiti.        But acclimate yourself, and

      19    then let me know --

      20         A.      Sure.

      21         Q.      -- when you're comfortable ask --

      22    for me to ask questions.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 88 of 463 PageID #:
                                    8522

                                                                         Page 88
       1         A.      You can direct me to a part if you

       2    want.

       3         Q.      Okay.    First let me point out that

       4    the title page of this document is "Temporary

       5    Protected Status:       Calendar Year 2016 Annual

       6    Report, Report to Congress,"          and then "Insert

       7    Date."

       8                 You see -- you see all that on the

       9    title page?

      10         A.      I do.

      11         Q.      So that would certainly suggest to

      12    me that this was -- somehow this was not --

      13    this -- the document that I have is not

      14    finalized.

      15                 Do you have any -- do you have any

      16    independent recollection of this document?

      17         A.      I do.

      18         Q.      Okay.    And I -- and again, I -- I

      19    apologize for -- I have what I've -- what --

      20    what's available to me.

      21                 Do you recall whether this ever

      22    became finalized or at least a -- a date was
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 89 of 463 PageID #:
                                    8523

                                                                         Page 89
       1    inserted for it?

       2         A.      I believe that it was.        So I assumed

       3    that it was a draft.        So I'm not sure which

       4    draft this was.        But yes, I think that the

       5    final report did go to congress.

       6         Q.      Did you have a role in pulling

       7    together this report?

       8         A.      I reviewed and provided input, yes.

       9         Q.      If you'll go to the fourth page in,

      10    which is Roman numeral IV.          Or -- or the Bates

      11    number on the bottom is 399.

      12         A.      I see.

      13         Q.      See that?

      14         A.      Uh-huh.

      15         Q.      And it indicates:       "The secretary

      16    did not announce any TPS actions regarding

      17    Haiti, as well as several other countries, in

      18    calendar year 2016, although their existing

      19    designations were ongoing through calender year

      20    2016."

      21                 Is that -- did I read that

      22    correctly?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 90 of 463 PageID #:
                                    8524

                                                                         Page 90
       1         A.      Yes.

       2         Q.      Okay.    And does that comport with

       3    your recollection of what occurred as far as

       4    Haiti's designation in 2016?

       5         A.      Yes.

       6         Q.      If you'll go a little -- why don't

       7    you skip a lot of pages but go to Page 24,

       8    which is also deposition No. 425 -- I'm

       9    sorry -- Bates No. 425 on the bottom.

      10         A.      Okay.

      11         Q.      And take a look at this for a

      12    minute.     Because it -- it -- it covers a couple

      13    of pages.     Acclimate yourself to it.

      14         A.      Okay.

      15         Q.      Did you have -- did you have a hand

      16    in the process of pulling together this

      17    information?

      18                 MR. MARUTOLLO:      Objection.

      19                 You can answer.

      20                 THE WITNESS:      I did review and

      21    provide input for this report.

      22                 BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 91 of 463 PageID #:
                                    8525

                                                                         Page 91
       1         Q.      Do you recall -- and again, you may

       2    want to slow down a little bit.

       3                 To -- to the best of your

       4    recollection, is all of the information

       5    contained in these two pages regarding the --

       6    the circumstances in Haiti accurate?

       7                 MR. MARUTOLLO:      Objection.

       8                 Again, I'd first just instruct the

       9    witness to read the full two pages.

      10                 But again, as -- in -- in your role,

      11    if you can make that determination, then you

      12    can answer the question.         Again, not as a

      13    30(b)(6) witness but as a fact witness, if you

      14    can -- if you believe that this information is

      15    accurate, you can answer the question.

      16                 THE WITNESS:      I believe that the

      17    country conditions stated here are supposed to

      18    be an exact duplicate of what is in the Federal

      19    Register --

      20                 MR. CONNELLY:      Okay.

      21                 THE WITNESS:      -- notice that we

      22    looked at for 2015.        I -- unless you want me to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 92 of 463 PageID #:
                                    8526

                                                                         Page 92
       1    do a line-by-line comparison, I don't want to

       2    certify here that -- that they are exactly the

       3    same.     But I think the idea was that this

       4    section was supposed to be copied and pasted

       5    from the Federal Register notice.

       6                 BY MR. CONNELLY:

       7         Q.      Okay.    Well, and again, whether you

       8    want to look at -- and again, I don't care -- I

       9    don't -- I don't really care if they're a

      10    mirror image.

      11                 But if you -- if you're more

      12    comfortable taking a look at the information in

      13    the -- in the FRN.        I would just like your

      14    best -- best recollection, not based upon

      15    deliberating with anyone else, whether the

      16    information that's contained, whether it's in

      17    the FRN or whether it's in the -- you know, the

      18    document that you've before you, this -- this

      19    summary of the circumstances in Haiti, as best

      20    you recall, if it's accurate.

      21                 MR. MARUTOLLO:      Objection.

      22                 You can answer.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 93 of 463 PageID #:
                                    8527

                                                                         Page 93
       1                 THE WITNESS:      I would say that we

       2    rely on a lot of people to pull together the

       3    country condition information and statistics

       4    about what is going on in Haiti at the time.

       5                 So I can't personally speak to

       6    whether these -- each fact is -- is correct.

       7    But I believed it to be as accurate as we could

       8    get, which is why we relied upon it.

       9                 MR. CONNELLY:      I'll go to KA-9.

      10                 (Deposition Exhibit KA-9 was marked

      11    for identification.)

      12                 BY MR. CONNELLY:

      13         Q.      Let me know when you've familiarized

      14    yourself with the document.

      15         A.      Okay.

      16         Q.      All right.     This document apparently

      17    was put out by the refugee asylum at

      18    International Operations Research Unit; is

      19    that -- is that correct?

      20         A.      Yes.

      21         Q.      And that is the part of CIS that you

      22    recently joined a few weeks ago?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 94 of 463 PageID #:
                                    8528

                                                                         Page 94
       1         A.      Not the research unit --

       2         Q.      Well --

       3         A.      -- but RAIO, the --

       4         Q.      Okay.

       5         A.      -- Refugee Asylum and International

       6    Operations --

       7         Q.      Okay.

       8         A.      -- directorate.

       9         Q.      All right.     And are -- are you

      10    familiar with this document?

      11                 MR. MARUTOLLO:      Objection.

      12                 You can answer.

      13                 THE WITNESS:      I'm not entirely sure

      14    if this is a draft or final, where this came

      15    from.     But the general TPS addendum about

      16    Hurricane Matthew provided by RAIO, yes.

      17                 BY MR. CONNELLY:

      18         Q.      Okay.    Did you have any -- did you

      19    have any role in generating this document?

      20         A.      I wasn't involved in the drafting of

      21    the document.      But the -- my recollection is

      22    that we asked the research unit to provide an
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 95 of 463 PageID #:
                                    8529

                                                                         Page 95
       1    update on conditions in Haiti related Hurricane

       2    Matthew.

       3         Q.      Okay.    And as noted in the first

       4    sentence, Hurricane Matthew occurred in October

       5    2016, correct?

       6         A.      Correct.

       7         Q.      And this is the first time I'm

       8    showing you a -- a document coming from RAIO.

       9    And obviously, you know, it -- it indicates

      10    that it's an -- it's a Haiti TPS addendum.              So

      11    help -- help me understand.

      12                 How -- how frequently or perhaps not

      13    frequently did RAIO, the research unit, provide

      14    information as far as Haiti and its TPS status?

      15                 MR. MARUTOLLO:      Objection.

      16                 Again, to the extent you can answer

      17    based on your knowledge as a fact witness, you

      18    can answer.

      19                 THE WITNESS:      Usually the research

      20    unit would provide information when our office

      21    requested it of them.        So generally, throughout

      22    the TPS review process, they would produce an
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 96 of 463 PageID #:
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                                                                         Page 96
       1    initial report related to the TPS designation.

       2    And then, you know, if we needed updated

       3    information, possibly because something

       4    significant had happened in the country since

       5    they had done their previous report, we would

       6    ask them to update that information for us.

       7                 BY MR. CONNELLY:

       8         Q.      Okay.    And again, just as a matter

       9    of calendar, the hurricane occurred in October

      10    2016, and this indicates last updated February

      11    7th, 2017, correct?

      12         A.      Yes.

      13         Q.      Which would have been about 90 days,

      14    a hundred days after the hurricane blew through

      15    Haiti; is that correct?

      16                 I don't worry --

      17         A.      Without doing --

      18         Q.      -- about the math.

      19         A.      -- the math, it was after.

      20         Q.      Yeah.    Well --

      21         A.      October to February.

      22         Q.      Yeah.    Well, the -- and the reason I
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 97 of 463 PageID #:
                                    8531

                                                                         Page 97
       1    ask you that is I don't know whether that helps

       2    at all in your recollect.

       3                 Is -- is it -- if you've a real

       4    recollection.      I'm not trying to put words in

       5    your mouth.

       6                 Is it -- is it that the RAIO, you

       7    know, a reasonable time after the hurricane,

       8    someone asked them to assess, okay, what's the

       9    impact of Hurricane Matthew?          Tell us -- tell

      10    us, you know, what the impact is in -- in Haiti

      11    from the hurricane.

      12         A.      We'd been closely watching the

      13    impact of the hurricane since October 2016.

      14    I'm not exactly sure, without having further

      15    record of what prompted this particular update.

      16                 But my guess is that this was part

      17    of the -- the TPS review process for Haiti.

      18    And the existing report that RAIO had put out,

      19    you know, didn't have this current information

      20    about the hurricane.

      21                 And the recovery from the hurricane

      22    continued to evolve.        So the information that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 98 of 463 PageID #:
                                    8532

                                                                         Page 98
       1    was available in October 2016, you know, wasn't

       2    the same as what the status was in February

       3    2017.

       4         Q.      All right.     And if you'll note --

       5    and I -- and I -- in the third paragraph, it --

       6    it --it indicates:        "However, it will likely

       7    take Haiti years to recover from the damages of

       8    Hurricane Matthew."

       9         A.      I see that.

      10         Q.      All right.     Let me ask a -- going

      11    back to the first paragraph.          There's a

      12    reference to the El Nino induced drought.

      13                 Do you see that?

      14         A.      Okay.

      15         Q.      Do you have -- do you recall --

      16    when -- when did that occur?

      17         A.      I don't know.

      18         Q.      Do you know whether there was -- are

      19    you able to tell me whether it occurred before

      20    or after the January 2010 earthquake?

      21         A.      I don't want to speculate.          I'm not

      22    sure.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 99 of 463 PageID #:
                                    8533

                                                                         Page 99
       1         Q.      Is it correct to say that Hurricane

       2    Matthew was a subsequent environmental event

       3    occurring after the January 2010 earthquake?

       4                 MR. MARUTOLLO:      Objection.      Vague.

       5                 But you can answer.

       6                 THE WITNESS:      Yes.

       7                 MR. CONNELLY:      Okay.    We're about to

       8    go into some e-mails, which will occupy us for

       9    a while.     And we don't have to take a break

      10    right now.      I'm just -- I'm -- I'm just giving

      11    you that just as a --

      12                 MR. MARUTOLLO:      Sure.    Why don't we

      13    take a...

      14                 THE WITNESS:      I think that'd be

      15    great.

      16                 MR. MARUTOLLO:      Do you want to take

      17    a -- a --

      18                 MR. CONNELLY:      Whatever you --

      19                 MR. MARUTOLLO:      -- a short break and

      20    then --

      21                 MR. CONNELLY:      Whatever you guys

      22    need.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 100 of 463 PageID #:
                                     8534

                                                                         Page 100
        1                 MR. MARUTOLLO:      -- come back --

        2                 MR. CONNELLY:      Sure.    Yeah.

        3                 MR. MARUTOLLO:      -- and have a lunch

        4    break maybe after that?

        5                 MR. CONNELLY:      Yeah.    What -- what

        6    do you guys want to do for -- I mean what would

        7    you -- what's your preference for lunch?

        8                 THE VIDEOGRAPHER:        I'm just going to

        9    take us off real quick.

      10                  MR. CONNELLY:      Oh.

      11                  THE VIDEOGRAPHER:        We're going off

      12     the record.

      13                  The time is 11:32.

      14                  (A short recess was taken.)

      15                  THE VIDEOGRAPHER:        We're going back

      16     on the record.

      17                  The time is 11:41.

      18                  MR. CONNELLY:      Before we get to some

      19     e-mails, I'm going to show you a copy of

      20     handwritten documents that I believe are yours.

      21     But you'll -- you -- you can help confirm that.

      22                  The first one is going to be --
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 101 of 463 PageID #:
                                     8535

                                                                         Page 101
        1    let's make this KA-50.

        2                 (Deposition Exhibit KA-50 was marked

        3    for identification.)

        4                 (Discussion off the stenographic

        5    record.)

        6                 THE WITNESS:     Thank you.

        7                 BY MR. CONNELLY:

        8         Q.      Is that your handwritten note?

        9         A.      Yes.    It looks to be.

      10          Q.      Okay.   I'm going to show you a -- a

      11     further series, just to see if you can confirm.

      12     And I hadn't seen these until yesterday, so

      13     help me out a little bit.

      14                  When -- when was this -- when was

      15     KA-50 generated?

      16          A.      It looks like I dated it at the top

      17     5-31-17.

      18          Q.      Okay.

      19          A.      So I think that that was the date

      20     that I wrote this.

      21                  MR. CONNELLY:      And -- well, let

      22     me -- let me give you the next one.            I'll give
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 102 of 463 PageID #:
                                     8536

                                                                         Page 102
        1    you KA-51.

        2                 (Deposition Exhibit KA-51 was marked

        3    for identification.)

        4                 BY MR. CONNELLY:

        5         Q.      Is this also your handwritten note?

        6         A.      Yes.

        7         Q.      And I'm giving you these in the

        8    order of the Bates numbers on the bottom.

        9    You'll see the first -- the KA-50 is Anderson

      10     7, and KA-51 is a couple of pages.           It's

      11     Anderson 8 through 10.        Okay?

      12          A.      Okay.

      13          Q.      Do you know when you generated

      14     KA-51?

      15          A.      I think that these are my notes from

      16     a media background call related to the Haiti

      17     TPS decision in May 2017.

      18                  To the best of my recollection, I

      19     think they were probably May 20th, 2017, but

      20     I'm not 100 percent certain on the exact day.

      21                  MR. CONNELLY:      I'll give you KA-52.

      22                  (Deposition Exhibit KA-52 was marked
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 103 of 463 PageID #:
                                     8537

                                                                         Page 103
        1    for identification.)

        2                 BY MR. CONNELLY:

        3         Q.      And this document runs several

        4    pages.    The Bates numbers are Anderson 12

        5    through Anderson 18.

        6                 Do you recall when you generated

        7    these -- well, first confirm for me that these

        8    are all your notes, and then if you can tell me

        9    when you think you generated them.

      10          A.      They do look to be my notes.          And I

      11     believe these were notes from a general TPS

      12     meeting with Secretary Kelly.          I think that was

      13     held a few days following the May 2017 Haiti

      14     decision announcement.

      15                  And to the best of my recollection,

      16     I would put this at May 23rd, 2017.

      17          Q.      I'm sorry.     I thought you said that

      18     you -- maybe I didn't follow.          I thought you

      19     said that you thought these were generated

      20     after the announcement.

      21                  If the announcement was May 27th, I

      22     missed -- then how would it be May 23rd?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 104 of 463 PageID #:
                                     8538

                                                                         Page 104
        1         A.      I guess I was recalling that the

        2    secretary's announcement was May 20th.

        3         Q.      Okay.

        4         A.      But that could be mistaken on the

        5    exact dates.

        6         Q.      And I didn't -- and I don't mean to

        7    confuse you, but do -- your -- your best

        8    recollection is that the -- the notes on KA-52

        9    were generated shortly after the late May

      10     announcement by Secretary Kelly of the

      11     extension?

      12          A.      Yes.    After DHS had made the -- the

      13     public announcement of the decision.            Not

      14     necessarily after the federal register notice

      15     published.     Maybe that's the confusion about

      16     the announcement date.

      17          Q.      Okay.    And I see on these notes --

      18     we'll -- we'll explore these, as I say.             We'll

      19     -- I'll -- I'll fold these into your -- the --

      20     my -- my outline when we get to these dates.

      21                  But on this page the, at least on

      22     the first page, most of the points are -- are
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 105 of 463 PageID #:
                                     8539

                                                                         Page 105
        1    preceded by an asterisk.

        2                 Do you see that?

        3         A.      I do.

        4         Q.      Does that have -- what -- does that

        5    have any import, or what -- what does that

        6    convey when you're taking your notes?

        7         A.      I'm not entirely sure.        I think that

        8    was just kind of separate and distinct

        9    thoughts, kind of bullet point ideas to

      10     separate them from each other.

      11                  MR. CONNELLY:      Next I'll have you

      12     look at KA-53.

      13                  (Deposition Exhibit KA-53 was marked

      14     for identification.)

      15                  BY MR. CONNELLY:

      16          Q.      These are actually -- according to

      17     the Bates stamping, these are Anderson 1

      18     through 5.     I don't know whether that'll help

      19     you at all in terms of, you know, determining

      20     at what time you made these notes.

      21                  But let's first ask whether these

      22     are your notes.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 106 of 463 PageID #:
                                     8540

                                                                         Page 106
        1         A.      Yes.

        2         Q.      And do you -- what's your best

        3    recollection of when they were made?

        4         A.      I believe these were made during a

        5    meeting with Deputy Secretary Duke, also in

        6    that May 2017 time frame.         And to the best of

        7    my recollection, I believe this meeting was

        8    held on May 19th, 2017.

        9         Q.      Is your -- and -- and again, we'll

      10     get -- we'll -- we'll -- we'll be able to

      11     tighten up on this.

      12                  Is your present best recollection

      13     were -- were these notes made after the

      14     decision to go with the six-month extension

      15     some time in late May of 2017?

      16                  MR. MARUTOLLO:      Objection.

      17                  You can answer.

      18                  THE WITNESS:     In reviewing the

      19     notes, it appears that the decision had been

      20     made internally, at least.         I'm not sure that

      21     it had been publicly announced at this time.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 107 of 463 PageID #:
                                     8541

                                                                         Page 107
        1         Q.      Okay.   To make my life a little

        2    easier and all of our lives a little faster

        3    when we finally get to these, you'll notice on

        4    the third line -- and you help me out -- is it

        5    S2, or is it SZ?

        6                 I -- I can't tell.

        7         A.      Sure.   S2.

        8         Q.      Okay.   What -- what is that a

        9    reference to?

      10          A.      Deputy secretary.

      11          Q.      What's that secretary's name?

      12          A.      It was Deputy Secretary Duke.

      13          Q.      Okay.   And I think -- am I right

      14     that all -- all of these notes are related to

      15     and seem to be in -- in the May time frame and

      16     are related to Haiti in general and maybe more

      17     specifically, although we haven't gone through

      18     all the lines, but perhaps, you know, more

      19     specifically the decision to extend in May of

      20     2017?

      21          A.      I'm just thinking.       That was a lot

      22     of questions in one.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 108 of 463 PageID #:
                                     8542

                                                                         Page 108
        1                 I think that some of -- they were

        2    certainly made in the May 2017 time frame.

        3    Some of them related to the Haiti TPS decision

        4    made at that time.       But some of the meetings

        5    were pulled together to more generally discuss

        6    the TPS process.

        7         Q.      Fine.   Fine.    I didn't mean to --

        8         A.      No, no --

        9         Q.      -- restrict you --

      10          A.      That's fine --

      11          Q.      -- to that -- that it's exclusively

      12     Haiti.    I was just trying to -- but -- okay.

      13                  So if we -- but if have -- we've

      14     reached that common ground that these are, you

      15     know, your best recollection.          They're all made

      16     in a reasonably close time frame, at least

      17     somewhat -- at least partially at least related

      18     to Haiti.

      19                  So with that by way of -- of

      20     background, did you take any other notes

      21     regarding the Haiti decision to terminate or

      22     the -- or -- or a decision to extend, other
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 109 of 463 PageID #:
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                                                                         Page 109
        1    than these notes, which all seem to be, you

        2    know, just in -- in the May 2017 time frame?

        3         A.      No.   These are the handwritten notes

        4    that I have related to Haiti TPS.

        5         Q.      And how -- I mean is it your

        6    ordinary process to take handwritten notes, or

        7    -- or is it unusual for you to do so?

        8                 MR. MARUTOLLO:      Objection.

        9                 You can answer.

      10                  THE WITNESS:     I would say it varies.

      11     Depends on my mood.

      12                  BY MR. CONNELLY:

      13          Q.      Does -- when we get there, we can

      14     talk about it a little bit more.           But again, I

      15     -- and maybe I'm being redundant.           But just to

      16     be -- I want to make sure that I'm not missing

      17     an opportunity.

      18                  To your best recollection, these are

      19     the only handwritten notes that you took, let's

      20     say during the course of 2017, regarding the

      21     various decisions about the TPS status of

      22     Haiti?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 110 of 463 PageID #:
                                     8544

                                                                         Page 110
        1         A.      That's correct.

        2                 MR. CONNELLY:      Okay.    Well, let's

        3    put these aside.       As I say, we'll fold them in

        4    when we get to May of 2017.

        5                 And I was about to hand you -- no.

        6    Maybe we haven't done it yet.

        7                 So now we're going to go to KA-10.

        8                 THE WITNESS:     I'm sorry.     Can I

        9    correct one thing?

      10                  MR. CONNELLY:      Sure.    Sure.    Of

      11     course.    Well, listen to your lawyer.

      12                  MR. MARUTOLLO:      Yeah.    Yeah.

      13                  THE WITNESS:     There's another set of

      14     handwritten notes.       I didn't want to say these

      15     are the only ones.

      16                  MR. MARUTOLLO:      That -- that's

      17     correct.     We did note in our letter last night

      18     there is one document -- and I'll just refer to

      19     the language in our letter that -- that may

      20     contain classified information that was not

      21     produced as -- as reflected in our letter last

      22     night.    So there was one other set of
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 111 of 463 PageID #:
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                                                                         Page 111
        1    handwritten notes.        The witness is -- is

        2    accurate.

        3                 (Deposition Exhibit KA-10 was marked

        4    for identification.)

        5                 BY MR. CONNELLY:

        6           Q.    Have you had a chance to familiarize

        7    yourself with this document?

        8           A.    I'm still reading it.

        9           Q.    Okay.   Let me know.

      10          A.      Okay.

      11          Q.      All right.     Let start, as usual,

      12     from the -- the earliest e-mail, which would be

      13     the -- the last one on this two-page document.

      14                  So the first e-mail is from you to

      15     several people on February 3rd, 2017, at 10:14

      16     a.m.

      17                  Are -- are you there with me?

      18          A.      Yes.

      19          Q.      Okay.   And am I right that the basic

      20     gist of -- of your e-mail is you're noting that

      21     there's, you know, a new administration, and so

      22     you're raising, as far as Haiti TPS, whether
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 112 of 463 PageID #:
                                     8546

                                                                         Page 112
        1    there might be, you know, any changes in terms

        2    of TPS status of Haiti?

        3                 MR. MARUTOLLO:      Objection.

        4                 You can answer.      I mean to the

        5    extent the document speaks for itself.             But

        6    you -- you can answer.        And again, instruct you

        7    not to provide any internal government

        8    deliberations apart from what's written here in

        9    this e-mail.

      10                  THE WITNESS:     I reached out to State

      11     as part of the review process for Haiti TPS

      12     because of the expiration date coming up, and

      13     we needed to get the package to secretary Kelly

      14     to make a determination.

      15                  BY MR. CONNELLY:

      16          Q.      Okay.   So is this -- this -- the

      17     e-mail that we're focused on, this was at your

      18     initiative as opposed to someone asking you to,

      19     you know, raise -- as -- as part of the e-mail

      20     says "refresh and repackage and resubmitting"?

      21                  I'm just trying to get a sense of

      22     who the prime mover was on this.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 113 of 463 PageID #:
                                     8547

                                                                         Page 113
        1                 It's you?

        2         A.      To the best of my recollection, this

        3    was, you know, our division.          And I, you know,

        4    was charged with pulling together the package.

        5    And so this was something that I sent out

        6    knowing that I needed to get State's input as

        7    part of that package.

        8         Q.      Okay.

        9         A.      Yes.

      10          Q.      And help me out in terms of you --

      11     you -- you've four people.         Well, you -- you

      12     sent it to two, and you copied two.

      13                  Chris and Susan, tell me who is

      14     Chris Ashe, A-S-H-E?

      15          A.      He works within PRM at the

      16     Department of State.        He is -- at this time at

      17     least was Brooks's supervisor.          I don't know

      18     his specific title.

      19          Q.      Okay.    And Susan Keyack,

      20     K-E-Y-A-C-K?

      21          A.      Yes.    She also was in PRM and had

      22     worked on the TPS portfolio.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 114 of 463 PageID #:
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                                                                         Page 114
        1         Q.      All right.     And then the people who

        2    are copied, are they within CIS?

        3                 Oh, no, no.     Go ahead.     Go ahead.

        4         A.      Yeah.   Sure.

        5         Q.      Help me out.     Yeah.

        6         A.      Brandon is.     But Brook, no, was at

        7    PRM, at State.

        8         Q.      Yeah.   Okay.

        9                 And -- and indeed, if we just

      10     then -- then if you move up the page, you see

      11     that Brook gets back to you, correct?

      12          A.      Yes.

      13          Q.      And then if we -- if we turn the

      14     page, there's another e-mail from Brook to you

      15     on February 6th at 9:17 a.m.?

      16          A.      Yes.

      17          Q.      And he references:       "I heard back

      18     from the Haiti desk."

      19                  What's the Haiti desk?

      20                  MR. MARUTOLLO:      Objection.

      21                  You can answer to the extent you're

      22     familiar with it through your work at -- at the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 115 of 463 PageID #:
                                     8549

                                                                         Page 115
        1    DHS.

        2                 THE WITNESS:     I'm not entirely sure

        3    if he means the Haiti desk within PRM, which

        4    would be the people within PRM who focus on

        5    Haiti regionally.       I think that's probably who

        6    he means.

        7                 But they also do outreach to post

        8    when they look into country conditions for TPS.

        9    So it could potentially be a reference to the

      10     Haiti post within the western hemispheres

      11     affairs.

      12                  BY MR. CONNELLY:

      13          Q.      And finally, the very -- the top

      14     memo, again from Brook to you, he -- he -- he

      15     mentions in his memo:        "We assume DHS."

      16                  DHS would be Department of Homeland

      17     Security, correct?

      18          A.      Correct.

      19          Q.      Okay.   And then it says:       "Will

      20     formally ask state (DHS HQ)."

      21                  Help me out.

      22                  What does -- what -- what does that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 116 of 463 PageID #:
                                     8550

                                                                         Page 116
        1    phrase mean?

        2                 I'm -- I'm confused because State

        3    would suggest to me State Department.            But then

        4    the paren under it is DHS HQ, which would seem

        5    to be homeland security.

        6                 MR. MARUTOLLO:      Objection.

        7                 And it -- this calls for

        8    speculation.      That -- this e-mail's not from

        9    Ms. Anderson.

      10                  But you can answer to the extent you

      11     know.

      12                  THE WITNESS:     I think he was

      13     suggesting that it would be DHS HQ rather than

      14     USCIS who would reach out to State at that

      15     point to ask to reconsider the recommendation.

      16                  BY MR. CONNELLY:

      17          Q.      And is that how the process would

      18     ordinarily work for reconsideration.

      19                  Would -- would it ordinarily travel

      20     through DHS headquarters as opposed through --

      21     as opposed to through CIS?

      22                  MR. MARUTOLLO:      Objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 117 of 463 PageID #:
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                                                                         Page 117
        1                 You can answer to the extent you

        2    know as a fact witness, not as a 30(b)(6)

        3    witness.     You can answer.

        4                 THE WITNESS:     This was a little bit

        5    of an unusual situation.         Because there had

        6    been a recent recommendation at the end of the

        7    previous year.       And so state -- it -- it

        8    essentially is an unusual situation where we

        9    would be asking if state wanted to update or

      10     reconsider a standing recommendation.

      11                  BY MR. CONNELLY:

      12          Q.      Okay.   And again, indeed, if we --

      13     we go back to the initial e-mail in the chain,

      14     there's a reference to I think -- yeah --

      15     Secretary Kerry's recommendation in the

      16     previous year, correct?

      17          A.      Yes.

      18          Q.      So let's -- to set the stage

      19     Secretary Kerry of course is -- in the previous

      20     year is the secretary of state in the Obama

      21     administration, and that's all going to change

      22     on January 20th or so with the new
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 118 of 463 PageID #:
                                     8552

                                                                         Page 118
        1    administration coming in, right?

        2         A.      Right.

        3         Q.      Okay.    Okay.   And so, again, maybe

        4    you -- maybe you fully explained.

        5                 So -- but -- so -- so that I follow,

        6    you're saying that, okay, now we've got a new

        7    State Department, we've got a new secretary of

        8    state, and it's possible that they'll want to

        9    reconsider where the former secretary of state

      10     in a different administration left things?

      11                  MR. MARUTOLLO:      Objection.

      12                  You can answer to the extent that

      13     characterization is accurate.

      14                  But you can answer.

      15                  THE WITNESS:     Correct.

      16                  MR. CONNELLY:      I'll give you next

      17     what I'm going to call KA-10A, for -- to

      18     maintain my -- our sequence.

      19                  (Deposition Exhibit KA-10A was

      20     marked for identification.)

      21                  THE WITNESS:     Are you testing my

      22     eyes with this one?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 119 of 463 PageID #:
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                                                                         Page 119
        1                 BY MR. CONNELLY:

        2         Q.      Well, I'm giving you the -- I'm

        3    giving you the whole chain, although I -- I

        4    only care about the top e-mail to you from

        5    Samantha D-E-S-H-O-M-M-E-S.

        6                 But take your time to the extent

        7    that you need to put it in context.

        8         A.      Okay.

        9         Q.      Okay.    How does Samantha pronounce

      10     her last name?

      11          A.      I think it's Deshommes.

      12          Q.      Deshommes?     All right.

      13                  And who -- who is she?

      14          A.      She is chief of the regulatory

      15     coordination division in the office -- office

      16     of policy and strategy.

      17          Q.      Is she someone that you -- you

      18     ordinarily interact with?

      19          A.      Yes.    Fairly frequently in -- in my

      20     role in policy and strategy, yes.

      21          Q.      All right.     So we're now -- we've

      22     moved -- the last one -- document I think I
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 120 of 463 PageID #:
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                                                                         Page 120
        1    showed you was an -- an early -- earlier

        2    February.     We're a couple of weeks deeper now

        3    in February.      It's February 23rd of 2017.

        4                 And I'm going to ask you to

        5    translate a few of these acronyms in her e-mail

        6    to you.

        7                 She begins by -- well, she starts

        8    with "Yes, of course," and then moves on to say

        9    "We discussed this with OGC."

      10                  Who is OGC?

      11          A.      That is the -- I believe it to be

      12     the DHS office of general counsel.

      13          Q.      Okay.   And who -- do you know who --

      14     or are you familiar with who the general

      15     counsel would be at that -- at this -- at this

      16     time?

      17          A.      I'm not sure who it was then, no.

      18          Q.      All right.     She moves on to say:

      19     "I'm not sure how this crew is planning to

      20     approach TPS in general.         But for whatever

      21     reason, they are signalling some concerns with

      22     this group of countries especially."
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 121 of 463 PageID #:
                                     8555

                                                                         Page 121
        1                 When she references "this crew," who

        2    is she referencing?

        3                 MR. MARUTOLLO:      Objection.     Calls

        4    for speculation.

        5                 But to the extent you know who --

        6    the individuals that she's referencing, you can

        7    answer -- or -- or organization that she's

        8    referencing.

        9                 THE WITNESS:     I'm not entirely sure.

      10     I take that to mean people who were newly

      11     coming in.     It signals a transition.         So people

      12     who are new to the office or DHS.

      13                  BY MR. CONNELLY:

      14          Q.      Okay.   And your -- your best

      15     understanding.

      16          A.      That's --

      17          Q.      I understand all you --

      18          A.      Yeah.   I'm not --

      19          Q.      -- can do -- I mean --

      20          A.      -- entirely sure.

      21          Q.      -- is -- is your understanding of

      22     what she was conveying.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 122 of 463 PageID #:
                                     8556

                                                                         Page 122
        1                 Your understanding is she was

        2    talking about some -- some of the new people

        3    coming into DHS.

        4         A.      That's my best understanding.

        5         Q.      Yeah.   All right.

        6                 And then moving down just a few

        7    sentences, she says:        "Then again, if we have a

        8    permanent OP&S chief by that time, what you're

        9    permitted to put forward may or may not change

      10     depending on her feelings about TPS."

      11                  Do you see that?

      12          A.      I do.

      13          Q.      What is OP&S?

      14          A.      That's the office of policy and

      15     strategy where we both worked.

      16          Q.      And can you recall back -- you know,

      17     in -- in late February of 2017, was -- was

      18     the -- was there someone filling the position

      19     of chief of OP&S at that time?          Was the

      20     position empty?

      21                  I -- I -- because this is a

      22     reference to -- sounds like someone new coming
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 123 of 463 PageID #:
                                     8557

                                                                         Page 123
        1    in to serve as the permanent chief.

        2         A.      I think that Larry Levine was acting

        3    as the chief of OP&S at this time.

        4         Q.      And help me out.

        5                 What role does the chief of OP&S

        6    have in determining what you are permitted to

        7    put forward?

        8         A.      The chief of OP&S is the head of the

        9    office of policy and strategy.          So in talking

      10     before about the TPS package that moves

      11     forward, it comes out of the office of policy

      12     and strategy and then moves to the director's

      13     office within USCIS.

      14                  So the OP&S chief traditionally has

      15     the final say on what package comes out of that

      16     office, OP&S, and moves forward to the

      17     director's office for review.

      18          Q.      And where was your input in that

      19     process?

      20                  Have you -- have you given your

      21     input and that -- and that -- and that moves up

      22     to the office of policy and strategy?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 124 of 463 PageID #:
                                     8558

                                                                         Page 124
        1                 MR. MARUTOLLO:      Objection.     Again,

        2    to the extent it calls for internal government

        3    deliberations, I'll instruct the witness not to

        4    answer.    And -- and also objection to the

        5    grounds that the question was vague.

        6                 But otherwise, you can answer the

        7    question.

        8                 THE WITNESS:     Just in terms of

        9    structure, there's the -- the chief of the

      10     office of policy and strategy.          And within the

      11     office of policy and strategy, there are

      12     several divisions.

      13                  So the international and

      14     humanitarian affairs division, within which I

      15     worked while I was there, directly reported to

      16     the chief of the office of policy and strategy.

      17                  So whatever we worked up within our

      18     division as the initial draft would go, you

      19     know, through the chief of the office of policy

      20     and strategy for review.

      21                  BY MR. CONNELLY:

      22          Q.      Was there ever a time, you know,
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 125 of 463 PageID #:
                                     8559

                                                                         Page 125
        1    after February 23rd of 2017, when someone told

        2    you, as far as your part, as you've just

        3    explained, your part of the process, told you

        4    what to put forwarded or -- or move -- or move

        5    on, you know, to OP&S?

        6                 MR. MARUTOLLO:      Objection.

        7                 I would direct the witness not to

        8    answer to the extent it calls for internal

        9    government deliberations, again under the

      10     deliberative process privilege.           So I would

      11     instruct the witness not to answer that

      12     question as phrased.

      13                  BY MR. CONNELLY:

      14          Q.      In the past was -- was it usual or

      15     unusual for anyone to ever suggest to you what

      16     you should put forward?

      17                  MR. MARUTOLLO:      Objection.     Again,

      18     I'm going to direct the witness not to answer

      19     to the extent it calls for internal government

      20     deliberations, again under the deliberative

      21     process privilege.

      22                  And also I object on the grounds
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 126 of 463 PageID #:
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                                                                         Page 126
        1    that the question is vague.

        2                 So I'd instruct the witness not to

        3    answer that question.

        4                 BY MR. CONNELLY:

        5         Q.      I -- I don't want -- as I've told

        6    you, you know, previously, I don't want

        7    anything you're deliberating or anyone is

        8    deliberating, you know, with you about.

        9                 I just want to have -- I want to

      10     have an understanding simply of you as a

      11     government worker being involved in the process

      12     to make determinations on TPS status or their

      13     extension.

      14                  I -- I'm trying to find out how the

      15     process worked and whether the process remained

      16     in its usual place in 2017 or whether suddenly

      17     people were telling you what to do.

      18                  So I don't -- I don't want to hear

      19     about any -- any conversations that you're --

      20     and your lawyer won't let me -- you know, won't

      21     -- wouldn't want you to tell me about those

      22     conversations.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 127 of 463 PageID #:
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                                                                         Page 127
        1                 I'm simply trying to find out if

        2    historically, when you put things forward to

        3    the office of policy -- at OP -- OP&S is what,

        4    office of policy and -- tell me again?

        5         A.      Office of policy and strategy.

        6         Q.      And strategy.      Yeah, yeah.

        7                 Prior to -- prior to 2017, did --

        8    did anyone suggest to you what you should put

        9    forward?

      10                  MR. MARUTOLLO:      Objection.     Again,

      11     I'm going to direct the witness not to answer

      12     the question as phrased.         It calls for internal

      13     government deliberations, including suggestions

      14     or recommendations about what to put forward.

      15     And therefore, it's -- I think it's protected

      16     by the deliberative process privilege.

      17                  BY MR. CONNELLY:

      18          Q.      Prior to February of 2017, was there

      19     ever a time when you planned to put forward

      20     something but you didn't put it forward?

      21                  I don't want to know why.         I don't

      22     care who you talked to.         I just want you to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 128 of 463 PageID #:
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                                                                         Page 128
        1    think back, all right, before the Trump

        2    administration when I was putting things

        3    forward, I -- I just want to know was there

        4    ever a time when there was something you

        5    planned to put forward but it didn't go

        6    forward?

        7                 MR. MARUTOLLO:      Objection.     Again, I

        8    would -- first, I would object on the ground

        9    of -- of vagueness.       But I think that -- that

      10     -- that calls for internal government

      11     deliberations about predecision deliberations.

      12     I think it's protected by the deliberative

      13     process privilege.

      14                  To the extent the question is

      15     whether she drafted documents, she can answer

      16     that question.      But I mean, as the question is

      17     phrased, I would instruct the witness not to --

      18     not to answer the question.

      19                  BY MR. CONNELLY:

      20          Q.      Are -- are you going to follow that

      21     instruction?

      22                  Because I don't want -- I don't want
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 129 of 463 PageID #:
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                                                                         Page 129
        1    anything other than the simple objective fact

        2    of whether, prior to February of 2017, was

        3    there ever a time when you were planning on

        4    putting something forward but you didn't put it

        5    forward?

        6                 I don't care why.       I don't care what

        7    caused it.     I just want to know that simple

        8    objective fact, which strikes me as no

        9    different than asking you time or temperature.

      10                  But -- so I want to know are you --

      11     are you -- are you not going to answer that

      12     question based upon your attorney's cautions?

      13                  MR. MARUTOLLO:      Well, again, I would

      14     instruct the witness not to answer that

      15     question as phrased.

      16                  Again I would also object on grounds

      17     of vagueness in terms of what -- what that's

      18     even referring to.

      19                  But my understanding is, if it's

      20     related to anything as per the prior questions,

      21     I think that calls for internal government

      22     deliberations.      And again, we would instruct
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 130 of 463 PageID #:
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                                                                         Page 130
        1    the witness not to answer under the

        2    deliberative process privilege.

        3                 BY MR. CONNELLY:

        4         Q.      Are you going to follow your

        5    attorney's advice?

        6         A.      I am.

        7         Q.      Okay.   Was there ever a time after

        8    February 23rd of 2017 when there were things

        9    you wished to put forward or had planned to put

      10     forward but weren't permitted to do so?

      11                  MR. MARUTOLLO:      Objection.     Again,

      12     you know -- I won't waste time, but I'll

      13     repeat --

      14                  MR. CONNELLY:      Yeah.

      15                  MR. MARUTOLLO:      -- the same

      16     objection from a moment ago.

      17                  BY MR. CONNELLY:

      18          Q.      Okay.   And again, will you follow --

      19     you'll follow your attorney's advice not to

      20     answer that question?

      21          A.      Yes.

      22          Q.      Do you recall whether, after
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 131 of 463 PageID #:
                                     8565

                                                                         Page 131
        1    February 23rd of 2017, anything at all changed

        2    depending on -- I mean did you in any way

        3    change how you handled your job or

        4    responsibilities based upon the feelings of the

        5    permanent OP&S chief?

        6                 MR. MARUTOLLO:      Objection.     I think

        7    that's clearly deliberative.          To the extent --

        8    and I'll -- I'll instruct the witness not --

        9    not to answer that question on the ground of

      10     deliberative process privilege.

      11                  BY MR. CONNELLY:

      12          Q.      Let me ask you.

      13                  You think that Larry Levine --

      14     Levine -- is that's how it's pronounced?

      15          A.      Yes.

      16          Q.      -- was the acting chief in February

      17     of 2017?

      18          A.      I think he was.

      19          Q.      Okay.   Did -- did -- did a permanent

      20     chief replace Larry at some point?

      21          A.      Yes.

      22          Q.      Who was that and -- and when?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 132 of 463 PageID #:
                                     8566

                                                                         Page 132
        1         A.      It was Kathy Nuebel Kovarik.          And

        2    I'm not entirely sure when she was designated

        3    the permanent chief.

        4                   MR. CONNELLY:      I'm going to show

        5    you KA-11.

        6                 (Deposition Exhibit KA-11 was marked

        7    for identification.)

        8                 BY MR. CONNELLY:

        9         Q.      While you're -- while you're taking

      10     a look at the document, I'll represent to you

      11     this is an exhibit attached to our complaint,

      12     the lawsuit.      And a lot of the information --

      13     well, a lot of what has been redacted is -- is

      14     largely, almost exclusive but not entirely,

      15     just names of people, just for privacy reasons.

      16     It -- it had nothing to do with our lawsuit.

      17     So we didn't want to publish their names.             And

      18     so we -- we eliminated them.

      19          A.      Okay.

      20          Q.      Okay.   If you'll go to the

      21     second-to-the-last page, which has, on the

      22     far-right bottom -- it's Page 16.           Or in the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 133 of 463 PageID #:
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                                                                         Page 133
        1    middle of the page, it has the number 4.

        2                 Are you with me on that?

        3         A.      Yes.

        4         Q.      Okay.    And you'll see that there is

        5    a March 2nd, 2017 e-mail at 3:46 p.m.

        6                 Help me out a little bit with the

        7    acronyms.

        8                 EXSO, what is that?

        9         A.      That's the USCIS -- I guess it would

      10     be the executive secretary's office.

      11          Q.      And what role, if any, does the EXSO

      12     have in determinations of initial TPS status or

      13     extensions?

      14          A.      In this particular case, and

      15     generally, they would just distribute a

      16     document for review by various entities within

      17     USCIS.

      18          Q.      Prior to the decision being made?

      19          A.      Yes.    They would provide the

      20     administrative function of circulating it to

      21     the right people who needed to review it.

      22          Q.      Okay.    And under -- and -- and
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 134 of 463 PageID #:
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                                                                         Page 134
        1    there's a -- a reference, FO.

        2                 Can you tell me what that is?

        3         A.      Front office.

        4         Q.      Meaning who or -- or where within

        5    the organization?

        6         A.      The USCIS front office.        So that

        7    would typically mean -- it would encompass

        8    usually both the director and deputy director

        9    and their offices.

      10          Q.      Okay.   And at this time, were you

      11     the deputy director?

      12                  Or no, no.

      13                  You're -- where -- where are you in

      14     the firmament in -- what's -- what's your --

      15     your -- you -- you were at this time a deputy

      16     chief?

      17          A.      So at this time I was deputy --

      18          Q.      Within your division.

      19          A.      -- chief of the division.

      20          Q.      Yeah.

      21          A.      Yes.

      22          Q.      Yeah.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 135 of 463 PageID #:
                                     8569

                                                                         Page 135
        1         A.      This is -- I was speaking about the

        2    director and deputy director of USCIS.

        3         Q.      Yes.    Okay.   I got it.     All right.

        4                 Mostly I show you this document

        5    because, again, on the story line -- the --

        6    the -- the time line, you'll see a summary now

        7    in the middle of the page that would -- you

        8    help -- tell me if I'm right about this.

        9                 But it would seem to suggest that

      10     USCIS has a recommendation memo that discusses

      11     Haiti, and it has a recommendation that the

      12     secretary extend the designation for another 18

      13     months.

      14                  Have I fairly summarized --

      15          A.      I see what you're --

      16          Q.      -- what that says?

      17          A.      -- talking about.

      18          Q.      Yeah.   Okay.

      19                  Does -- does that comport with your

      20     recollection of what -- that there was a

      21     recommendation memo at this time, and that it

      22     was recommending an extension of 18 months?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 136 of 463 PageID #:
                                     8570

                                                                         Page 136
        1         A.      Yes.    That there -- this was a draft

        2    memo, yes.

        3         Q.      Yeah.

        4                 Were you involved in the draft memo?

        5         A.      I was in --

        6                 MR. MARUTOLLO:      Objection.

        7                 You can answer.

        8                 THE WITNESS:     I was involved in

        9    drafting the memo.

      10                  BY MR. CONNELLY:

      11          Q.      Okay.   And was it your -- and -- and

      12     the memo did recommend an extension for 18

      13     months?

      14                  MR. MARUTOLLO:      Objection.     Again,

      15     to the extent it the calls for internal

      16     government deliberations, I would instruct the

      17     witness not to answer the question.

      18                  So I don't think you should answer

      19     that question.

      20                  BY MR. CONNELLY:

      21          Q.      Do you -- do you remember whether

      22     your recommendation was to extend for 18
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 137 of 463 PageID #:
                                     8571

                                                                         Page 137
        1    months?

        2                 MR. MARUTOLLO:      Objection.     Again,

        3    since this is a recommendation, I would

        4    instruct the witness not to answer under the

        5    deliberative process privilege.

        6                 MR. CONNELLY:      We can stay on

        7    record.    Although, if you want to go off

        8    record, Joe, that's okay.

        9                 But I'm simply asking what this lady

      10     is doing in her capacity in her -- in -- in

      11     doing her job.      I'm not asking, you know, what

      12     anybody else suggested to her or what she

      13     talked about with anyone else.          I -- I -- I

      14     just -- I fail to see how that narrow question

      15     entails, you know, a privilege that, by its

      16     definition, requires, you know, communications

      17     and -- with others.

      18                  MR. MARUTOLLO:      I think the case law

      19     is very clear about recommendations and drafts

      20     in terms of being protected by the deliberative

      21     process privilege.

      22                  I think the question, as posed, is
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 138 of 463 PageID #:
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                                                                         Page 138
        1    about whether or not Ms. Anderson had a

        2    recommendation that was included or provided as

        3    part of this draft.

        4                 I think questions related to this

        5    document, you know, which -- the four corners

        6    of this document and -- and perhaps by Ms.

        7    Anderson explaining this doc -- this e-mail --

        8    this exhibit, Exhibit KA-11, are -- are fine.

        9    And, you know, we'll make objections, you know,

      10     not on deliberative process, on just explaining

      11     this document.

      12                  But at the same time, any questions

      13     about recommendations that are made, even by

      14     Ms. Anderson, would still fall under the

      15     deliberative process privilege.

      16                  BY MR. CONNELLY:

      17          Q.      But am I correct that -- that, as of

      18     early March of 2017, at least some people in

      19     USCIS, including yourself, thought that the TPS

      20     status for Haiti should be extended for 18

      21     months?

      22                  MR. MARUTOLLO:      Again, I object.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 139 of 463 PageID #:
                                     8573

                                                                          Page 139
        1    Instruct the witness not to answer.            Certainly

        2    that question calling not only about her own

        3    views but other people at USCIS, what they were

        4    thinking, calls for internal deliberations that

        5    are protected by the deliberative process

        6    privilege.

        7                 So I'd instruct the witness not to

        8    answer.

        9                 BY MR. CONNELLY:

      10          Q.      If you'll -- move along.        I'm just

      11     going to -- I'm going to ask you about a bunch

      12     of acronyms now in this -- in this memo.             So if

      13     you'll turn back to Page 14.

      14          A.      Okay.

      15          Q.      There's a reference to AD1?

      16          A.      Yes.

      17          Q.      What is -- what is that?        Who is

      18     that?

      19          A.      That means the acting director of

      20     USCIS.

      21          Q.      Who was that at the time?

      22          A.      I believe it was James McCament.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 140 of 463 PageID #:
                                     8574

                                                                         Page 140
        1          Q.     Could you spell that last name for

        2    me.

        3          A.     M-c-C-A-M-E-N-T.

        4          Q.     Do you recall how long he remained

        5    the acting director through 2017?

        6          A.     I am not sure when the permanent

        7    director Cissna was appointed.

        8          Q.     Okay.   But at some point in 2017, a

        9    permanent director came in?

      10           A.     I believe it was 2017, yes.

      11           Q.     Yeah.   Okay.

      12                  And -- and who was that?

      13           A.     Francis Cissna.

      14           Q.     Could you spell that last name?

      15           A.     C-I-S-S-N-A.

      16           Q.     Okay.   A little higher on this -- on

      17     this page there's a reference to COS.

      18                  Tell me what that is.

      19           A.     Chief of staff.

      20           Q.     And who was that at the time?

      21           A.     I don't remember.

      22           Q.     Going back to Page 13, near the top
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 141 of 463 PageID #:
                                     8575

                                                                         Page 141
        1    there is a reference to James.

        2                 Is it safe to say that was probably

        3    James McCament, the acting director?

        4                 MR. MARUTOLLO:      Objection.

        5                 You can answer.

        6                 THE WITNESS:     I believe that it

        7    would be, yes.

        8                 BY MR. CONNELLY:

        9         Q.      Okay.   And then in that same

      10     sentence, there's a reference to NAC.

      11                  What's that?

      12          A.      That stands for the Nebraska Avenue

      13     Complex.

      14          Q.      Tell me about that a little bit.

      15          A.      That's the DHS headquarters.

      16          Q.      At the very top of the page, maybe

      17     the first time that I -- her name is on the

      18     documents that I've shown you, is a lady you --

      19     you mentioned a few minutes ago, Kathy Kovarik.

      20                  Is that how it's pronounced?

      21          A.      Yes.

      22          Q.      Okay.   And --
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                                                                         Page 142
        1         A.      Kathy Nuebel Kovarik.

        2         Q.      Kathy Nuebel Kovarik?

        3         A.      Kovarik, yeah.

        4         Q.      Okay.   What's her position?

        5                 I think you told me, but I've

        6    forgotten.

        7         A.      Well, she's currently chief of the

        8    office of policy and strategy.

        9         Q.      Do you remember what her position

      10     was back in April of 2017?

      11          A.      I'm not entirely sure the date that

      12     she took on the role of chief of office and

      13     policy and strategy.        But prior to that, she

      14     was on the transition team for USCIS.            So she

      15     was either in that role on the transition

      16     team -- the beach head team they were called --

      17     or she had already at this point taken on her

      18     role as chief of the office and policy and

      19     strategy.

      20          Q.      To your best recollection, she

      21     joined CIS with the new administration?

      22          A.      Yes.
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                                                                         Page 143
        1                 MR. CONNELLY:      Okay.   We'll go to

        2    KA-12.

        3                 (Deposition Exhibit KA-12 was marked

        4    for identification.)

        5                 THE WITNESS:     Okay.

        6                 BY MR. CONNELLY:

        7         Q.      All right.     You've helped me out

        8    with the acronyms in the -- in the of the first

        9    e-mails on March 22nd.        So let's move up on

      10     that back page to the March 24th e-mail from

      11     Mark Boivin.

      12                  Is that how it's pronounced?

      13          A.      Boivin.

      14          Q.      Boivin.

      15                  What position does Mark have?

      16          A.      Mark works in the regulatory

      17     coordination division of the office of policy

      18     and strategy.      It looks like it has his

      19     information at the bottom --

      20          Q.      Yeah.

      21          A.      -- of the e-mail.

      22          Q.      And he says:     "Hi Katherine, I just
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 144 of 463 PageID #:
                                     8578

                                                                         Page 144
        1    spoke to Sam."

        2                 Who was that?

        3         A.      That's Samantha Deshommes.

        4         Q.      And goes on to say:       "When the memo

        5    is ready, I'll send it to SCOPS."

        6                 Tell me about SCOPS.

        7         A.      Service center operations.         That's a

        8    directorate within USCIS.

        9         Q.      "And to OCC."

      10                  Who is that?

      11          A.      Office of chief counsel within

      12     USCIS.

      13          Q.      And I just want process here.          I

      14     don't want conversations.         I don't want

      15     deliberations.

      16                  The -- well, let -- let's -- hang

      17     onto that question for just one second.

      18                  In his second sentence -- or second

      19     paragraph he says:       "I understand that this

      20     will now be an action/decision memo, and one of

      21     the options will be to terminate with a

      22     six-month orderly transition like we did for
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 145 of 463 PageID #:
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                                                                         Page 145
        1    West Africa."

        2                 And this is -- we're -- we're

        3    talking about Haiti, correct?

        4                 You picked that up from the context

        5    of the earlier e-mail?

        6         A.      Correct.

        7         Q.      Okay.   So let me ask -- the last

        8    document that I showed you, which was in early

        9    March, I'm going to suggest that at least

      10     someone at CIS seemed to think there was going

      11     to be an 18-month extension.

      12                  This memo on March 24th talks about

      13     the possibility that there may be the decision

      14     to terminate with a six-month orderly

      15     transition.

      16                  Would- - would you agree with me

      17     that that is different than an 18-month

      18     extension?

      19                  MR. MARUTOLLO:      Objection.     Just

      20     to -- to the extent it assumes facts not in

      21     evidence or the extent it's vague.           But -- and

      22     also asserting deliberative process privilege.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 146 of 463 PageID #:
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                                                                         Page 146
        1                 You can answer the question based on

        2    the -- the documents that the -- counsel has

        3    provided you.

        4                 THE WITNESS:     I think Mark is

        5    stating that the memo will now be an options

        6    memo with options provided for the secretary.

        7    And one of those options would be to terminate.

        8                 BY MR. CONNELLY:

        9           Q.    Were you involved in this -- in this

      10     action decision memo?

      11                  MR. MARUTOLLO:      Objection.

      12                  You can answer.

      13                  THE WITNESS:     I was involved in

      14     revising the memo, this action decision memo,

      15     yes.

      16                  BY MR. CONNELLY:

      17          Q.      And when you say "the memo," are --

      18     are you referencing back to whatever had --

      19     whatever the previous memo was, which I'm

      20     suggesting, according to these internal

      21     documents, would seem -- would contained a

      22     suggestion for an 18-month extension?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 147 of 463 PageID #:
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                                                                         Page 147
        1                 MR. MARUTOLLO:      Objection again to

        2    the extent that it assumes facts not in

        3    evidence.     And also, under the deliberative

        4    process privilege, we would assert an

        5    objection.

        6                 But based on these documents, you

        7    can answer the question.

        8                 THE WITNESS:     The memo we're talking

        9    about is the recommendation memo from the

      10     director of USCIS to the DHS secretary.             It's

      11     the same memo.

      12                  BY MR. CONNELLY:

      13           Q.     Okay.   Okay.    And is this -- is

      14     this -- in this time frame, March 24th or

      15     thereabouts in 2017, is that the first time

      16     that you learned that one option that should be

      17     included in the memo was a decision to

      18     terminate with a six-month orderly transition?

      19                  I don't want to know who you talked

      20     to.    I just want to know when you first learned

      21     that one of the things that you were going to

      22     have a hand in writing would include an option
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 148 of 463 PageID #:
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                                                                         Page 148
        1    to terminate.

        2                 MR. MARUTOLLO:      Objection.     Again,

        3    vague.    But also I'd instruct the witness not

        4    to answer to the extent it the calls for

        5    internal government deliberations.

        6                 However, but based on these e-mails

        7    that are in front of the witness, you can

        8    answer the question with that limitation in

        9    mind.

      10                  THE WITNESS:     I don't think that

      11     this was the first time I had understood that

      12     the memo would be revised, no.

      13                  BY MR. CONNELLY:

      14          Q.      When -- when did you first

      15     understand it?

      16                  And we're bracketing -- basically

      17     I'm bracketing with the documents that I've

      18     shown you, which, you know, the -- the previous

      19     document was in much earlier March, and now

      20     this document is -- or this e-mail is on

      21     March 24th.

      22                  MR. M:    Objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 149 of 463 PageID #:
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                                                                         Page 149
        1                 You know, you can understand the

        2    question.

        3                 But I object on the grounds of

        4    vagueness.

        5                 But you can answer the question.

        6                 THE WITNESS:     I'm sorry.     I don't

        7    quite understand the question.

        8                 BY MR. CONNELLY:

        9         Q.      Because you said weren't quite sure

      10     when -- or you didn't know that this was the

      11     first time that you had, you know, learn about

      12     a possible option to terminate.

      13                  I -- and I guess -- whatever my

      14     earlier question was, what's your recollection

      15     of when you did first learn about that as a

      16     possibility?

      17                  MR. MARUTOLLO:      Again, object to the

      18     extent it calls for internal government

      19     deliberations and to the extent it calls for

      20     any -- any -- relaying of any information about

      21     recommendations that were made.

      22                  So I -- I'd limit your answer to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 150 of 463 PageID #:
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                                                                         Page 150
        1    what is in the e-mail, what is in these -- in

        2    these exhibits before you.

        3                 THE WITNESS:     I guess I would just

        4    restate that I don't think that Mark's e-mail

        5    to me was the first time that I had heard that

        6    there was a request to revise the memo to

        7    include options.

        8                 BY MR. CONNELLY:

        9         Q.      Was the first time that you heard it

      10     sometime earlier in March of 2017?

      11                  MR. MARUTOLLO:      Objection.     Same

      12     objection stated.

      13                  But again, with the objections in

      14     mind, that you can answer the question.

      15                  THE WITNESS:     Yes.    Yes.

      16                  BY MR. CONNELLY:

      17          Q.      And then you're involved in the

      18     process of revising the memo.          And take --

      19     taking you back up to Mark's first line when he

      20     says:     "When the memo's ready, I'll send it to

      21     SCOPS and OCC."

      22                  Just tell me -- help me in the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 151 of 463 PageID #:
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                                                                         Page 151
        1    process.

        2                 Is that -- is that ordinarily how

        3    the process works, regardless of whether we're

        4    talking about Haiti or any other country?

        5                 Once a memo of this type is

        6    generated, is -- is that -- is that the unusual

        7    path it takes?

        8                 MR. MARUTOLLO:      Objection.

        9                 Again, you can answer to the extent

      10     you are aware in your capacity as a fact

      11     witness in this case but not as a 30(b)(6)

      12     witness.

      13                  But in terms of the timing, you can

      14     answer the question.

      15                  THE WITNESS:     Yes.    Generally the

      16     office of policy and strategy drafts the memo.

      17     And then other offices with equities in TPS

      18     receive it for review.        So SCOPS and OCC are

      19     two of those offices.

      20                  BY MR. CONNELLY:

      21          Q.      Okay.   Now, if you'll turn to the

      22     first page of the memo to the March 24th e-mail
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 152 of 463 PageID #:
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                                                                         Page 152
        1    from Brandon to you and Mark at 4:21 p.m. on

        2    March 24th.

        3                 Do you see that?

        4         A.      Yes.

        5         Q.      Let me -- let me take care of a

        6    couple of the acronyms.

        7                 Within his e-mail, he makes

        8    reference to S1s, that's S, numeral 1s, senior

        9    counselor.

      10                  Who was that?

      11          A.      I would --

      12                  MR. MARUTOLLO:      Objection.

      13                  Again, to the extent you're aware.

      14                  THE WITNESS:     I was going to say my

      15     understanding of that is that it would refer to

      16     Gene Hamilton.

      17                  BY MR. CONNELLY:

      18          Q.      Okay.   And when did he take on that

      19     position?

      20          A.      I don't know when he started.

      21          Q.      Was he -- was he coming in fresh

      22     with the Trump administration, as opposed to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 153 of 463 PageID #:
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                                                                         Page 153
        1    having been in CIS in -- at a prior time?

        2         A.      He began after the administration

        3    changed, yes.

        4         Q.      Okay.    And who -- what -- the

        5    reference to S1, who is that?

        6         A.      That would refer to the secretary.

        7         Q.      Okay.    Do you remember, at this

        8    time, is that the acting secretary that you

        9    referenced earlier?

      10                  Is it -- how is it pronounced Mc --

      11     Mc -- McCarrot?

      12                  Help me out.

      13          A.      That's pronounced McCament.

      14          Q.      Okay.

      15          A.      But this is talking about the

      16     secretary of the Department of Homeland

      17     Security, S1.

      18          Q.      So at the time that would have been

      19     Kelly?

      20          A.      Yes.    I believe it was Secretary

      21     Kelly.

      22          Q.      Okay.    And one more acronym on the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 154 of 463 PageID #:
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                                                                         Page 154
        1    -- further up the page.         On his March 28th

        2    e-mail, he -- he talks about a redraft up to

        3    the FO.

        4                 But I guess that's -- again, that's

        5    front office?

        6         A.      Correct.    The USCIS front office.

        7         Q.      All right.     Okay.

        8                 And so in this -- now going back to

        9    that lower memo on the first page, the

      10     March 24th 4:21 memo to you.

      11                  Am I correct that, in the second

      12     paragraph, he reiterates:         "The word you got

      13     regarding refashioning the memo to provide

      14     options is right and quoting termination (with

      15     perhaps a few options, not just six months for

      16     orderly transition delayed effective date)."

      17                  Okay.   I read that exactly; yes?

      18          A.      Yes.

      19          Q.      Okay.   And so that's the context

      20     we're -- we're -- now we're talking about the

      21     refashioning the memo.

      22                  Then he says -- after that he says:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 155 of 463 PageID #:
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                                                                         Page 155
        1    "Ultimately, we're (USCIS still going to assess

        2    that conditions continue to be met and

        3    extension is warranted (we hope).           So think an

        4    extension FRN is the appropriate one to go up

        5    with the package."

        6                 What was your understanding when he

        7    references "we're," the contraction for "we

        8    are," and then (USCIS)?

        9                 Who is he referring to there, to --

      10     to your best understanding?

      11                  MR. MARUTOLLO:      Objection.

      12                  Again, to the extent this calls for

      13     internal government deliberations, I would

      14     instruct you not to answer and if it calls for

      15     internal deliberations beyond the four corners

      16     of this document.

      17                  But you can explain your -- you can

      18     explain the document in the manner that the

      19     counsel has just asked.

      20                  THE WITNESS:     I think that the first

      21     "we're" after "ultimately" is, as he's

      22     indicated in the parenthetical, he intends that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 156 of 463 PageID #:
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                                                                         Page 156
        1    to mean USCIS corporately.

        2                 And in the second instance, after

        3    "warranted," I think that he means the "we" to

        4    be himself and me.

        5                 BY MR. CONNELLY:

        6         Q.      All right.     And then he further

        7    says:     "Also our thinking is we should try to

        8    avoid getting in the business of sending up a

        9    buffet of FRNs, even if we're including options

      10     in TPS decision memos going forward."

      11                  What was your understanding of the

      12     phrase "sending up a buffet of FRNs"?

      13                  MR. MARUTOLLO:      Objection, again to

      14     the extent it calls for internal government

      15     deliberations.

      16                  But you can answer to the extent

      17     it's based on explaining this document.

      18                  Further objection though under the

      19     sense that this is -- calls for speculation, as

      20     you did not write this doc -- write this

      21     e-mail.

      22                  You -- you can answer with those
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 157 of 463 PageID #:
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                                                                         Page 157
        1    objections.

        2                 THE WITNESS:     Typically the TPS

        3    package that I mentioned our office would pull

        4    together would include the recommendation memo

        5    as well as a draft federal register notice

        6    reflecting the recommendations that was in that

        7    memo so that they were both already drafted.

        8                 But if a decision memo went up to

        9    the secretary with several options, then you're

      10     faced with a situation of needing to draft an

      11     FRN to reflect each of those options.

      12                  So when he says "a buffet of FRNs,"

      13     he was hoping, I believe, that we would not

      14     need to draft several versions of an FRN to

      15     reflect all of the different options reflected

      16     in the -- in the memo.

      17                  BY MR. CONNELLY:

      18          Q.      Okay.   Prior to this time, had you

      19     ever drafted, to use his phrase, a buffet of

      20     FRNs?

      21                  Or I'll just -- you know, define

      22     that as FRNs with several different options.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 158 of 463 PageID #:
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                                                                         Page 158
        1                 Had you done that previously?

        2                 MR. MARUTOLLO:      Objection.

        3                 Again, to the extent it calls for

        4    internal government deliberations, I would

        5    instruct the witness not to answer under the

        6    deliberative process privilege with the

        7    limitation that you can answer whether or not

        8    you had drafted multiple FRNs.

        9                 THE WITNESS:     I don't recall

      10     previously drafting multiple FRNs to accompany

      11     recommendation memo, no.

      12                  BY MR. CONNELLY:

      13          Q.      In this instance, did it turn out

      14     that you -- did it end up that there were, you

      15     know, multiple FRNs that were -- were -- were

      16     generated?

      17                  MR. MARUTOLLO:      Again, object to the

      18     extent it calls for internal government

      19     deliberations.      And I would instruct the

      20     witness not to answer under the deliberative

      21     process privilege.

      22                  And -- and here again, I think the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 159 of 463 PageID #:
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                                                                         Page 159
        1    way that question's phrased, I would instruct

        2    the witness not to answer.

        3                 BY MR. CONNELLY:

        4         Q.      I don't want to know the content of

        5    any conversations or communications.

        6                 But did you -- did you have

        7    communications with senior counsellor Gene

        8    Hamilton regarding the decision to -- in May to

        9    extend and then ultimately to terminate Haiti's

      10     TPS status?

      11                  MR. MARUTOLLO:      Again, I would

      12     object to the extent it calls for internal

      13     government deliberations and instruct the

      14     witness not to answer under the deliberative

      15     process privilege.

      16                  But I -- I would instruct the

      17     witness, if she can answer -- Ms. Anderson can

      18     answer, to the extent she had -- whether she

      19     had any communications with Mr. Hamilton

      20     related to the TPS determination that's being

      21     questioned now by counsel.

      22                  THE WITNESS:     Yes.    I believe that I
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 160 of 463 PageID #:
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                                                                         Page 160
        1    did have some communication with him.

        2                 BY MR. CONNELLY:

        3           Q.    Do you recall approximately how

        4    many?

        5                 MR. MARUTOLLO:      Same objection.

        6                 But you can answer.

        7                 THE WITNESS:     I don't know exactly.

        8    It would have been typically in the form of

        9    meetings.

      10                  BY MR. CONNELLY:

      11          Q.      Did you have any written

      12     communications from you to him or from him to

      13     you?

      14                  MR. MARUTOLLO:      Again, the same

      15     objection.

      16                  But you -- you can answer whether or

      17     not you had any written communications with Mr.

      18     Hamilton on this issue.

      19                  THE WITNESS:     I don't recall

      20     specifically.

      21                  BY MR. CONNELLY:

      22          Q.      The meetings that you attended with
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 161 of 463 PageID #:
                                     8595

                                                                         Page 161
        1    Mr. Hamilton, were those one-on-one meetings,

        2    or were -- were those group meetings?

        3                 MR. MARUTOLLO:      Objection.

        4                 You can answer.

        5                 Same -- same objection.

        6                 You can answer.

        7                 THE WITNESS:     The meetings would

        8    have been group meetings.

        9                 BY MR. CONNELLY:

      10          Q.      And who would have been in

      11     attendance at those meetings?

      12                  MR. MARUTOLLO:      Again, the same

      13     objection I've been asserting.

      14                  But you can answer the question.

      15                  THE WITNESS:     It certainly would

      16     have varied.      It wasn't the same group of

      17     people.    But it would have been representatives

      18     from USCIS as well as DHS headquarters.

      19                  BY MR. CONNELLY:

      20          Q.      But to your best recollection,

      21     always confined to people within CIS?

      22          A.      I'm sorry.     What do you mean?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 162 of 463 PageID #:
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                                                                          Page 162
        1         Q.      What I'm looking for -- no -- no

        2    curve balls here.

        3                 I'm not sure that the deliberative

        4    process applies.       But we can -- you know,

        5    reasonable people can -- can disagree with

        6    that.

        7                 But as -- as a lawyer, you're

        8    probably familiar with the more common concept

        9    of kind of attorney-client privilege, which is

      10     -- this is at least a cousin of.

      11                  If you're just having a deliberative

      12     process within your own agency, you know, maybe

      13     there's, you know, an argument to be made.              If

      14     there are outsiders at these meetings, I would

      15     suggest there's no privilege.

      16                  And so I want to find out who was in

      17     attendance, whether -- whether it's strictly

      18     within CIS people who are make -- who are part

      19     of this decision making process or whether

      20     there are others in the room.

      21                  MR. MARUTOLLO:      Again, I would just

      22     object.    I know there's not exactly a question
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 163 of 463 PageID #:
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                                                                         Page 163
        1    pending.     But just object to the extent it's

        2    asking the witness to make any legal

        3    conclusions about whether a privilege applies.

        4                 But if -- if the question's just

        5    about who was in the room, you can -- subject

        6    to the earlier objections, you can answer that

        7    question, to the extent you know.

        8                 THE WITNESS:     Certainly it would not

        9    have been limited to within USCIS.             Gene

      10     Hamilton, in fact, was part of the secretary's

      11     office at the Department of Homeland Security.

      12     So --

      13                  MR. CONNELLY:      Okay.   I --

      14                  THE WITNESS:     Definitely some of

      15     these --

      16                  MR. CONNELLY:      I should have

      17     broadened it --

      18                  THE WITNESS:     -- meetings, yeah --

      19                  MR. CONNELLY:      Yeah.   I'm --

      20                  THE WITNESS:     -- would have included

      21     representatives from the Department of Homeland

      22     Security as well.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 164 of 463 PageID #:
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                                                                         Page 164
        1                 BY MR. CONNELLY:

        2         Q.      Yeah.   Okay.    A fair point.      And --

        3    and -- and my -- my mistake in make -- in

        4    limiting it to just CIS.         I should have said

        5    DHS.

        6                 To your best recollection, were all

        7    of your meetings with Mr. Hamilton exclusively

        8    attended by people within DHS?

        9                 MR. MARUTOLLO:      Objection.

      10                  You can answer.

      11                  THE WITNESS:     There could have been

      12     meeting that also included the Department of

      13     State.

      14                  BY MR. CONNELLY:

      15          Q.      Any -- anyone else beyond DHS and

      16     Department of State?

      17          A.      Not that I can recall, no.

      18                  MR. CONNELLY:      All right.     I'll show

      19     you KA-13.

      20                  (Deposition Exhibit KA-13 was marked

      21     for identification.)

      22                  THE WITNESS:     Okay.
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                                                                         Page 165
        1                 BY MR. CONNELLY:

        2         Q.      Let me tell you that the -- we're

        3    not going to find a -- you know, a date on this

        4    memo, I don't think, other than where it says

        5    "Start April 24th, 2017.

        6                 I'm going to represent -- in good

        7    faith I'll represent that I believe this may

        8    have been a part of Mr. Prelogar's Outlook file

        9    and that this was generated -- my best belief

      10     is it was generated in early April, probably on

      11     April 4th of 2018.

      12                  You don't have the accept that.          I'm

      13     just giving you that by way of, you know,

      14     fairness in background in terms of my -- my

      15     understanding of where this fits into the

      16     chronology of events.

      17                  So let me ask you, in the middle of

      18     the -- of this file, the first bullet point

      19     says:     "Haiti e-mail Kolner," K-o-l-n-e-r,

      20     "response."

      21                  Do you see that?

      22          A.      Yes.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 166 of 463 PageID #:
                                     8600

                                                                         Page 166
        1         Q.      What -- what is -- what or who is

        2    Kolner?

        3         A.      I don't know.

        4         Q.      Okay.     And the third bullet point,

        5    it says:     "S1 Haiti memo."

        6                 S1, would you -- assuming that I'm

        7    right that this is in -- in the April time

        8    frame, would that be a reference to the

        9    Department of Homeland Security, Secretary

      10     Kelly?

      11          A.      I read it that way, yes.

      12          Q.      Okay.   And after it:      "(1) How many

      13     current Haitian TP folks were illegal pre-TPS

      14     designation?"

      15                  Do you see that?

      16          A.      Uh-huh.

      17          Q.      And then the next -- the next -- and

      18     I'll go ahead and read the next couple:             "(2)

      19     Since designation, how many have committed

      20     crimes?    (3) Since designation, how many are on

      21     public assistance? out of work?"

      22                  Is it -- is it your -- did you have
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 167 of 463 PageID #:
                                     8601

                                                                         Page 167
        1    an understanding at the time that Secretary

        2    Kelly had a -- had a memo seeking the answers

        3    to those questions that are summarized in what

        4    I'm referring to as the Outlook file of Mr.

        5    Prelogar?

        6                 MR. MARUTOLLO:      Objection.     Again,

        7    to the extent this calls for internal

        8    government deliberations, I would instruct the

        9    witness not to answer under the deliberative

      10     process privilege.

      11                  The -- Ms. Anderson can answer to

      12     the extent -- she can explain the document but

      13     certainly not how others interpreted the doc --

      14     document or other recommendations that were

      15     made by other officials within DHS or -- or

      16     anyone else, for that matter.

      17                  So with those limitations in mind,

      18     you can answer the question.

      19                  THE WITNESS:     My understanding of

      20     this bullet point is that this was an item on

      21     our list of work to-dos that reflected a memo

      22     including these items that we needed to draft
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 168 of 463 PageID #:
                                     8602

                                                                         Page 168
        1    for the secretary.

        2                 BY MR. CONNELLY:

        3         Q.      Okay.   So make sure I understand

        4    properly.

        5                 So the reference to Sa 80 memo,

        6    which I'll translate as Secretary Kelly 80

        7    memo, do I understand correctly you're saying

        8    that's shorthand for this is a memo that we

        9    were being asked to create and provided to

      10     Secretary Kelly?

      11                  MR. MARUTOLLO:      Objection, again to

      12     the extent it calls for internal government

      13     deliberations.

      14                  But you can explain what this means

      15     in the context of this document on KA-13, your

      16     understanding of what it -- what this document

      17     means.

      18                  THE WITNESS:     Yes.    I believe that

      19     this was a memo that we needed to provide to

      20     the secretary.

      21                  BY MR. CONNELLY:

      22          Q.      And independent of -- I'm using this
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 169 of 463 PageID #:
                                     8603

                                                                         Page 169
        1    to refresh your recollection.

        2                 Independent of what -- what's

        3    written in KA-13, do you have an independent

        4    recollection that, you know, sometime in the

        5    April time frame of 2017 you were asked to

        6    generate this type of memo?

        7                 MR. MARUTOLLO:      Again, to the extent

        8    it calls for internal government deliberations,

        9    I'd instruct the witness not to answer under

      10     the deliberative process privilege.

      11                  So I -- I would instruct not to

      12     answer on that -- on that point.

      13                  MR. CONNELLY:      Really?

      14                  MR. MARUTOLLO:      It's about a

      15     recommendation.      I mean it's not --

      16                  MR. CONNELLY:      Well --

      17                  MR. MARUTOLLO:      It's separate and

      18     apart from the documents.         I mean I guess --

      19                  MR. CONNELLY:      Okay.   And maybe --

      20     maybe I was too verbose.

      21                  BY MR. CONNELLY:

      22          Q.      I don't -- I don't care about any
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 170 of 463 PageID #:
                                     8604

                                                                         Page 170
        1    recommendations.

        2                 I just want to know if you were --

        3    you were asked to generate this memo.

        4                 MR. MARUTOLLO:      Again, are we

        5    referring to this memo that's in KA-13 --

        6                 MR. CONNELLY:      Yes.

        7                 MR. MARUTOLLO:      -- or -- okay.

        8                 MR. CONNELLY:      Yes.    The -- the memo

        9    that -- my understanding from her testimony is

      10     a memo that was going to go up to Secretary

      11     Kelly regarding Haiti and try to answer the

      12     various questions that are posed in the bullet

      13     point.

      14                  MR. MARUTOLLO:      To the -- and again,

      15     we'll reassert the deliberative process

      16     privilege to the extent question's whether you

      17     drafted a memo that went to Secretary Kelly

      18     related to TPS on -- at this time frame.

      19                  You can answer the question with

      20     that limitation.

      21                  THE WITNESS:     Yes.     We were asked to

      22     draft a memo reflecting the information in that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 171 of 463 PageID #:
                                     8605

                                                                         Page 171
        1    bullet point as one Haiti memo.

        2                 BY MR. CONNELLY:

        3         Q.      Okay.   And who -- who was it that

        4    asked you to generate that memo?

        5                 MR. MARUTOLLO:      And same objection.

        6                 But you can answer as to who made

        7    that request.

        8                 THE WITNESS:     I don't remember

        9    specifically who gave us the request.

      10                  BY MR. CONNELLY:

      11          Q.      Okay.   What -- what was your

      12     understanding of the -- of how the information

      13     regarding these questions about illegal preTPS

      14     designation Haitians and whether they had

      15     committed crimes, whether any Haitians were on

      16     public assistance or were out of work -- first

      17     of all, let me ask you.

      18                  Was it your understanding that all

      19     of those questions were -- were directed toward

      20     Haitians who were in the United States?

      21                  MR. MARUTOLLO:      Again, objection on

      22     deliberative process grounds.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 172 of 463 PageID #:
                                     8606

                                                                         Page 172
        1                 But you can answer the question.

        2                 THE WITNESS:     I'm sorry.        Can you

        3    repeat that.

        4                 BY MR. CONNELLY:

        5         Q.      Were all of the questions that --

        6    you know that were in Bullet Point 3 on -- on

        7    this KA-13, were those all questions focused on

        8    Haitians living in the United States?

        9                 MR. MARUTOLLO:      Objection.

      10                  But you can answer.

      11                  THE WITNESS:     I think questions 1

      12     through 3 are related to Haitian TPS

      13     beneficiaries.       4 is obviously talking about

      14     conditions in Haiti, not --

      15                  MR. CONNELLY:      Right.

      16                  THE WITNESS:     Yeah.

      17                  MR. CONNELLY:      Right.    No.    That's

      18     why I restricted it to the first 3.

      19                  THE WITNESS:     Okay.

      20                  BY MR. CONNELLY:

      21          Q.      Okay.    And when you say "TPS

      22     beneficiaries," you mean Haitians who have the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 173 of 463 PageID #:
                                     8607

                                                                         Page 173
        1    benefit of the TPS designation and are living

        2    in the United States?

        3         A.      I --

        4                 MR. MARUTOLLO:      Objection.

        5                 You can answer.

        6                 THE WITNESS:     I caveat the living in

        7    the United States part because some people

        8    could be Haitian TPS beneficiaries and not

        9    currently present in the United States, but

      10     they could still technically hold the status.

      11                  BY MR. CONNELLY:

      12          Q.      Okay.   Well, let's -- let me try it

      13     this way.

      14                  But -- but certainly Haitians who

      15     were not in Haiti, who were outside of Haiti.

      16                  MR. MARUTOLLO:      Objection.

      17                  You can answer, to the extent you

      18     know.

      19                  THE WITNESS:     Not necessarily.

      20                  MR. CONNELLY:      Oh, I could --

      21                  THE WITNESS:     A Haitian --

      22                  MR. CONNELLY:      Sure.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 174 of 463 PageID #:
                                     8608

                                                                         Page 174
        1                 THE WITNESS:     -- TPS beneficiary

        2    could be --

        3                 MR. CONNELLY:      He could decide to go

        4    --

        5                 THE WITNESS:     -- located in Haiti --

        6                 BY MR. CONNELLY:

        7         Q.      Yeah.   His wife is on the island,

        8    and he decides, I don't care; I'm going back.

        9    Yeah.     Okay.

      10                  But -- but -- but generally --

      11          A.      Haiti TPS beneficiaries.

      12          Q.      Yeah.   Okay.    And we -- I mean we're

      13     going to go through a slug of documents that I

      14     think, you know, proves this point beyond any

      15     debate.    But I'm just -- this is -- I'm trying

      16     to take you through it, you know,

      17     chronologically.       So I'm trying to under --

      18     have your understanding.

      19                  In as early-ish April of -- of 2017,

      20     you've been apparently asked to generate a memo

      21     and answer these questions.

      22                  And am I correct that you don't
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 175 of 463 PageID #:
                                     8609

                                                                         Page 175
        1    recall -- you -- you can't specifically recall

        2    who it was who asked you to get these questions

        3    answered?

        4         A.      Correct.

        5         Q.      Okay.   And had you been asked to --

        6    at any time, you know, prior to this Haiti

        7    situation in April of 2017, ever been -- ever

        8    generated a memo answering these kinds of

        9    questions?

      10                  MR. MARUTOLLO:      Objection.     Again, I

      11     think this goes beyond the document that's

      12     produced in which we're permitting questions

      13     on -- again, that question calls for internal

      14     government deliberations.         And I instruct the

      15     witness not to answer that question under the

      16     deliberative process privilege.

      17                  MR. CONNELLY:      Okay.

      18                  MR. MARUTOLLO:      To the extent it

      19     relates to this particular document, you know,

      20     an -- an -- an explanation of this particular

      21     document, KA-13, she can certainly answer that.

      22                  But -- and given the productions
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 176 of 463 PageID #:
                                     8610

                                                                         Page 176
        1    that have been made in this case, she can

        2    answer that.      But otherwise, we would instruct

        3    the witness not to answer that question under

        4    the deliberative process privilege.

        5                 BY MR. CONNELLY:

        6         Q.      I -- I think there's a window in

        7    there for you to answer the question, unless

        8    I'm wrong.     But your -- or no.

        9                 MR. MARUTOLLO:      I disagree.      Yeah.

      10                  MR. CONNELLY:      Okay.   No, no.

      11     That's fine.      I'm not -- I'm not trying to

      12     sneak one by you.       Let me -- I'll -- I'll

      13     change the question.

      14                  BY MR. CONNELLY:

      15          Q.      Is this the first time, to your best

      16     recollection, that you had been asked to

      17     generate a memo answering these questions?

      18                  MR. MARUTOLLO:      Again, I would -- I

      19     would raise the same objection and direct you

      20     not to answer.      That -- that's a

      21     deliberative -- the questions themselves are

      22     deliberative.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 177 of 463 PageID #:
                                     8611

                                                                          Page 177
        1                 And again, under the deliberative

        2    process privilege, we instruct the witness not

        3    to answer that question.

        4                 BY MR. CONNELLY:

        5         Q.      Had you ever generated a memo

        6    answering these types of questions prior to

        7    April of 2017?

        8                 I don't -- I don't care who asked

        9    you to do it.      I don't care why you did it.          I

      10     just want to know whether you ever had a memo

      11     answering these questions before.

      12                  MR. MARUTOLLO:      Again, make the same

      13     objection.     The questions themselves are

      14     deliberative.      So if the question posed by

      15     counsel is whether or not a memo was created

      16     about these particular questions prior to, you

      17     know, certain date, the date on this -- on this

      18     exhibit, I'd instruct the witness not to answer

      19     the question under the deliberative process

      20     privilege.

      21                  BY MR. CONNELLY:

      22          Q.      Did had ever tried to answer any of
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 178 of 463 PageID #:
                                     8612

                                                                         Page 178
        1    the questions posed in 1 through 3 on this memo

        2    other than on this occasion?

        3                  MR. MARUTOLLO:     Again, same

        4    objection.

        5                  Direct the witness not to answer.

        6                  BY MR. CONNELLY:

        7           Q.     Why don't you move ahead a little

        8    bit.      We're -- we'll keep the documents rolling

        9    in date order.

      10                  But ultimately did you generate a

      11     memo or be -- were you a part of a process in

      12     generating a memo?

      13                  MR. MARUTOLLO:      Objection.

      14                  You can answer.

      15                  THE WITNESS:     Yes.    I believe we

      16     did.

      17                  BY MR. CONNELLY:

      18          Q.      Were you -- was that a group

      19     authorship, or -- or were you the author of the

      20     memo?

      21          A.      I think that Brandon and I probably

      22     drafted the initial draft.         But of course
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 179 of 463 PageID #:
                                     8613

                                                                         Page 179
        1    various people had input into it after that.

        2         Q.      And did -- was the memo finalized

        3    and -- and moved up the ladder?

        4                 MR. MARUTOLLO:      Objection.

        5                 You can answer.

        6                 THE WITNESS:     I believe that a memo

        7    along these lines was, yes.

        8                 BY MR. CONNELLY:

        9         Q.      Do you know whether the -- let's

      10     assume that -- I mean let's assume that these

      11     questions were -- are answered or factual

      12     information could be gathered on these

      13     questions.

      14                  Do -- do any of these questions

      15     relate to current conditions in Haiti in April

      16     of 2017?

      17                  MR. MARUTOLLO:      Objection.     Again,

      18     assumes facts not in evidence and is vague.

      19     And I think may even call for a legal

      20     conclusion.     But -- and also that the witness

      21     is not a- - an expert, is -- and is a fact

      22     witness.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 180 of 463 PageID #:
                                     8614

                                                                         Page 180
        1                 With those limitations in mind, you

        2    can answer the question.

        3                 THE WITNESS:     I think that No. 4

        4    relates to current conditions in Haiti.

        5                 BY MR. CONNELLY:

        6         Q.      Okay.   But not any -- but not the --

        7    the first three?

        8         A.      No.

        9         Q.      I'm sorry.

      10                  To make -- to make a clean record,

      11     it is correct that none of the questions posed

      12     in 1, 2 and 3 in the center of this document

      13     relate to current conditions in Haiti, correct?

      14                  MR. MARUTOLLO:      Objection.

      15                  MR. CONNELLY:      I have my answer

      16     already.     But I just want to clarify.         I mean

      17     the no's could be ambiguous.          I just want to --

      18     I just want to get this down hard and for

      19     certain.

      20                  MR. MARUTOLLO:      Again, I -- I would

      21     still object.      I mean I still think it calls

      22     for legal conclusion and assumes facts that are
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 181 of 463 PageID #:
                                     8615

                                                                         Page 181
        1    not in evidence.

        2                 But you can answer the question.

        3                 THE WITNESS:     I do not understand

        4    question 1, 2 or 3 to relate to current

        5    conditions in Haiti.

        6                 MR. CONNELLY:      Okay.   I might be

        7    able to -- oh, we'll go to KA-14.           That might

        8    help your recollection.

        9                 (Deposition Exhibit KA-14 was marked

      10     for identification.)

      11                  BY MR. CONNELLY:

      12          Q.      I'm only interested in the first

      13     memo at 9:19 on April 7th.         But I'll wait for

      14     you to feel comfortable in reviewing it.

      15          A.      Okay.

      16          Q.      So directing you to the memo from

      17     Kathy Kovarik on April 7th at 9:19 a.m., would

      18     you remind me again, your best recollection,

      19     what was her position at that time?

      20          A.      Looking at the e-mail above it from

      21     --

      22          Q.      Uh-huh.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 182 of 463 PageID #:
                                     8616

                                                                         Page 182
        1         A.      -- Brandon on April 7th, it looks

        2    like he says:      "Our new OP&S chief, Kathy

        3    Nuebel Kovarik."       So I take that to be --

        4         Q.      Okay.

        5         A.      -- that, as of April 7, she was

        6    officially the --

        7         Q.      Okay.

        8         A.      -- OP&S chief.

        9         Q.      Thank you.     Okay.

      10                  And then she -- I mean it does --

      11     obviously it's relatively self-explanatory.

      12                  But for the record, she says -- I'll

      13     skip a -- a little bit of the prefatory --

      14     first few sentences.        But it says:     "Here's

      15     what I need:      'Details on how many TPS holders

      16     are on public and private relief.'"

      17                  Next bullet point:       "Any demographic

      18     data, including how many with TPS are

      19     school-aged kids."

      20                  The next point:      "How many have been

      21     convicted of crimes of any kind (any

      22     criminal/detainer statute confined)."
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 183 of 463 PageID #:
                                     8617

                                                                         Page 183
        1                 Next:   "How often they travel back

        2    and forth to the island."

        3                 And then the final bullet point is:

        4    "Remittances data."

        5                 Does that help you in -- in you

        6    recollecting who it was who asked you to try to

        7    gather this type of information?

        8                 MR. MARUTOLLO:      Objection.     And to

        9    the extent that the e-mail speaks for itself.

      10                  But -- and while not explaining any

      11     internal government communications, you can

      12     answer that question.

      13                  THE WITNESS:     I recall Kathy sending

      14     this e-mail requesting this information.             I

      15     don't necessarily know that that means she

      16     requested the information referenced in KA-13

      17     that we were talking about earlier.

      18                  BY MR. CONNELLY:

      19          Q.      Okay.   Do you have any -- a

      20     recollection of ever having anyone else request

      21     this information from you beyond Kathy?

      22                  MR. MARUTOLLO:      Objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 184 of 463 PageID #:
                                     8618

                                                                         Page 184
        1                 And just for clarification, you're

        2    referring to the information that's in KA-14?

        3                 MR. CONNELLY:      Yes.

        4                 MR. MARUTOLLO:      The memo?

        5                 MR. CONNELLY:      Yes.   KA-14.    Right.

        6                 MR. MARUTOLLO:      And again, without

        7    disclosing any internal government

        8    communications, and limited to explaining this

        9    e-mail, you can answer the question.

      10                  THE WITNESS:     I mean this was the

      11     direct request we got to look into this

      12     information.

      13                  BY MR. CONNELLY:

      14          Q.      Okay.   Did -- had you ever pulled

      15     this kind of information on any of the matters

      16     that you handled prior to April 7th of 2017?

      17                  MR. MARUTOLLO:      Again, I would

      18     object to the extent it calls for internal

      19     government deliberations.         And I -- I would

      20     instruct the witness not to answer that

      21     question.

      22                  BY MR. CONNELLY:
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                                     8619

                                                                         Page 185
        1         Q.      Could you tell me the reference to

        2    remittances, R-E-M-I-T-T-A-N-C-E-S, data, the

        3    last of the bullet points, what is that?

        4         A.      I understand that to mean

        5    information related to the money sent from

        6    usually Haitians living in the United States

        7    back to Haiti.

        8         Q.      Lastly on this document, at the very

        9    top of the page, there's an e-mail from

      10     Alexander King.

      11                  You see that?

      12          A.      Yes.

      13          Q.      I -- I don't recall -- we haven't

      14     talked about him, at least, previously.

      15                  Who is Mr. King?

      16          A.      He is in SCOPS, so service center

      17     operations.     And I believe at the time he was

      18     heading the division of SCOPS overseeing TPS

      19     adjudications.

      20                  MR. CONNELLY:      Next I'm going to

      21     give you KA-15, which is a enormously --

      22     about -- it's on the holder -- but a fairly
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 186 of 463 PageID #:
                                     8620

                                                                           Page 186
        1    lengthy e-mail chain, of which I don't have

        2    much interest in -- in most of the e-mail.              But

        3    you'll want to obviously look it all over for

        4    context.

        5                 (Deposition Exhibit KA-15 was marked

        6    for identification.)

        7                 THE WITNESS:     Okay.

        8                 MR. CONNELLY:      Okay.    Why don't --

        9    we'll do this document and I think the next

      10     one.   And then we'll -- if you'd like, we can

      11     break for lunch.

      12                  MR. MARUTOLLO:      Sure.

      13                  MR. CONNELLY:      I didn't realize, you

      14     know, that it was past the usual lunch hour.

      15                  BY MR. CONNELLY:

      16          Q.      All right.     So this is all on a --

      17     on a long e-mail chain.         And that's how it

      18     was -- it was provided to me.

      19                  And to your best -- I mean I haven't

      20     reviewed it.      This was all a back-and-forth

      21     within your agency, you know, as a -- as an

      22     ordinary part of the business of the agency.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 187 of 463 PageID #:
                                     8621

                                                                         Page 187
        1                 This is all just -- this is all a

        2    business document, in other words, correct?

        3         A.      Yes.

        4                 MR. MARUTOLLO:      Objection.

        5                 THE WITNESS:     Sorry.

        6                 MR. MARUTOLLO:      You can answer.

        7                 BY MR. CONNELLY:

        8         Q.      Okay.   Now -- well, now -- and then,

        9    if you go to the page that has the Bates No.

      10     3287.     It's -- it's the -- it's the second page

      11     of the document.       There's an e-mail from an

      12     April Padilla, P-A-D-I-L-L-A, on April 25th,

      13     2017 at 2:21 p.m. to you and others.

      14                  Do you see that?

      15          A.      I do.

      16          Q.      Okay.   And then Padillla's e-mail is

      17     -- it give -- it gives us that her position is

      18     unit chief fraud detection security and fraud

      19     office, service center headquarters, USCIS

      20     headquarters, correct?

      21          A.      Yes.

      22          Q.      Okay.   And I hadn't seen her name
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 188 of 463 PageID #:
                                     8622

                                                                         Page 188
        1    previously.

        2                 But so I -- my question to you is do

        3    you have -- I mean beyond this particular

        4    exchange, do you have -- ordinarily have

        5    communication and exchanges with April

        6    Padillla?

        7                 MR. MARUTOLLO:      Objection.

        8                 You can answer.

        9                 THE WITNESS:     She's not regularly

      10     involved in the TPS process.

      11                  BY MR. CONNELLY:

      12          Q.      Okay.   And at the -- the very -- the

      13     top e-mail, which is the one that I was most

      14     curious about, which is -- which is from Kathy

      15     Kovarik to you and many others, she notes --

      16     and I'll quote her -- the sentence:            "I do want

      17     to alert you, however, that the secretary" --

      18                  You take that to be a reference to

      19     Secretary Kelly?

      20          A.      I do.

      21          Q.      Okay -- "is going to be sending a

      22     request to us to be more responsive.            I know
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 189 of 463 PageID #:
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                                                                         Page 189
        1    that some of it is not captured, but we'll have

        2    to figure out a way to squeeze more data out of

        3    our systems."

        4                 What -- what was your understanding

        5    of that observation?

        6                 MR. MARUTOLLO:      Objection.

        7                 To the extent it calls for internal

        8    government deliberations, I instruct you not to

        9    answer the question under the deliberative

      10     process privilege.       Also calls for speculation.

      11                  I mean you can answer the question

      12     to the extent it's limited to what's in this

      13     e-mail.    But apart from that and the four

      14     corners of this document, I instruct you not to

      15     answer the question.

      16                  THE WITNESS:     My interpretation of

      17     that sentence is that Kathy was reporting that

      18     the secretary was not satisfied with the

      19     information that we had been able to gather in

      20     response to those requests, so we would have

      21     to, as she says, figure out a way to squeeze

      22     more data out of our systems.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 190 of 463 PageID #:
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                                                                         Page 190
        1                 BY MR. CONNELLY:

        2         Q.      I -- I take it that -- I mean you

        3    can only speak for itself.

        4                 But you had done, I assume, your

        5    level best to try to find responsive data

        6    already?

        7                 When -- when she sends this e-mail

        8    to you, you had already been about -- about the

        9    process and had been trying to gather data,

      10     correct?

      11          A.      Yes.

      12          Q.      Okay.   And was there any data, you

      13     know, that you had held back or not provided

      14     that you had been able to locate?

      15                  MR. MARUTOLLO:      Objection.     Again,

      16     to the extent it -- it calls for internal

      17     government deliberations, I would instruct the

      18     witness not to answer with respect to any draft

      19     information that you located and did not

      20     provide.

      21                  So I'd instruct the witness not to

      22     answer with that objection in mind.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 191 of 463 PageID #:
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                                                                         Page 191
        1                 But otherwise you can answer.

        2                 THE WITNESS:     No.    I believe we

        3    provided the -- the best and most accurate

        4    answers that we could come up with based on the

        5    information available.

        6                 BY MR. CONNELLY:

        7         Q.      Did you -- did you try to take any

        8    further steps based on Kathy's request?

        9                 Did -- did you -- I mean to use her

      10     phrasing, did you then -- okay.           Your superior

      11     is asking you to do something.

      12                  Did you try to squeeze more data out

      13     of the system based on her request?

      14                  MR. MARUTOLLO:      I'm going to direct

      15     the witness not to answer that question.             That

      16     calls for internal government deliberations

      17     about information that may or may not have been

      18     done.     It goes beyond the four corners of this

      19     document that we produced.

      20                  So I'd instruct the witness not to

      21     answer that question under the deliberative

      22     process privilege.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 192 of 463 PageID #:
                                     8626

                                                                         Page 192
        1                 BY MR. CONNELLY:

        2         Q.      Did you provide -- after April 27th

        3    at 10 -- 10:08 a.m., did you provide any more

        4    data beyond what you had already provided up to

        5    that point?

        6                 MR. MARUTOLLO:      Objection.

        7                 But you can answer.

        8                 THE WITNESS:     I don't recall, off

        9    the top of my head, what we did following this

      10     e-mail, no.

      11                  BY MR. CONNELLY:

      12          Q.      Or if you're -- again, I -- only

      13     your best recollection.

      14                  Do you have a -- do you have -- is

      15     your best recollection that you did? you might

      16     have? you didn't?

      17                  What -- what's your best

      18     recollection as you sit here?

      19                  MR. MARUTOLLO:      Objection.     Vague.

      20     And it -- the witness asked and answered the

      21     question.

      22                  You can answer it again.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 193 of 463 PageID #:
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                                                                         Page 193
        1                 THE WITNESS:     I just don't recall

        2    our next step.

        3                 MR. CONNELLY:      Lastly, before we

        4    take a break, let's go to KA-16.

        5                 (Deposition Exhibit KA-16 was marked

        6    for identification.)

        7                 THE WITNESS:     Okay.

        8                 BY MR. CONNELLY:

        9           Q.    Okay.   Who is Leroy Potts,

      10     P-O-T-T-S?

      11          A.      He is chief of the research unit

      12     within RAIO.

      13          Q.      Do you have a -- how longstanding a

      14     relationship do you have with him?

      15          A.      I --

      16                  MR. MARUTOLLO:      Objection.

      17                  You can answer.

      18                  THE WITNESS:     Sure.

      19                  I think I've known him since about

      20     when I started at headquarters in Washington,

      21     D.C.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 194 of 463 PageID #:
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                                                                         Page 194
        1         Q.      Okay.   Is it a fair characterization

        2    that he's asking you, in his memo to you -- or

        3    his e-mail to you, he'd like to know a little

        4    bit more about, you know, what's being decided

        5    on the Haiti TPS situation and -- and the

        6    decision perhaps that the TPS status might be

        7    terminated?

        8                 MR. MARUTOLLO:      Objection.     Again,

        9    to the extent it calls for internal government

      10     deliberations, the -- the witness, Ms.

      11     Anderson, can explain the document.            And the

      12     document certainly speaks for itself.

      13                  But I'd instruct her not to provide

      14     any testimony about how Mr. Potts or what --

      15     what he is saying or -- or how he's

      16     interpreting any TPS designation.

      17                  So again, under the deliberative

      18     process and with that objection in mind, you

      19     can answer the question.

      20                  THE WITNESS:     I took Roy's message

      21     to mean that he was asking me for more insight

      22     and background on what was going on with the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 195 of 463 PageID #:
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                                                                         Page 195
        1    TPS decision making process that I was privy to

        2    that he wasn't.

        3                 BY MR. CONNELLY:

        4           Q.    Okay.   And then perhaps, as you

        5    might expect, when we go to your -- your answer

        6    to Mr. Potts, you say:        "The short answer is

        7    that the decision was a political one by the

        8    FO" --

        9                 FO being front office?

      10          A.      The USCIS front office.

      11          Q.      Yeah -- "and S1's advisors."

      12                  That would be Secretary Kelly's

      13     advisors?

      14          A.      Yes.

      15          Q.      Okay.   And what did you mean by your

      16     conclusion that the decision was a political

      17     one?

      18                  MR. MARUTOLLO:      Objection.     Again,

      19     first I -- that although it is an accurate

      20     recitation of that phrase within a larger

      21     sentence in a larger paragraph, I'd object on

      22     vagueness grounds.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 196 of 463 PageID #:
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                                                                         Page 196
        1                 But also, again, to the extent it

        2    calls for internal government deliberations, I

        3    would instruct the witness not to answer under

        4    the deliberative process privilege.

        5                 You can explain the document but not

        6    any interpretation of what the front office or

        7    what the secretary or the secretary's advisors

        8    were doing.

        9                 MR. CONNELLY:      I think that's way

      10     too broad.     But you've said -- you know, as

      11     long as she restrict herself from those --

      12     those qualifiers, she can answer.

      13                  So let's -- let's see what the

      14     answer is.

      15                  THE WITNESS:     I think I meant to

      16     indicate to Roy that the -- the decision was

      17     made by political leadership.

      18                  BY MR. CONNELLY:

      19          Q.      As opposed to what?

      20                  The -- ordinarily decisions --

      21     that -- that wouldn't be true for prior

      22     decisions on -- on designations and
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 197 of 463 PageID #:
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                                                                         Page 197
        1    terminations?

        2                 MR. MARUTOLLO:      Objection.     Again,

        3    to the -- first, to the extent that it goes

        4    beyond this witness's knowledge of prior

        5    designations; and second, based on the fact

        6    that she's a fact witness, not an expert

        7    witness; and third, to the extent it calls for

        8    internal government deliberations about how

        9    prior or other decisions were made relating to

      10     TPS, I'd instruct the witness not to answer.

      11                  But with those limitations in mind,

      12     you can -- I would instruct you could answer.

      13                  THE WITNESS:     My intention was to

      14     indicate that it was made by political

      15     leadership, in line, I would add, with

      16     political priorities.

      17                  BY MR. CONNELLY:

      18          Q.      Okay.   But I think --

      19                  MR. CONNELLY:      Could you read back

      20     -- read back my earlier question before the

      21     objection, my previous question.

      22                  (Discussion off the stenographic
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 198 of 463 PageID #:
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                                                                          Page 198
        1    record.)

        2                 (The record was read as requested.)

        3                 MR. CONNELLY:      And I'm going to --

        4    I'm going to have the record reflect you nodded

        5    in agreement, but there was an objection.             So I

        6    just want to now get the record, you know,

        7    clarified.

        8                 BY MR. CONNELLY:

        9         Q.      Do you -- do you need that -- would

      10     you like to hear that question again, or was it

      11     -- I mean do you want me to rework the

      12     question?

      13                  MR. MARUTOLLO:      And I would just

      14     object again.      I mean to the extent there was

      15     -- I didn't see if there were nodding or not.

      16                  But I would instruct the witness

      17     only to answer with my limitation in mind.

      18                  But if you want to ask the question

      19     again or have it based off of -- of the

      20     rereading that the -- the court reporter just

      21     provided, that's fine too.

      22                  THE WITNESS:     I need the question
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 199 of 463 PageID #:
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                                                                         Page 199
        1    again, please.

        2                 MR. CONNELLY:      Okay.   Do you want --

        3    do you want me -- should we just have her

        4    reread it?

        5                 THE WITNESS:     That's fine.

        6                 MR. CONNELLY:      Okay.

        7                 (The record was read as requested.)

        8                 MR. MARUTOLLO:      Again, with the same

        9    objection in mind, you -- that I spoke of a

      10     moment ago, you can answer that question.

      11                  THE WITNESS:     TPS decisions are

      12     normally made by political leadership.

      13                  BY MR. CONNELLY:

      14          Q.      Are normally made by political

      15     leadership.

      16                  But are the decisions themselves

      17     normally political decisions?

      18                  MR. MARUTOLLO:      Objection.     Asked

      19     and answered already.

      20                  But you can answer it again.

      21                  THE WITNESS:     My sense is that TPS

      22     decisions are not always as impacted by
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 200 of 463 PageID #:
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                                                                         Page 200
        1    political priorities as this one was.

        2                 MR. CONNELLY:      Okay.    We can break

        3    for lunch.

        4                 MR. MARUTOLLO:      We agree.

        5                 MR. CONNELLY:      Whatever you guys may

        6    need.

        7                 MR. MARUTOLLO:      Okay.

        8                 THE VIDEOGRAPHER:       We're going off

        9    the record.

      10                  The time is 13:22.

      11                  (A short recess was taken.)

      12                  THE VIDEOGRAPHER:       Going back on the

      13     record.

      14                  The time is 14:12.

      15                  MR. CONNELLY:      This is going to be

      16     KA-18.

      17                  I used the lunch break to winnow

      18     down some things.       So there's going to be some

      19     gaps in the numbering.

      20                  MR. MARUTOLLO:      Sure.    That's fine.

      21                  MR. CONNELLY:      So you understand it.

      22     Yeah.
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                                     8635

                                                                         Page 201
        1                 (Deposition Exhibit KA-18 was marked

        2    for identification.)

        3                 MR. MARUTOLLO:      Thank you.

        4                 THE WITNESS:     Thank you.

        5                 BY MR. CONNELLY:

        6         Q.      Okay?

        7         A.      Okay.

        8         Q.      All right.     And this appears -- it's

        9    an e-mail chain.       And it appears that the

      10     New York Times had an editorial on the Haiti

      11     TPS circumstance apparently on -- on or about

      12     April 30th of 2017, correct?

      13          A.      Yes.

      14          Q.      And if you look in the -- in the

      15     New York Times article, which is included, it

      16     references that there's apparently a -- some

      17     type of a writing or a memo from the acting

      18     head of CIS, James McCament, M-c-C-A-M-E-N-T,

      19     to the then secretary of the Department of

      20     Homeland Security, Mr. Kelly, correct?

      21          A.      Where are you looking?

      22          Q.      Right in the -- I'm sorry.         Right in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 202 of 463 PageID #:
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                                                                         Page 202
        1    the middle of the New York Times article under

        2    the photo.

        3         A.      The paragraph that begins "That is a

        4    reasonable conclusion"?

        5         Q.      Correct.

        6         A.      Oh.

        7         Q.      Yeah?

        8         A.      Let me look at that.

        9                 I see.     Okay.

      10          Q.      And then it -- and later -- then it

      11     -- there's a quote, presumably from the memo.

      12     And then there -- the next paragraph it -- it

      13     refers to this writing as Mr. McCament's memo.

      14     Okay?

      15          A.      Two paragraphs down?

      16          Q.      Correct.

      17          A.      Okay.

      18          Q.      Okay.    Did you -- are -- are you

      19     familiar with the McCament memo to then

      20     Secretary Kelly?

      21                  MR. MARUTOLLO:      Objection.     Again,

      22     to the extent it calls for internal government
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 203 of 463 PageID #:
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                                                                         Page 203
        1    deliberations, I'd ask you not to answer under

        2    the deliberative process privilege.

        3                 But you can answer whether or -- or

        4    not you are aware that there was such a memo.

        5                 THE WITNESS:     I've aware that there

        6    was a memo.

        7                 BY MR. CONNELLY:

        8         Q.      Did you have any part in its

        9    drafting?

      10                  MR. MARUTOLLO:      Same objection.

      11                  But you can answer.

      12                  THE WITNESS:     I believe it's

      13     referencing the recommendation memo from the

      14     director of the USCIS to the secretary of

      15     Homeland Security that I did have a role in

      16     drafting in its initial phases.

      17                  BY MR. CONNELLY:

      18          Q.      As opposed to the final -- the final

      19     memo?

      20                  Did you have -- did you have a role

      21     at all in the -- in the finalized memo?

      22                  MR. MARUTOLLO:      Again, objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 204 of 463 PageID #:
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                                                                         Page 204
        1    To the extent it calls for internal government

        2    deliberations, I would instruct the wit -- Ms.

        3    Anderson not to answer under the deliberative

        4    process privilege.

        5                 To the extent you created any

        6    document in connection with this question, you

        7    can answer the question.

        8                 THE WITNESS:     I worked to create the

        9    original document.

      10                  BY MR. CONNELLY:

      11          Q.      Okay.   And I'm -- and I -- I'm just

      12     drawing a distinction.        Maybe I'm making too

      13     much of you saying that you worked on, you

      14     know, the original draft.

      15                  It looks like the New York Times

      16     obtained a memo that actually went from

      17     McCament to Flynn.       So that's no longer a

      18     draft.    That's the McCament memo.         Okay?

      19          A.      The memo that went from Mr. McCament

      20     to Secretary Kelly?

      21          Q.      Yes.

      22          A.      I have seen that memo.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 205 of 463 PageID #:
                                     8639

                                                                         Page 205
        1         Q.      Yeah.

        2         A.      Yes.

        3         Q.      And was that memo different from

        4    your draft memo?

        5                 MR. MARUTOLLO:      Objection.

        6                 Again, I'll direct you not to answer

        7    this question under the deliberative process

        8    privilege because it calls for internal

        9    government deliberations.

      10                  She can answer questions related to

      11     this e-mail and -- you know, and that's it.

      12     But otherwise we would object under

      13     deliberative process privilege and direct her

      14     not to answer.

      15                  MR. CONNELLY:      Not to answer?

      16                  I -- you're probably going to come

      17     back here.     I -- I hate to tell you that.          But

      18     we're -- we -- we're, you know, obviously at

      19     loggerheads on a lot of things.           And I suspect

      20     there's going to be a lot more.           And only the

      21     judge is going to sort this out.

      22                  So there's -- there's nothing more
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 206 of 463 PageID #:
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                                                                         Page 206
        1    to be done.     And you shouldn't answer over --

        2    you know if you're going to follow your

        3    attorney's objection.

        4                 MR. MARUTOLLO:      I would note, as

        5    discussed previously with plaintiff's counsel,

        6    I mean we're willing and there's already been a

        7    letter an order.       My understanding today that

        8    the judge is available to deal with any issues.

        9                 So we're not going to be producing

      10     Ms. Anderson again.       We're happy to go to the

      11     Court, if necessary.        But we're make --

      12     maintaining our objection, maintaining a

      13     record.

      14                  BY MR. CONNELLY:

      15          Q.      All right.     And so see if I've got

      16     this right.

      17                  You have a recollection that you

      18     were involved in the drafting of a -- a memo

      19     that ultimately resulted in McCament sending a

      20     memo to Secretary Kelly.

      21          A.      Yes.

      22          Q.      Okay.   And I'm trying to probe --
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 207 of 463 PageID #:
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                                                                         Page 207
        1                 MR. MARUTOLLO:      Excuse me for just

        2    one moment.

        3                 MR. CONNELLY:      Sure.

        4                 MR. MARUTOLLO:      Let me just go off

        5    the record for a minute --

        6                 MR. CONNELLY:      Oh.

        7                 MR. MARUTOLLO:      -- just to --

        8                 MR. CONNELLY:      Sure.

        9                 THE VIDEOGRAPHER:        Just one second.

      10                  MR. CONNELLY:      Oh.

      11                  THE VIDEOGRAPHER:        Going off the

      12     record.

      13                  (A short recess was taken.)

      14                  THE VIDEOGRAPHER:        Going back on the

      15     record.

      16                  The time is 14:19.

      17                  BY MR. CONNELLY:

      18          Q.      And I take it you have in mind --

      19     you have in mind the -- the actual memo that

      20     went between McCament and Kelly?

      21                  MR. MARUTOLLO:      Objection.     It calls

      22     for speculation.       And also we assert the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 208 of 463 PageID #:
                                     8642

                                                                         Page 208
        1    deliberative process privilege.

        2                 But you can answer the question.

        3                 THE WITNESS:     What do you mean I

        4    have in mind?

        5                 BY MR. CONNELLY:

        6         Q.      Do you have a recollection of that

        7    memo that actually went from McCament to Kelly?

        8         A.      I've seen it, yes.

        9         Q.      Okay.    Good.

      10                  Here's my question:       I want you to,

      11     in your own mind, compare whatever draft you

      12     provided with that final memo that went and

      13     tell me whether, you know, in essential

      14     substance, the final memo was pretty much the

      15     same or different than your draft.

      16                  I don't want to know what anybody

      17     said to you.      I don't want to know what you

      18     said to anyone else.        I don't care how it came

      19     about.

      20                  I just want the comparison between

      21     two documents.       And you tell me whether they're

      22     basically the same or if they're different.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 209 of 463 PageID #:
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                                                                         Page 209
        1                 MR. MARUTOLLO:      Again, I would

        2    object.    And I appreciate the distinction that

        3    counsel is drawing.       But that still calls for

        4    internal government deliberations because it

        5    goes to the substance of draft materials.

        6                 And I'd instruct the witness,

        7    Ms. Anderson, not to answer that question.

        8                 BY MR. CONNELLY:

        9         Q.      If you go to the first page of this

      10     document, the -- it -- you have an e-mail to

      11     Mr. Prelogar on April 30th at 8:46 p.m.

      12                  Do you see that?

      13          A.      I do.

      14          Q.      You say:    "I especially appreciated

      15     that they noted the memo."

      16                  And do I correctly understand that

      17     your -- your reference here to "the memo" is

      18     the -- is the memo in the New York Times

      19     between -- the final memo that was sent between

      20     Mr. McCament sent to -- from Mr. McCament to

      21     then Secretary Kelly?

      22          A.      That's the memo I'm referring to.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 210 of 463 PageID #:
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                                                                         Page 210
        1         Q.      Okay.   Okay.    And you go on to say

        2    that:     "The memo did cite a bunch of horrible

        3    conditions, but then somehow it reached the

        4    wrong conclusion."

        5                 Now, to be -- let me be fair about

        6    this.

        7                 It appears that you're saying you

        8    appreciated that at the New York Times noted

        9    that the memo cited a bunch of horrible

      10     conditions but then somehow reached the wrong

      11     conclusion.

      12                  And if you go back to the New York

      13     Times article, you'll see that just above the

      14     bottom of Page 6081, the New York Times

      15     editorial says:      "And yet it reached the wrong

      16     conclusion."

      17                  Okay?

      18                  MR. MARUTOLLO:      Again, I would

      19     object on the grounds that I think it's a

      20     compound question.       And also to the extent that

      21     the document speaks for itself.           But -- and --

      22     and on the deliberative process grounds as
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 211 of 463 PageID #:
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                                                                         Page 211
        1    well.

        2                 But you can answer the question.

        3                 MR. CONNELLY:      Yeah.

        4                 THE WITNESS:     I see the statement in

        5    the article "and yet it reached the wrong

        6    conclusion."

        7                 MR. CONNELLY:      Yeah.   Okay.

        8                 THE WITNESS:     But what is the

        9    question?

      10                  BY MR. CONNELLY:

      11          Q.      Well, actually --

      12          A.      Okay.

      13          Q.      Without going back to law school,

      14     this is one of those unusual times when this

      15     document really doesn't speak for itself.             But

      16     -- and -- and -- and I don't want to blow one

      17     by you on what you had to say in your e-mail.

      18                  So here is -- here is the question:

      19     When you write and talk about the memo did cite

      20     a bunch of horrible conditions, would you agree

      21     that the memo does cite a bunch of horrible

      22     conditions?
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                                                                           Page 212
        1                 MR. MARUTOLLO:      Objection.

        2                 First, just for clarification, are

        3    you referring to the memo that's in the

        4    New York Times -- that's referenced in the

        5    New York Times article?

        6                 MR. CONNELLY:      Yes.   Yes.    Yes.

        7                 MR. MARUTOLLO:      You can answer that

        8    question, to the extent you know.

        9                 THE WITNESS:     My statement that the

      10     -- the -- "they noted the memo did cite a bunch

      11     of horrible conditions" was referring primarily

      12     to this sentence in the article that says:              "In

      13     fairness, Mr. McCament's memo does acknowledge

      14     many of the other afflictions," and then lists

      15     a bunch of negative conditions in Haiti.

      16                  BY MR. CONNELLY:

      17          Q.      Yeah.

      18                  And then -- but then you go on to

      19     say -- and it's a compound sentence, so I'll

      20     just, you know, shrink it too.

      21                  But you -- you essentially say the

      22     memo -- that the New York Times article says
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 213 of 463 PageID #:
                                     8647

                                                                         Page 213
        1    that the memo somehow reached the wrong

        2    conclusion.

        3                 Is that -- is that what you were try

        4    -- is that what you were trying to convey in

        5    your e-mail?

        6                 MR. MARUTOLLO:      Objection.     Again, I

        7    think the e-mail speaks for itself.

        8                 And to the extent this calls for

        9    internal government deliberations, I instruct

      10     you not to answer.

      11                  But you can, you know, provide an

      12     explanation of what you wrote in your e-mail

      13     limited to this e-mail, this document.

      14                  THE WITNESS:     I was -- excuse me --

      15     highlighting that the New York Times article

      16     highlighted the fact that McCament's memo had,

      17     you know, cited all of these conditions that I

      18     just referred to and then noted in the

      19     following sentence "and yet it reached the

      20     wrong conclusion."

      21                  BY MR. CONNELLY:

      22          Q.      Yeah.   The memo.
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                                     8648

                                                                         Page 214
        1                 So my -- my -- my simple question to

        2    you -- and again, I wanted to be completely

        3    transparent about this.         I didn't want you to,

        4    you know, not appreciate, you know, what was in

        5    the New York article.

        6                 When you referenced that the memo

        7    somehow reached the wrong conclusion, were you

        8    referencing that's what the New York Times

        9    concluded, or was that your own conclusion,

      10     that -- that the memo reached the wrong

      11     conclusion?

      12                  MR. MARUTOLLO:      Objection.

      13                  Again, to the extent that calls for

      14     an internal government deliberation, in turn --

      15     including your own interpretation of the memo,

      16     I would instruct you not to answer.            But

      17     otherwise, you can answer the question.

      18                  THE WITNESS:     My e-mail is noting

      19     that the New York Times stated that the memo

      20     reached the wrong conclusion.          I was stating

      21     that I appreciated the statement by the

      22     New York Times.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 215 of 463 PageID #:
                                     8649

                                                                         Page 215
        1                 MR. CONNELLY:      Okay.   Let's now go

        2    to 20 -- KA-21.

        3                 (Deposition Exhibit KA-21 was marked

        4    for identification.)

        5                 BY MR. CONNELLY:

        6         Q.      This is a relatively long e-mail

        7    chain.    I'm only going to be asking you

        8    questions about the final two memos which are

        9    contained on the first page of this long chain.

      10          A.      Okay.

      11          Q.      Okay.   On the first page of this

      12     memo, there is a May 1st e-mail from LeRoy

      13     Potts at 4:30 p.m. to you and others, bullet

      14     pointing what he describes as difficult

      15     conditions in Haiti.

      16                  Do you see that?

      17          A.      Yes.

      18          Q.      Okay.   To your knowledge, were the

      19     factual observations made by Potts accurate?

      20                  MR. MARUTOLLO:      Objection.     Again,

      21     to the extent it calls for internal government

      22     deliberations, I instruct you not to answer
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 216 of 463 PageID #:
                                     8650

                                                                         Page 216
        1    under the deliberative process privilege, but

        2    you can answer within the four corners of this

        3    document.

        4                 THE WITNESS:     I mean, I can't speak

        5    to the accuracy of the information in these

        6    bullet points, that is the research unit's

        7    expertise.     I treated them as accurate in my

        8    work.

        9                 BY MR. CONNELLY:

      10          Q.      Okay.   And then the last memo, which

      11     is the top memo, appears to go from Brandon

      12     Prelogar to you on May 8 of 2017, but his, you

      13     know, the top line of his memo is Roy/Tom.

      14                  Is it safe to assume that Roy was

      15     probably LeRoy Potts?

      16          A.      Yes.

      17          Q.      Who would Tom be?

      18          A.      Tom Perkowski.

      19          Q.      Who was he?

      20          A.      He worked for Roy in the research

      21     unit.

      22          Q.      Okay.   And this is -- I get to ask
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 217 of 463 PageID #:
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                                                                         Page 217
        1    the questions, but some of them are more -- may

        2    be more difficult to answer than others.

        3                 Do you have an understanding if the

        4    -- if Brandon is addressing Roy and Tom, but it

        5    appears that the memo only goes to you, are you

        6    able to puzzle through that or do you have some

        7    understanding of that?

        8                 MR. MARUTOLLO:      Objection.     Calls

        9    for speculation, but you can answer.

      10                  THE WITNESS:     I don't remember

      11     regarding this specific e-mail, but Brandon and

      12     I have a general practice sometimes of sending

      13     a draft e-mail to each other before we send it

      14     to the final recipient, to see if the other

      15     person has any thoughts or edits.

      16                  BY MR. CONNELLY:

      17          Q.      Okay.   Are you guys basically -- are

      18     kind of co-equals in the organization at least

      19     at this time, you and Brandon?

      20          A.      He was the chief of the division, I

      21     was deputy chief of the division, but we led it

      22     together essentially.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 218 of 463 PageID #:
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                                                                         Page 218
        1         Q.      Okay.   And according to Brandon's

        2    e-mail, you have been asked to gather up

        3    certain information and then he itemizes them

        4    as numerically 1, 2, 3 in his e-mail.

        5                 Do you see that?

        6         A.      Yes.

        7                 MR. MARUTOLLO:      Objection.

        8                 BY MR. CONNELLY:

        9         Q.      When I said you, I guess let's be

      10     more specific.

      11                  Were you personally asked to be a

      12     part of this or who is being asked to gather

      13     this information?

      14                  MR. MARUTOLLO:      Objection.

      15                  Without divulging any government

      16     deliberations, you can answer that question.

      17                  THE WITNESS:     I think we, Brandon

      18     and I were going to be asking Roy and Tom for

      19     the research unit to be gathering this

      20     information.

      21                  BY MR. CONNELLY:

      22          Q.      And it was Kathy -- help me out with
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 219 of 463 PageID #:
                                     8653

                                                                         Page 219
        1    the last name.       I don't have it in front of me.

        2    Nuebel Kovarik who asked you to do this?

        3         A.      I believe the reference in the first

        4    sentence of Brandon's e-mail, Kathy, refers to

        5    Kathy Nuebel Kovarik.

        6         Q.      Okay.    That's fine.     And what was

        7    your understanding of the purpose of gathering

        8    this information?

        9                 MR. MARUTOLLO:      Objection.     I'm

      10     going to direct the witness not to answer that

      11     question.     Again, that relates to deliberative

      12     process privilege and, you know, I think that

      13     goes beyond just the mere general subject

      14     matter of the communication that would be

      15     permitted, if we were to put a privilege log in

      16     place here, so when we produce the documents, I

      17     think you can answer questions related to the

      18     document, but the question as raised, we would

      19     object.

      20                  BY MR. CONNELLY:

      21          Q.      Do you have a recollection of

      22     whether -- in what portion of, you know, a memo
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 220 of 463 PageID #:
                                     8654

                                                                         Page 220
        1    for extension or termination, this type of

        2    information would be used.

        3                 Was that the purpose of gathering

        4    it, so that ultimately, it might be

        5    incorporated into some memo exploring either

        6    designation or termination or extension?

        7                 MR. MARUTOLLO:      Objection.     Vague.

        8                 And also again, to the extent it

        9    calls for internal government deliberations, I

      10     instruct you not to answer the question.             It

      11     also calls for speculation, as you didn't draft

      12     this e-mail, but you can answer to the extent

      13     you can base that answer on this document that

      14     is in front of you.

      15                  THE WITNESS:     Looking at this

      16     e-mail, it looks like this information was

      17     being requested by DHS headquarters in order to

      18     feed into the Haiti TPS decision memo, which is

      19     the memo we have been talking about from the

      20     director of USCIS to the secretary.

      21                  MR. CONNELLY:      Let's go to KA-22.

      22                  (Deposition Exhibit KA-22 was marked
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 221 of 463 PageID #:
                                     8655

                                                                         Page 221
        1    for identification.)

        2                  THE WITNESS:    Okay.

        3                  BY MR. CONNELLY:

        4         Q.       Okay.   I am interested in your final

        5    memo on May 12 at 3:38 p.m., which is at the

        6    top.      It is obviously part of the chain.

        7                  Am I correct that the context is

        8    that your group has been asked to review some

        9    materials for the head of Homeland Security's

      10     upcoming meeting with the Haitian foreign

      11     minister?

      12                  MR. MARUTOLLO:      Objection, to the

      13     extent the document speaks for itself, but you

      14     can answer limited to the document.

      15                  THE WITNESS:     Yes.    It looks like

      16     this is asking for our review of the materials

      17     that had been drafted for that meeting.

      18                  BY MR. CONNELLY:

      19          Q.      Do you have a recollection of

      20     reviewing that sum of materials?

      21          A.      I believe that I did review the

      22     materials based on this e-mail, but I certainly
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 222 of 463 PageID #:
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                                                                         Page 222
        1    don't recall the details of those materials.

        2          Q.     And your observation in your e-mail

        3    is:    "The explanation of the current

        4    situation/conditions in Haiti in the BM is

        5    amazing.     I love it."

        6                 Correct?

        7          A.     Yes.

        8          Q.     When you say, "the explanation,"

        9    what does that mean?        Is that a reference to

      10     the materials or -- or what document are you

      11     referring to?

      12                  MR. MARUTOLLO:      Objection.     Again to

      13     the extent it calls for internal government

      14     deliberations, I instruct you not to answer

      15     under the deliberative process privilege.

      16                  You can answer -- your explanation

      17     in this document but I instruct you not to

      18     answer to the extent it's related to how you

      19     interpreted something or how others interpreted

      20     something.     You can answer with those

      21     limitations.

      22                  THE WITNESS:     I think I was
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 223 of 463 PageID #:
                                     8657

                                                                         Page 223
        1    referring to something that must have been

        2    included in the briefing memo that I reviewed,

        3    that explained the current situation and

        4    conditions in Haiti.

        5                 BY MR. CONNELLY:

        6         Q.      What is the acronym BM?

        7         A.      Briefing memo.

        8         Q.      So I'm going to reword your

        9    observation and that will be:          "The explanation

      10     of the current situation/conditions in Haiti in

      11     the briefing memo is amazing."

      12                  And is the briefing memo, is that

      13     the document that you received from who?             Who

      14     generated the briefing memo?          I don't care what

      15     is in it.     I am just trying to understand who

      16     is the author of the document.

      17          A.      Looking at the e-mail chain in the

      18     initial e-mail from 3:30, when it says:             "DHS

      19     policy has requested USCIS review materials for

      20     the meeting," I take that to mean that most

      21     likely, DHS policy was the originator of those

      22     materials.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 224 of 463 PageID #:
                                     8658

                                                                         Page 224
        1         Q.      Have you in the past -- beyond this

        2    particular circumstance, have you been asked in

        3    the past to review a briefing memo generated by

        4    DHS policy?

        5                 MR. MARUTOLLO:      Again, I would

        6    instruct the witness not to answer to the

        7    extent it calls for any internal government

        8    deliberation.        If it doesn't, you can answer

        9    the question.

      10                  THE WITNESS:     Yes, it is very common

      11     practice.

      12                  BY MR. CONNELLY:

      13          Q.      Okay.    And when you indicate that

      14     the briefing memo or at least the explanation

      15     of the current conditions is amazing, do you

      16     recall, you know, whether you were using, you

      17     know, either sarcasm, irony, valley girl talk,

      18     whatever, you know, I mean amazing gets used

      19     quite a bit, most overused words at weddings

      20     that I can recall, what was your -- what were

      21     you conveying by using that term?

      22                  MR. MARUTOLLO:      Again, I would
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 225 of 463 PageID #:
                                     8659

                                                                         Page 225
        1    object on deliberative process grounds and

        2    object to vagueness as well.            You can certainly

        3    explain but not how others interpreted it, what

        4    is written in this e-mail.

        5                 THE WITNESS:     My best recollection

        6    of what I meant is -- by amazing, is that I

        7    found the explanation of conditions in the

        8    briefing memo to be surprising to me.

        9                 BY MR. CONNELLY:

      10          Q.      And then you say, "I love it."

      11                  Again, just your explanation of what

      12     you meant to convey by that, that you genuinely

      13     agreed or were you speaking sarcastically,

      14     ironically, or in some fashion other than just

      15     a declarative statement?

      16                  MR. MARUTOLLO:      Objection.

      17                  You can answer.

      18                  THE WITNESS:     I was speaking

      19     sarcastically.

      20                  MR. CONNELLY:      Okay.    I will go to

      21     KA-23, which is 1564.

      22                  (Deposition Exhibit KA-23 was marked
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 226 of 463 PageID #:
                                     8660

                                                                         Page 226
        1    for identification.)

        2                 THE WITNESS:     Okay.

        3                 BY MR. CONNELLY:

        4         Q.      Your memo on May 15 at 12:40 p.m.,

        5    you start off by saying:         "We finished our

        6    review and inserted our edits/comments into the

        7    documents."

        8                 What documents?      I just need a

        9    better -- I would like a more specific

      10     description of what the documents were.

      11          A.      I think they were communications

      12     documents relating to Haiti TPS and my best

      13     guess is that they were the documents

      14     hyperlinked in the May 15, 9:50 e-mail in this

      15     chain.

      16          Q.      And you go on to say:        "The majority

      17     of our changes are to make clear that the

      18     decision is to terminate Haiti's designation."

      19                  Am I correct that as of the middle

      20     of May in 2017, in that time frame, you thought

      21     that the decision was that Haiti's status as a

      22     TPS entity was going to be terminated, correct?
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                                                                         Page 227
        1                 MR. MARUTOLLO:      Objection.     Again, I

        2    would direct you not to answer that question to

        3    the extent it goes to your own personal views

        4    or personal thoughts.        I would instruct you not

        5    to answer that question under the deliberative

        6    process privilege as to that question as

        7    phrased.

        8                 MR. CONNELLY:      You're not going to

        9    let her answer that question at all?

      10                  MR. MARUTOLLO:      No, I mean, the way

      11     it's phrased --

      12                  MR. CONNELLY:      Okay, okay.     All

      13     right.    Let me see if I can rework it.

      14                  BY MR. CONNELLY:

      15          Q.      What was your -- what was your

      16     understanding in terms of the work that you

      17     were generating in the middle of May of 2017,

      18     what was the decision going to be as far as

      19     continuing or terminating Haiti's TPS

      20     designation?

      21                  MR. MARUTOLLO:      Again, I would

      22     direct the witness not to answer, that calls
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 228 of 463 PageID #:
                                     8662

                                                                         Page 228
        1    for internal government deliberations.             To the

        2    extent then under the deliberative process

        3    privilege, to the extent the question is to

        4    explain something within this e-mail, KA-23,

        5    you know, we will allow her to answer the

        6    question along those lines with certain

        7    objections, but a blanket question about her

        8    thoughts of where the decision was at a certain

        9    point is clearly predecisional, clearly

      10     deliberative, and we would instruct

      11     Ms. Anderson not to answer.

      12                  MR. CONNELLY:      So you're not going

      13     to let her answer that question at all?             I

      14     thought -- you put a qualifier in there, but

      15     you went on for a little bit.

      16                  MR. MARUTOLLO:      No, I mean, I put

      17     the qualifier in.       I mean, if you rephrase the

      18     question.     It's about the e-mail.        I don't want

      19     to put words in her mouth either.           I mean, if

      20     the question is rephrased and it is related to

      21     the e-mail, I think we might, you know, there

      22     may be more ability to have Ms. Anderson answer
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 229 of 463 PageID #:
                                     8663

                                                                         Page 229
        1    the question.

        2                 MR. CONNELLY:      Well, I'm just going

        3    to stay with what's commonsensical.

        4                 BY MR. CONNELLY:

        5         Q.      Let's look back -- I mean, let's go

        6    back and forth so you know where I am coming

        7    from.

        8                 Ultimately, at the end of May, there

        9    was a decision made to extend the TPS status of

      10     Haiti, correct?

      11                  MR. MARUTOLLO:      Objection.

      12                  You can answer.

      13                  THE WITNESS:     Yes.

      14                  BY MR. CONNELLY:

      15          Q.      Yes, okay.     But a few weeks earlier

      16     in the middle of May, am I correct that at that

      17     time, you were helping to try to generate

      18     documents under what appeared to be the

      19     consensus, the CIS trying to assist in

      20     terminating Haiti's designation.

      21                  I am just trying to -- it couldn't

      22     be plainer to me, but you were there and I'm
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 230 of 463 PageID #:
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                                                                          Page 230
        1    not.      I'm just reading from a document.         I want

        2    to hear from someone who was there whether in

        3    the middle of May, the decision appears there

        4    was going to be to terminate.

        5                  MR. MARUTOLLO:     Objection.     Again, I

        6    would direct the witness not to answer.             The

        7    question as posed is about whether it appeared

        8    that the decision was going to be to terminate,

        9    that goes right to a predecisional deliberative

      10     communication.      So I'm going to direct this

      11     witness not to answer that question.

      12                  Again, I'm happy to direct the

      13     witness to answer questions that are more

      14     limited to this e-mail, KA-23, but the way the

      15     question is phrased, I will instruct

      16     Ms. Anderson not to answer the question.

      17                  BY MR. CONNELLY:

      18          Q.      Were the majority of the changes

      19     that you made to the document, did they make

      20     clear that the decision was to terminate

      21     Haiti's designation?

      22                  MR. MARUTOLLO:      Again, I would raise
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 231 of 463 PageID #:
                                     8665

                                                                         Page 231
        1    the same objection.       I think, again, unless you

        2    are talking about something specific in this

        3    e-mail, KA-23, I would direct the witness not

        4    to answer because again, it remains a

        5    predecisional memorandum that is -- or a

        6    document that is subject to deliberative

        7    process privilege.

        8                 BY MR. CONNELLY:

        9         Q.      Was it accurate on May 15, 2017,

      10     that the majority of your changes made clear

      11     that the decision was to terminate Haiti's

      12     designation?

      13                  MR. MARUTOLLO:      Again, I'm sorry to

      14     keep pushing this, but I think the question is

      15     still substantively the same, it's the same

      16     objection.     It's a predecisional, deliberative

      17     document that you are asking about substantive

      18     changes to, and we would assert the

      19     deliberative process privilege and direct

      20     Ms. Anderson not to answer.

      21                  BY MR. CONNELLY:

      22          Q.      Were you being truthful when you
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 232 of 463 PageID #:
                                     8666

                                                                         Page 232
        1    made the assertion in your May 15, 2017 e-mail:

        2    "The majority of our changes are to make clear

        3    that the decision is to terminate Haiti's

        4    designation rather than focusing on the

        5    six-month extension of benefits."

        6                 Was that a truthful statement at the

        7    time?

        8                 MR. MARUTOLLO:      Objection.

        9                 But you can answer that question.

      10                  THE WITNESS:     Yes.

      11                  BY MR. CONNELLY:

      12          Q.      The sentence continues on a bit, and

      13     to pick it up, you say the -- your changes are

      14     to make clear that the decision is to terminate

      15     rather than focusing on a six-month extension:

      16     "Which we did for West Africa at the

      17     encouragement of the White House."

      18                  Is that a reference to some type of

      19     a six-month extension given to West Africa?

      20          A.      That's a reference to the decision

      21     that was made to terminate the TPS decisions of

      22     Guinea, Liberia and Sierra Leone.           In 2016,
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 233 of 463 PageID #:
                                     8667

                                                                         Page 233
        1    that decision was made.         And it had been

        2    explained as a six-month extension of benefits

        3    in many of the communication materials.

        4         Q.      So West Africa was a catch-all

        5    phrase for the more specific countries that you

        6    just mentioned?

        7         A.      Yes.

        8         Q.      And then the last one, the one

        9    that's above it, by Alex Echevarria,

      10     E-C-H-E-V-A-R-R-I-A, there's a reference to an

      11     acronym CSPED.

      12                  Do you see that?

      13          A.      Yes.

      14          Q.      Can you tell me what that is?

      15          A.      It's the customer service and public

      16     engagement division or directorate, I'm not

      17     sure.

      18                  MR. CONNELLY:      I'm going to go to

      19     KA-25, which is 8094.

      20                  (Deposition Exhibit KA-25 was marked

      21     for identification.)

      22                  MR. MARUTOLLO:      Can we go off the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 234 of 463 PageID #:
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                                                                         Page 234
        1    record for just a moment.

        2                 MR. CONNELLY:      Yes.

        3                 THE VIDEOGRAPHER:       We're going off

        4    the record.

        5                 The time is 14:50.

        6                 (A short recess was taken.)

        7                 THE VIDEOGRAPHER:       We're going back

        8    on the record.

        9                 The time is 14:53.

      10                  BY MR. CONNELLY:

      11          Q.      All right.     I have given you KA-25

      12     which is an e-mail chain that ends up on May

      13     20, 2017.

      14                  Do you have that before you?

      15          A.      Yes.

      16          Q.      What I think I will do for your sake

      17     to ease working with your handwritten notes

      18     that we got last night, do you still have in

      19     front of you the series of handwritten notes

      20     which run from KA-50 to KA--- I think 53?

      21          A.      Yes.

      22                  MR. MARUTOLLO:      I'll just note for
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 235 of 463 PageID #:
                                     8669

                                                                         Page 235
        1    the record, we do object to questions related

        2    to KA-50, 51, 52 and 53 on the grounds of

        3    deliberative process privilege.

        4                 We will permit questions to be asked

        5    on this as we produced them yesterday, with the

        6    caveat that they were produced because they

        7    were -- that Ms. Anderson had used them to

        8    refresh her recollection as we noted in the

        9    government's letter last night, but we do want

      10     to at least maintain our objection that these

      11     are deliberative documents.

      12                  BY MR. CONNELLY:

      13          Q.      I may ask you to multitask, we'll

      14     eventually get to these, you know, separately

      15     if need be, but because you had told me earlier

      16     in the day that at least some of these

      17     documents, your -- kind of the best

      18     recollection was that maybe they were generated

      19     sometime around the May 20 or, you know,

      20     slightly later dates, with the one on top

      21     perhaps being as late as May 31.

      22                  I thought I would ask you to keep
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 236 of 463 PageID #:
                                     8670

                                                                         Page 236
        1    those nearby because in asking you questions

        2    now about the next several documents which were

        3    all in this time frame, if any of that, you

        4    know, I am going to get around to asking you

        5    about all of these.       You're not going to be

        6    able to duck me asking you about them, so if

        7    it's easier for you to bring to my attention,

        8    okay, well, that is not matching up with my

        9    notes, that's how we will handle it.            I will

      10     leave it up to you whether you want to do that

      11     or not.    Okay.

      12                  So for the moment, let's just go to

      13     KA-25.

      14                  Have you had a chance to review it?

      15     I'm sorry, maybe you haven't looked at it yet.

      16          A.      I'm okay.    I have looked at it.

      17          Q.      You have?

      18          A.      Yes.

      19          Q.      If we go to the -- on the bottom of

      20     the first page, Mr. Prelogar on May 20, at 9:58

      21     a.m., sends you an e-mail and the subject is:

      22     "Haiti Comms," C-O-M-M-S.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 237 of 463 PageID #:
                                     8671

                                                                         Page 237
        1                 What does COMMS mean?

        2         A.      I believe it's an abbreviation for

        3    communications.

        4         Q.      Okay.   And he says in his e-mail:

        5    "These people need a helping handout."             I'm

        6    continuing:     "So deeply disrupted here this

        7    pillar of normality (our trusty second in

        8    charge) was anything but.         Looks like there are

        9    whack jobs everywhere, even in the civil

      10     service."

      11                  Who -- what was your understanding

      12     of who the people were who needed helping out?

      13                  MR. MARUTOLLO:      Objection.     Again,

      14     this calls for internal government

      15     deliberations, instruct Ms. Anderson not to

      16     answer this question under the deliberative

      17     process privilege.

      18                  Also calls for speculation as she

      19     did not -- she did not draft this e-mail.             I

      20     will, however, limit Ms. Anderson's testimony

      21     in this area to explain her understanding of

      22     this document, but not how Mr. Prelogar, what
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 238 of 463 PageID #:
                                     8672

                                                                         Page 238
        1    he meant or how he interpreted this

        2    characterization.

        3                 BY MR. CONNELLY:

        4         Q.      That's okay.     I will say, you know,

        5    I will not pretend to be the world's greatest

        6    lawyer, I'd like to think my skills lie in some

        7    other directions, but that really wasn't my

        8    question.     I didn't ask anything at all about

        9    what was in Brandon's head.

      10                  So, but what I was asking her was

      11     exactly what you said she could answer, so

      12     let's go ahead.

      13                  MR. MARUTOLLO:      I disagree with that

      14     characterization, but understood.

      15                  MR. CONNELLY:      Okay.

      16                  THE WITNESS:     I'm not sure who he

      17     was referring to when he said these people need

      18     a helping handout.

      19                  BY MR. CONNELLY:

      20          Q.      Do you know who he was referring to

      21     when he talked about a person who was

      22     characterized as our trusty second in charge?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 239 of 463 PageID #:
                                     8673

                                                                         Page 239
        1                 MR. MARUTOLLO:      I would just

        2    reassert the same objection from a moment ago,

        3    but you can answer given that objection.

        4                 THE WITNESS:     I read that to mean

        5    Deputy Secretary Duke.

        6                 BY MR. CONNELLY:

        7         Q.      And what -- did you have an

        8    understanding at the time, your understanding,

        9    I am not asking you to get inside of Mr.

      10     Prelogar's head.

      11                  When you read whack jobs, who did

      12     you think that referred to?

      13                  MR. MARUTOLLO:      Again, I instruct

      14     you not to provide internal government

      15     deliberations, but to the extent you have an

      16     understanding of what this meant, I am also

      17     objecting on the grounds of speculation, you

      18     can answer that question.

      19                  THE WITNESS:     I'm not sure of what

      20     individuals he's speaking about, but I think

      21     that this general transmission was talking

      22     about my meeting with Deputy Secretary Duke the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 240 of 463 PageID #:
                                     8674

                                                                         Page 240
        1    previous day.

        2                 BY MR. CONNELLY:

        3         Q.      Okay.   And was that a meeting that

        4    he also attended?

        5         A.      No.

        6         Q.      So is it a fair conclusion you

        7    reached that you had relayed to him in some

        8    fashion, some aspects of that meeting and he's

        9    giving you his reaction to what he learned

      10     about the meeting from you?

      11                  MR. MARUTOLLO:      Objection.     Again, I

      12     think that directly calls for internal

      13     government deliberations and I instruct the

      14     witness not to answer under the deliberative

      15     process privilege.

      16                  BY MR. CONNELLY:

      17          Q.      Do you -- let's go back then.

      18                  What was the nature of your meeting

      19     with what was then, what, Acting Secretary

      20     Duke?

      21          A.      The question is what her position

      22     was at the time?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 241 of 463 PageID #:
                                     8675

                                                                         Page 241
        1         Q.      Yeah.

        2         A.      I believe she was deputy secretary

        3    at that time.       I can't remember if she was

        4    acting deputy secretary or actually deputy

        5    secretary.

        6         Q.      And you said that the e-mail from

        7    Mr. Prelogar is on a Saturday, May 20, and you

        8    just told me that you think he was commenting

        9    on a meeting that you had with Deputy Secretary

      10     Duke the previous day?

      11          A.      Correct.

      12          Q.      Who was in attendance of that

      13     meeting with you and the Acting Secretary Duke?

      14          A.      The people that I recall being at

      15     the meeting, I'm not entirely sure that this

      16     was everybody who was there.          I was there,

      17     Deputy Secretary Duke was there, James McCament

      18     was there and Gene Hamilton.

      19          Q.      So those were all Department of

      20     Homeland Security folks?

      21          A.      Yes.

      22          Q.      And what was the -- I don't want to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 242 of 463 PageID #:
                                     8676

                                                                         Page 242
        1    get into deliberative process, just what was

        2    the topic or topics covered at the meeting?

        3         A.      The nature of the meeting was to

        4    talk about the TPS process.

        5         Q.      Talk about it more broadly than just

        6    Haiti?

        7         A.      Yes.

        8         Q.      Did you have disagreements with

        9    Deputy Secretary Duke in terms of some of the

      10     aspects of that process?

      11                  MR. MARUTOLLO:      Again, objection.

      12     This calls for internal government

      13     deliberations arising out of a meeting that was

      14     attended by various people within the

      15     Department of Homeland Security, so I instruct

      16     Ms. Anderson not to answer that question under

      17     the deliberative process privilege.

      18                  BY MR. CONNELLY:

      19          Q.      You -- I guess responded.         He wrote

      20     to you on a Saturday at 9:58 a.m., and you got

      21     back to him at 10:41 a.m., and part of your

      22     response is:      "You caught me at the peak of my
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 243 of 463 PageID #:
                                     8677

                                                                         Page 243
        1    fuming."

        2                 What is that a reference to?

        3                 MR. MARUTOLLO:      Objection.

        4    Deliberative process grounds, same as we

        5    discussed earlier, but you can answer that

        6    question.

        7                 THE WITNESS:     I believe I was

        8    referring to being frustrated following the

        9    meeting that had occurred the previous day.

      10                  BY MR. CONNELLY:

      11          Q.      And frustrated, not -- again, I

      12     don't want to go into any kind of

      13     deliberations, but just in terms of your job

      14     duties and responsibilities, were you

      15     frustrated about them in some fashion?

      16                  MR. MARUTOLLO:      Objection.

      17                  You can answer.

      18                  THE WITNESS:     Them, being my job

      19     duties?

      20                  BY MR. CONNELLY:

      21          Q.      Yeah, or responsibilities.         Yeah.

      22          A.      No, I wasn't frustrated about my job
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 244 of 463 PageID #:
                                     8678

                                                                         Page 244
        1    duties or responsibilities.

        2         Q.      Is it safe to say you weren't -- the

        3    meeting wasn't about you getting a salary raise

        4    or a promotion.      Your frustration had nothing

        5    to do with those kinds of topics, correct?

        6                 MR. MARUTOLLO:      Objection.

        7                 THE WITNESS:     I'm sorry, I didn't

        8    understand.

        9                 BY MR. CONNELLY:

      10          Q.      No.   I am just trying to -- I'm just

      11     trying to narrow the universe of what -- again,

      12     without going into who said what, I just want

      13     the topic area.      Much like an attorney

      14     privilege log, you are given the topic area

      15     even though you are not given any detail.

      16                  I just want to get a sense of what

      17     it was that you were frustrated about.

      18                  MR. MARUTOLLO:      Objection, again,

      19     she did already give like a privilege log, the

      20     general subject matter of that meeting, the

      21     document speaks for itself, and what that

      22     question is posing, is getting into the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 245 of 463 PageID #:
                                     8679

                                                                         Page 245
        1    deliberative discussions that took place at

        2    that meeting so it goes right to the heart of

        3    the substance of that meeting, so I instruct

        4    the witness not to answer under the

        5    deliberative process privilege.

        6                 BY MR. CONNELLY:

        7         Q.      Your -- the final e-mail is about an

        8    hour later, back from Mr. Prelogar, where he

        9    says:     "Maybe we should start flooding them

      10     with new TPS recs."

      11                  Is recs a shortened form of

      12     recommendations?

      13          A.      Yes, I believe so.

      14          Q.      And he goes on to say:        "Could be a

      15     real hoot."

      16                  Do I take it that this is, at least

      17     in some fashion, not intended to be taken

      18     literally?

      19                  MR. MARUTOLLO:      Objection.     Calls

      20     for speculation.       You can answer.

      21                  THE WITNESS:     I think it may have

      22     been somewhat hyperbolic.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 246 of 463 PageID #:
                                     8680

                                                                         Page 246
        1                 BY MR. CONNELLY:

        2           Q.    That was on May 20th.

        3                 I am going to now give you KA-27.

        4    We will skip a document.         This is the register,

        5    2383.

        6                 (Deposition Exhibit KA-27 was marked

        7    for identification.)

        8                 BY MR. CONNELLY:

        9           Q.    Am I correct that this is the FRN

      10     for the extension of the TPS status for Haiti

      11     issued on May 24, 2017?

      12          A.      Yes, that's what it looks like.

      13          Q.      And if I recall correctly from this

      14     morning, you thought that perhaps most of your

      15     handwritten notes related to meetings that

      16     occurred prior to the time that this FRN came

      17     out?

      18          A.      I think that's correct, yes.

      19          Q.      With the possible exception, if you

      20     look at it -- of KA-50, which at least at the

      21     top seems to indicate that the call occurred on

      22     May 31 which would have been a week later?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 247 of 463 PageID #:
                                     8681

                                                                         Page 247
        1         A.      Yes, that was after the FRN came

        2    out.

        3         Q.      Okay.     And let me go into this

        4    document for a minute and then we will return

        5    and get to your handwritten documents.

        6                 If you will go to Page 4 of the FRN.

        7                 And again, as I had asked you about

        8    earlier, extensions, there is a bold category

        9    that begins with the question:          "Why is the

      10     secretary extending the TPS designation for

      11     Haiti through January 22, 2018."

      12                  Is that right?

      13          A.      Yes.

      14          Q.      Could you help me -- this must have

      15     something to with printing.          You will see that

      16     the second paragraph has an asterisk that

      17     begins with -- that has a number 23832 in bold?

      18          A.      Uh-huh.

      19          Q.      Can you decipher or translate that

      20     for me?

      21          A.      It's the physical Federal -- Federal

      22     Register notice page number.          That's the page
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 248 of 463 PageID #:
                                     8682

                                                                         Page 248
        1    number that begins a new page in the printed

        2    Federal Register.

        3         Q.      I see.    I am just going back to -- I

        4    seem to have forgotten 31 if we go back, but I

        5    shouldn't waste time on that.

        6         A.      I see it.

        7         Q.      You found it?

        8         A.      It's in the last photograph on Page

        9    2.

      10          Q.      I see it.    They don't necessarily

      11     put it in the margin.

      12          A.      No, it's just wherever the page

      13     break is in the printed version.

      14          Q.      Thank you.     Am I correct, and this

      15     is really -- I mean, it does speak for itself,

      16     but as a participant -- you were a participant

      17     and had a role in the process of generating the

      18     materials that ultimately led to a decision

      19     that is summarized in this document, correct?

      20                  MR. MARUTOLLO:      Objection.     Vague,

      21     but you can answer.

      22                  THE WITNESS:     Yes, I participated in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 249 of 463 PageID #:
                                     8683

                                                                         Page 249
        1    the process that led to this decision.

        2                 BY MR. CONNELLY:

        3         Q.      Okay.    Okay.   And under the section

        4    that explains why the secretary extended the

        5    designation, if you go down two paragraphs, the

        6    paragraph that begins with Hurricane Matthew,

        7    was that one of the factors that is raised

        8    under the category of why the secretary

        9    extended the designation?

      10          A.      Yes.    Hurricane Matthew is discussed

      11     in that section.

      12          Q.      Hurricane Matthew which hit Haiti in

      13     October of 2016, which would have been

      14     substantially after the January 2010

      15     earthquake, correct?

      16                  MR. MARUTOLLO:      Objection.     Vague.

      17                  You can answer.

      18                  THE WITNESS:     It's after 2010, yes.

      19                  BY MR. CONNELLY:

      20          Q.      And then the next paragraph talks

      21     about some heavy rains in late April of 2017

      22     that caused flooding and landslides as being a
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 250 of 463 PageID #:
                                     8684

                                                                         Page 250
        1    part of the reasons why the secretary extended

        2    the designation, correct?

        3         A.      Yes.

        4         Q.      And again, I am just making this for

        5    the record.

        6                 Those heavy rains would have been

        7    well after the January 2010 earthquake,

        8    correct?

        9         A.      They were in 2017 which was after

      10     the 2010 earthquake.

      11          Q.      Then finally, the next paragraph, I

      12     will quote a portion of -- the early portion of

      13     the paragraph:      "Haiti's weak public health

      14     system is further strained due to an ongoing

      15     cholera epidemic whose inception was traced to

      16     U.N. peacekeepers assisting with earthquake

      17     recovery."

      18                  And that was also included among the

      19     reasons why the secretary extended the

      20     designation?

      21          A.      Yes.

      22          Q.      And again, if peacekeepers couldn't
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 251 of 463 PageID #:
                                     8685

                                                                         Page 251
        1    show up until after the earthquake, so the

        2    cholera epidemic occurred after the January

        3    2010 earthquake, correct?

        4                 MR. MARUTOLLO:      Objection.     I think

        5    the document speaks for itself, but you can

        6    answer the question.

        7                 THE WITNESS:     My understanding is

        8    that the cholera epidemic started after the

        9    earthquake.

      10                  BY MR. CONNELLY:

      11          Q.      Okay.   Now, framing -- we have the

      12     FRN which occurs on May 24 and the previous

      13     document that I had been asking you about, I

      14     think was on -- I think it was May 20, yeah, it

      15     was May 20th.      All right.

      16                  Now that we are in this part of the

      17     calendar, why don't you help me through these

      18     meetings that occurred that you thought

      19     sometime in the time frame and if you would, go

      20     ahead and arrange these documents in whatever

      21     you think is the proper sequential order and

      22     that's how I'll talk to you about them.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 252 of 463 PageID #:
                                     8686

                                                                         Page 252
        1         A.      So I believe that KA-53 which is TPS

        2    colon at the top.

        3         Q.      Okay.

        4         A.      I think these were notes from the

        5    May 19 meeting with Deputy Secretary Duke that

        6    I was referring to in the May 20th e-mail.

        7         Q.      So I should start with that, or do

        8    you want to tell me how you have these shuffled

        9    so I know the order?

      10          A.      Let me put them in order first so

      11     that I am doing it all at the same time.

      12                  I think that KA-51 were notes from

      13     the media call once the announcement was made.

      14     I think I had previously said maybe that was on

      15     May 20th, but now after we looked at this

      16     e-mail, the 20th was a Saturday so I don't

      17     think it was Saturday so it possibly was Monday

      18     following that, although I'm not certain of the

      19     date.     But it was the day that the public

      20     announcement from the secretary was made,

      21     possibly the 22nd.

      22          Q.      Okay.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 253 of 463 PageID #:
                                     8687

                                                                         Page 253
        1         A.      And then KA-52, I believe followed

        2    that.     I was thinking it was the same week that

        3    the announcement was made.         Again, my best

        4    recollection was that maybe it was the 23rd of

        5    May, so I think that was next, but again, I'm

        6    not a hundred percent certain without looking

        7    at my calendar.      And then the May 31 for 50, I

        8    think.     So I have 53, 51, 52, 50 in

        9    chronological order.

      10          Q.      All right.     So starting with KA-53,

      11     the third line says S2, and is that a reference

      12     to Deputy Secretary Duke?

      13          A.      Yes.

      14          Q.      Okay.   If you will turn the page,

      15     near the bottom of what is the Bates number on

      16     this page now is Anderson 2, the last five

      17     lines start with G.

      18                  Could you read the remainder of that

      19     page.

      20          A.      "Gene, we haven't tracked data.

      21     Public benefits, we don't know, hey, what are

      22     you doing with your time here.          During next six
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 254 of 463 PageID #:
                                     8688

                                                                         Page 254
        1    months for Haiti."

        2         Q.      Do you remember who or where you put

        3    the quotes from, hey, we don't -- "hey, what

        4    are you doing with your time here?"

        5                 Who are you quoting?

        6                 MR. MARUTOLLO:      Again, objection to

        7    the extent it calls for internal government

        8    deliberations, I instruct you not to answer

        9    under the deliberative process privilege.             You

      10     can identify, and I think this is consistent

      11     with the question, the only identity -- just

      12     for clarification purposes, only the identity

      13     of the person who you quoted here in your

      14     notes.

      15                  THE WITNESS:     I think all of these

      16     last five lines were reflecting statements made

      17     by Gene including what it is in quotes.

      18                  BY MR. CONNELLY:

      19          Q.      And if you go -- let's go to the

      20     next page.     Let's start -- about four lines

      21     down after the little break.          If you'd start

      22     reading that for about six or seven lines, I
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 255 of 463 PageID #:
                                     8689

                                                                         Page 255
        1    will tell you when to stop.

        2         A.      "If a new designation, what can we

        3    do to gather new info.        Not if a million man

        4    hours.     S1 and S2 like to make decisions on the

        5    facts.     Gene, yes, ma'am, that's the right way

        6    to do things.        Not to disparage anyone in past

        7    administrations, but kind of a perfunctory

        8    decision, things are still bad.           Don't want to

        9    give false hope.       Don't want people to go back

      10     to war zone.      Need to use our resources wisely.

      11     Bring back programatic integrity."

      12          Q.      Okay.    That's fine.     What is -- S1

      13     would have been Secretary Kelly?

      14          A.      That was a reference to Secretary

      15     Kelly.

      16          Q.      And S2 would have been a reference

      17     to Duke?

      18          A.      Yes.

      19          Q.      On the next page, could you tell me

      20     -- well, first of all, the reference -- there

      21     is a reference -- not reference, there is the

      22     word James.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 256 of 463 PageID #:
                                     8690

                                                                         Page 256
        1                 Is that McCament?

        2         A.      Where do you see that?

        3         Q.      I'm sorry.     On Page 04.

        4         A.      Yes, that was a reference to James

        5    McCament.

        6         Q.      And the next lines, apparently S2

        7    being Duke and then it says:          "Can we support

        8    keeping state in their lane?"

        9                 Is that right?

      10          A.      That's what it says.

      11          Q.      Did I read it correctly?

      12          A.      Yes.

      13          Q.      Let's just use that as an easy

      14     example to set this up.

      15                  MR. CONNELLY:      Joe, I will just ask

      16     the question and then we're going to probably

      17     have a little bit of conversation.           You may get

      18     a breather.

      19                  I would like to know, you know, her

      20     best recollection of what, you know, Duke was

      21     asking and what the answer was.

      22                  Are you going to assert privilege
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 257 of 463 PageID #:
                                     8691

                                                                         Page 257
        1    for my exploring the, you know what is behind

        2    the notes that are obviously less than the

        3    entire conversation?

        4                 MR. MARUTOLLO:      Yes.    I mean, I

        5    would assert deliberative process privilege.

        6                 MR. CONNELLY:      Help me out here.

        7    I'm kind of making a record.          Let's stay on the

        8    record on this.

        9                 MR. MARUTOLLO:      Sure.

      10                  MR. CONNELLY:      I understand that you

      11     felt, you know, you should give us these

      12     documents because they apparently were used by

      13     the deponent in getting ready.           But of what

      14     value are they to me, and how have you not

      15     waived any possible privilege by having handed

      16     me contemporaneous documents that occurred at

      17     the time of these meetings?

      18                  MR. MARUTOLLO:      Well, I think you

      19     can answer that in a few ways.           First, we

      20     produced deliberative materials that were

      21     produced in the Ramos case in this matter,

      22     consistent with how we produce materials that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 258 of 463 PageID #:
                                     8692

                                                                         Page 258
        1    were formerly deliberative.          We have limited --

        2    throughout this deposition, we have limited

        3    Ms. Anderson's testimony to just explaining

        4    certain items in her e-mails but not about

        5    anything that goes beyond the four corners of

        6    the document.

        7                 Here, we produced these documents in

        8    good faith because they were used by

        9    Ms. Anderson to refresh her own memory.             We

      10     wanted to produce them to plaintiffs as quickly

      11     as possible upon receipt, and having said that

      12     though, we noted explicitly in our letter that

      13     the reason we were producing them is because

      14     they were independently used to refresh her

      15     recollection.

      16                  We did not waive any privilege in

      17     our letter and the notes speak for themselves.

      18     You can ask her questions about, you know, what

      19     things mean and to explain things within the

      20     notes, but from our perspective, any discussion

      21     about what Secretary Duke said or what

      22     Secretary Duke asked to do is, I think by
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 259 of 463 PageID #:
                                     8693

                                                                         Page 259
        1    definition, an internal government deliberation

        2    predecisional and, you know, we would instruct

        3    the witness not to answer that question under

        4    the deliberative process privilege.

        5                 MR. CONNELLY:      And I may have

        6    misunderstood what you just told me, but if you

        7    say, well, we have these notes so I can ask,

        8    you know, what they mean.         Obviously, I think,

        9    you know, that I would love to ask, okay, when

      10     Deputy Secretary Duke said, can we support

      11     keeping state in their lane, question mark, I

      12     would like to know what she meant by that.

      13                  MR. MARUTOLLO:      Well, I mean, I

      14     think first off, that kind of question would

      15     call for speculation anyway, but I think it's

      16     fair and again, not to put questions in your

      17     mouth, but I think it's fair to limit it to Ms.

      18     Anderson's explanation of -- that statement

      19     without her then also saying why or any other

      20     information that Secretary Duke provided that

      21     is not within these notes.

      22                  So again, I appreciate that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 260 of 463 PageID #:
                                     8694

                                                                         Page 260
        1    deliberative process and particularly in a

        2    situation like this, where we produced

        3    documents that we still maintain an assertion

        4    that they are deliberative, just like the Ramos

        5    documents, we still assert are deliberative.

        6                 We have not lost that in this case,

        7    but they have been produced in this case, but

        8    we still, you know, want to assert the

        9    privilege and we will assert the privilege so

      10     the question is about, what, you know, why did

      11     Secretary Duke say, according to these notes,

      12     support keeping state in their lane or, you

      13     know, why did she say that, we would object on

      14     deliberative ground.

      15                  MR. CONNELLY:      And I, you know,

      16     maybe we can find common ground here, I'm not

      17     sure, but really, I will be happy to dovetail

      18     asking the question in a fashion that you think

      19     she can answer.

      20                  So what is -- I mean, is the rubric,

      21     if I have a question and I'm not quite sure --

      22     well, if I have a question like the one that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 261 of 463 PageID #:
                                     8695

                                                                         Page 261
        1    we're just on, if I say, what did she mean when

        2    she said can we support keeping the state in

        3    their lane.

        4                 I presently -- I have no idea what

        5    she meant.     I mean, she was there, I would like

        6    to find out what she thinks Duke meant, but is

        7    that something that is fair game?

        8                 MR. MARUTOLLO:      I don't think that

        9    is fair game.      I would submit that is a

      10     deliberative -- any discussion that Secretary

      11     Duke made during this meeting or any of these

      12     participants made during this meeting is

      13     deliberative.      And certainly would chill

      14     further communications, if any comments that

      15     are made during these predecisional meetings

      16     would then be questioned at -- in litigation,

      17     you know, at depositions.

      18                  I mean, I think, you know, we would

      19     limit any discussion of these documents related

      20     to the four corners of these documents.             I

      21     mean, obviously, we've had a number of times

      22     during this deposition, where we've instructed
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 262 of 463 PageID #:
                                     8696

                                                                         Page 262
        1    Ms. Anderson not to answer and other times

        2    where she has been able to at least explain

        3    portions of the document or how she interpreted

        4    things, you know, in terms of explanations, but

        5    not how others interpreted items.

        6                 But I think frankly, it's going to

        7    depend on how the question is asked.            I mean, I

        8    think that our objection has been clear

        9    throughout the deposition about deliberative

      10     process.

      11                  MR. CONNELLY:      And as you know, you

      12     know, this is a -- this process has been moving

      13     along at a fast clip, so I am not aware in

      14     terms of whatever you sent over to us, to the

      15     plaintiffs' lawyers, you know, in terms of your

      16     views on deliberative process, have you

      17     specifically -- because I haven't read it.

      18                  Have you specifically addressed

      19     these notes in terms of what your position is

      20     on the notes?

      21                  MR. MARUTOLLO:      Yes.   So last night

      22     in the letter, we did -- I mean, just to be
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 263 of 463 PageID #:
                                     8697

                                                                         Page 263
        1    clear for the record, we produced these

        2    documents yesterday which is, you know, which

        3    we appreciate is after we received them but

        4    still, I appreciate that the deposition was

        5    today.

        6                 We did note in the letter that we

        7    produced them purely because they were

        8    independently from her attorneys used to

        9    refresh Ms. Anderson's deposition, and we did

      10     not waive any deliberative privilege.

      11                  I would further note just for the

      12     record that again, there are a number of

      13     documents in this case and in this deposition,

      14     that were originally deemed deliberative and

      15     that a Court in Northern District of California

      16     had since not deemed deliberative, that ruling

      17     has not been made in this case, but in the case

      18     here in the Eastern District of New York, but

      19     we still allowed for questions in a good faith

      20     effort to avoid litigation.

      21                  So I mean, I think we would instruct

      22     the witness at least with these notes, she can
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 264 of 463 PageID #:
                                     8698

                                                                         Page 264
        1    answer, you know, explaining a statement, you

        2    know, or what is written here, but anything

        3    that goes to the actual underlying meeting or

        4    the substance of that meeting beyond the four

        5    corners of these documents, we would raise

        6    deliberative process privilege and instruct the

        7    witness not to answer.

        8                 MR. CONNELLY:      And do you know --

        9    have the collective plaintiff attorneys given

      10     your letter to us on this -- on these

      11     particular documents, if we indicated that

      12     we're going to get back to you with our, you

      13     know, response in some fashion?

      14                  MR. MARUTOLLO:      Again, I, you know,

      15     we did speak to Mr. Jeff Propoli last night on

      16     this -- on these issues.         My understanding was

      17     that there was one document that was

      18     outstanding.      There was a -- there may be a

      19     classified document that we did a little note

      20     in our letter that we were withholding, but

      21     otherwise, you know, we have kind of been -- I

      22     think we've been consistent throughout the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 265 of 463 PageID #:
                                     8699

                                                                         Page 265
        1    litigation about where we stand on deliberative

        2    process and I think if you need an

        3    individualized showing plaintiffs noted that in

        4    their opposition to our original motion to --

        5    for a protective order for deliberative process

        6    that we ultimately withdrew so we can be on the

        7    same page as plaintiff's counsel.

        8                 So from our perspective, you know, I

        9    think we are being consistent, but I would

      10     note, again as alluded to your point earlier,

      11     and particularly given the fact that there

      12     seems to be depositions scheduled every day

      13     from now until January 7, the trial date, when

      14     the trial begins, you know, we won't be

      15     producing Ms. Anderson again, you know, after

      16     the Court order, because, you know, we have

      17     asserted our privilege but we've allowed for

      18     questions to be asked during this deposition.

      19                  MR. CONNELLY:      Okay.   And the reason

      20     I had asked that was, because I don't know

      21     exactly, you know, if this is already sort of

      22     crystalized because you made your position
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 266 of 463 PageID #:
                                     8700

                                                                         Page 266
        1    clear and we've gotten back to you and you

        2    responded or you said, well, there is no more

        3    to talk about or whether I'm in the process

        4    right now of crystallizing this to take it to

        5    the Court.

        6                 That's what I was trying to figure

        7    out, but if the parties have already exchanged

        8    their views on this, I would just move that to

        9    the Court as opposed to making my own pitch.

      10                  MR. MARUTOLLO:      I honestly -- I

      11     don't mean to speak for Jeff, I know he's not

      12     here right now, but my understanding was that

      13     we produced these materials last night and I

      14     don't know if there was any issues about -- we

      15     had talked about deliberative process in full

      16     candor, but at the same time, I think we are

      17     being consistent with how we have addressed the

      18     Ramos documents as well, the formerly

      19     deliberative documents of Ramos.

      20                  MR. CONNELLY:      All right.     Well, let

      21     me ask the deponent a few questions.            I may

      22     take a somewhat different tack given your
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 267 of 463 PageID #:
                                     8701

                                                                         Page 267
        1    position on this -- on these documents in terms

        2    of how we handle them.

        3                 BY MR. CONNELLY:

        4         Q.      So if we are still on the record,

        5    let me ask you generally, for these four sets

        6    of handwritten notes.

        7                 Did you capture any of your own

        8    comments on these notes or do these notes only

        9    reflect comments made by others in the room for

      10     these various meetings?

      11                  MR. MARUTOLLO:      Objection.

      12                  You can answer.

      13                  THE WITNESS:     I am not entirely

      14     sure.     My practice is to try to capture the

      15     flow of the conversation during a meeting to

      16     the extent that I can get it and to capture

      17     things that are relevant to me and that I would

      18     like to try to remember.

      19                  Sometimes I write down when I

      20     contribute something to a meeting and other

      21     times, I can't get that in.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 268 of 463 PageID #:
                                     8702

                                                                         Page 268
        1         Q.      Yeah, okay.     Well, let's -- this may

        2    be slightly laborious, but we will find out,

        3    we'll see.

        4                 Let's start with KA-53, which I

        5    think you told us you think may have been --

        6    may relate to a meeting held, Deputy Secretary

        7    Duke and others and perhaps on May 19 and if

        8    so, that would have been a Friday?

        9         A.      I believe so.

      10          Q.      Okay.   Okay.    So let's try this.

      11     Why don't you just start reading -- and you're

      12     not going to be able to anticipate what I'm

      13     going to ask questions, so I'll give you a

      14     little time for that.

      15                  When you get to the second line and

      16     you have Section 2044, I'm going to stop you

      17     there and I will ask you what is that.             And

      18     then we will see whether I can glean

      19     information that your lawyer doesn't feel is

      20     privileged in any way.

      21                  I also want to try to find out, you

      22     know, how often the comments on your notes are
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 269 of 463 PageID #:
                                     8703

                                                                         Page 269
        1    your comments as opposed to reflecting a

        2    summary of what someone else said.

        3         A.      Okay.

        4         Q.      All right.     So why don't you get

        5    started.

        6         A.      "TPS.    Gene.   Section 244 statute."

        7         Q.      And I will ask you, what is the

        8    Section 244 statute?

        9         A.      I am referring to Immigration and

      10     Nationality Act, Section 244, which is the TPS

      11     statute.

      12          Q.      And then continue, the third line

      13     begins S2.

      14          A.      "S2.    Read TPS website.      Great

      15     website.     Gene.    Not created out of whole air

      16     like Obama Administration did.          Explained what

      17     TPS is.    To be used in extreme measure,

      18     legitimate protection."

      19          Q.      Let me interrupt you now.         Once you

      20     started, to be used in extreme measure,

      21     legitimate protection, do you recall whose

      22     comments those are that you are recording?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 270 of 463 PageID #:
                                     8704

                                                                         Page 270
        1          A.     I believe I was capturing things

        2    that Gene was saying.

        3          Q.     Then go ahead and continue.

        4          A.     "Can designate part of a country.

        5    Never been done.        People from whole country get

        6    it.    In this administration, want to look at

        7    parts of country."

        8          Q.     What is your best recollection of

        9    who made those observations?

      10           A.     This is still Gene.

      11           Q.     Okay.   Then you have a line break

      12     and it starts up again with S2, that would be

      13     Deputy Duke, correct?

      14           A.     Correct.

      15           Q.     And again, we will see if this holds

      16     up.    Is it generally you think that -- you have

      17     taken line break when you are summarizing when

      18     someone else starts talking.          You -- that's

      19     kind of an easy visual way to recognize when

      20     that occurs?

      21           A.     I don't think that is consistent.

      22     I'm sorry.     Not that easy.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 271 of 463 PageID #:
                                     8705

                                                                         Page 271
        1         Q.      Okay.    All right.     Fine.    So we are

        2    still on Anderson 01, we're in the middle of

        3    the page, after an empty line.          Why don't you

        4    go ahead and read what follows.

        5         A.      "S2.    Prep to make decision easier.

        6    What data can we produce about beneficiaries.

        7    Can we do all of these earlier.            Practical.

        8    How can we brief in groups.          S2.    S1 thought

        9    our report nearly met the conditions for ending

      10     it, but because of the time ... wanted to warn

      11     people to prepare."

      12          Q.      Let's stop there.       To your best

      13     recollection, is everything that you just

      14     related, was that a summary of things that

      15     Deputy Secretary Duke was saying?

      16          A.      Yes.

      17          Q.      And when she references our report,

      18     what report was that?

      19                  MR. MARUTOLLO:      Objection.

      20                  You can answer.

      21                  THE WITNESS:     I thought that meant

      22     the recommendation memo from USCIS to the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 272 of 463 PageID #:
                                     8706

                                                                         Page 272
        1    secretary.

        2                 BY MR. CONNELLY:

        3         Q.      Do you recall what was the

        4    recommendation as far as extending or not

        5    extending in that memo?

        6                 MR. MARUTOLLO:      Again, I would

        7    object to the extent it wasn't a final

        8    memorandum, I would instruct the witness not to

        9    answer because that calls for internal

      10     government deliberations, but I don't want to

      11     testify for the witness, but I mean, if it was

      12     a final memo, then you can answer.           If it

      13     wasn't a final memo, then I'd instruct you not

      14     to answer.

      15                  THE WITNESS:     I think she was

      16     speaking about the final memo that went from

      17     James McCament to the secretary.

      18                  BY MR. CONNELLY:

      19          Q.      Okay.   And what was the

      20     recommendation in that memo as far as extending

      21     or terminating?

      22                  MR. MARUTOLLO:      Again, just to be
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 273 of 463 PageID #:
                                     8707

                                                                         Page 273
        1    clear, I am objecting to the -- when I say

        2    final memo, just to clarify, I am referring to

        3    the final decision from the secretary on a TPS

        4    determination, not a final internal memo within

        5    USCIS to DHS.

        6                 So with that objection, I would

        7    argue that this question calls for internal

        8    government deliberation, and I instruct you not

        9    to answer under the deliberative process

      10     privilege unless it's a final decision from the

      11     secretary or acting secretary of Homeland

      12     Security.

      13                  BY MR. CONNELLY:

      14          Q.      Are you able to answer?

      15          A.      On my attorney's advice, I don't

      16     think I can answer then because this is, I

      17     believe, referring to the internal memo, the

      18     final internal memo from James McCament to the

      19     secretary.

      20          Q.      All right.     So let's -- now we're on

      21     the top of Page 2.       Why don't you pick up --

      22     and let's -- if you can acclimate yourself, now
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 274 of 463 PageID #:
                                     8708

                                                                         Page 274
        1    when you begin reciting your notes, what is

        2    your best recollection of whose observations

        3    you are capturing?

        4         A.      I believe this continues to be

        5    Deputy Secretary Duke.

        6         Q.      Why don't you go ahead.

        7         A.      "Say conditions are nearly there in

        8    messaging.     Every expectation Haiti may not be

        9    renewed again.      S1 wants to follow the law.

      10     Have someone who hates us read the report.

      11     Says ... while Haiti is still a horrible place

      12     to live, but good ... if recommends

      13     termination, has to be straightforward and

      14     sensitive to how this could be turned around.

      15     If we recommend ending, be cautious, process

      16     can't be turned on us.        If we recommend ending,

      17     S1 will be inclined to follow us but be clear."

      18          Q.      Let me stop you there.        Your best

      19     recollection is that all of those observations

      20     were in a summary fashion capturing things that

      21     Deputy Director Duke was saying?

      22                  MR. MARUTOLLO:      Objection.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 275 of 463 PageID #:
                                     8709

                                                                         Page 275
        1                 You can answer.

        2                 THE WITNESS:     Yes.

        3                 BY MR. CONNELLY:

        4         Q.      Am I correct, broadly speaking, are

        5    these notes chronological?         In other words, you

        6    -- they capture -- obviously it doesn't capture

        7    the entirety of the meeting, but they capture

        8    in the order in which the observations were

        9    made?

      10          A.      Yes.   The notes follow the

      11     chronological flow of the meeting.

      12          Q.      Now on Page 2, the first line or the

      13     first word is Gene.       Why don't you -- go ahead

      14     and read that.

      15          A.      "Gene.    We haven't tracked data.

      16     Public benefits?       We don't know."

      17          Q.      I'm sorry, public benefits with a

      18     question mark after it?

      19          A.      With a question mark, yes.         "We

      20     don't know.     Hey, what are you doing with your

      21     time here?"

      22                  I believe this first word is during,
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 276 of 463 PageID #:
                                     8710

                                                                         Page 276
        1    but I'm not entirely sure.         "During next six

        2    months for Haiti and going forward.            Have to

        3    increase reporting and metrics so we can tell

        4    American people what is happening.           Not limited

        5    to TPS."

        6         Q.      Let's stop because you have kind of

        7    a break there.      Your best recollection is that

        8    all of those observations were made by Gene

        9    Hamilton?

      10          A.      Yes.

      11          Q.      All right.     Pick it up then.       We are

      12     now on Page 3.

      13          A.      "If new designation.       What can we do

      14     to gather new information.         Not if it -- not if

      15     a million man hours.        S1 and S2 like to make

      16     decisions on the facts."

      17          Q.      Let's stop there.       Because we see

      18     that Gene is apparently going to say something,

      19     so does that help you in context?           Could you

      20     recall whose observations those were that you

      21     just read?

      22          A.      I'm not entirely sure.        It's not
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 277 of 463 PageID #:
                                     8711

                                                                         Page 277
        1    Gene because he responded and it wasn't me.

        2         Q.      And it looks like he's responding to

        3    a woman.

        4         A.      Yes.

        5         Q.      Were there other women in the room

        6    beyond you and Deputy Secretary Duke?

        7         A.      Not that I recall.

        8         Q.      By process of elimination, again,

        9    you're not -- you can't be sure, but if you

      10     know that he wasn't directed to you, Duke was

      11     the only other woman in the room?

      12                  MR. MARUTOLLO:      Objection.

      13                  You can answer.      To the extent it

      14     mischaracterizes testimony.          You said you don't

      15     recall if there were other women in the room,

      16     but you can answer.

      17                  THE WITNESS:     I was going to say I

      18     mentioned before I was not entirely sure if

      19     there was anybody else in the room but I don't

      20     recall other women.

      21                  BY MR. CONNELLY:

      22          Q.      All right.     So let's go ahead now in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 278 of 463 PageID #:
                                     8712

                                                                         Page 278
        1    the middle of the page where it begins with

        2    Gene.

        3         A.      "Gene.    Yes, ma'am.     That's the

        4    right way to do things."

        5         Q.      Let's me ask -- your lawyer can

        6    object or maybe he won't.         Why did you capture

        7    -- I mean, these are not verbatim notes,

        8    correct?

        9         A.      Correct.

      10          Q.      Why did you capture him using the

      11     phrase, ma'am, in giving the response to

      12     whoever it was, where he's raising the points

      13     that he was addressing?

      14                  MR. MARUTOLLO:      Objection.     I mean,

      15     it was government deliberative process, but you

      16     can answer the question.

      17                  THE WITNESS:     Well, when I take

      18     notes in meetings, I write down things that I

      19     am interested in remembering, and for some

      20     reason, this struck me as something that I

      21     wanted to remember.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 279 of 463 PageID #:
                                     8713

                                                                           Page 279
        1         Q.      Do you recall now why it was that

        2    you thought that was still something you wanted

        3    to remember?

        4                 MR. MARUTOLLO:      Objection.

        5                 You can answer.

        6                 THE WITNESS:     Not in particular.

        7                 BY MR. CONNELLY:

        8         Q.      All right.     So let's keep going.

        9    Pick it up again.       Do you know where we are?         I

      10     think we were at the line that begins "not to."

      11          A.      "Not to disparage anyone in past

      12     administrations, but kind of a perfunctory

      13     decision.     Things are still bad.        Don't want to

      14     give false hope.       Don't want people to go back

      15     to war zone.      Need to use our resources wisely.

      16     Bring back programmatic integrity."

      17          Q.      Do you think, is your best

      18     recollection that all of those comments were

      19     made by Gene Hamilton?

      20          A.      Yes.

      21          Q.      Okay.   So let's pick up on the next

      22     line.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 280 of 463 PageID #:
                                     8714

                                                                         Page 280
        1         A.      "Is the population" -- I can't read

        2    the next word, my best guess is trying, but I'm

        3    not sure.     "Is the population trying here?"

        4         Q.      With a question mark, correct?

        5         A.      Yes.    "If so.    If -- I don't know

        6    the next word.       It begins with a P.

        7         Q.      Okay.

        8         A.      "If" something "don't."

        9         Q.      So let me ask, is your best

      10     recollection that that would -- that those were

      11     continued observations by Gene Hamilton?

      12          A.      Yes.

      13          Q.      And when you captured, is the

      14     population trying here, do you recall, was he

      15     referring to the Haitians who were outside of

      16     Haiti, presumably largely in the U.S., is that

      17     the reference to trying here?

      18                  MR. MARUTOLLO:      Objection.     Again, I

      19     think that goes to internal government

      20     deliberations, and it goes beyond the four

      21     corners of the document and it also goes to

      22     speculation as to what Mr. Hamilton was
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 281 of 463 PageID #:
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                                                                          Page 281
        1    referring to, if anything.

        2                 So I'd instruct the witness not to

        3    answer.

        4                 BY MR. CONNELLY:

        5         Q.      Is the, you know, obviously, you

        6    know, it's ambiguous, next observation.             If so,

        7    if and then the word, five or six letter word

        8    beginning with P, is not decipherable, don't,

        9    do you have a recollection from those cryptic

      10     notes in terms of what the actual words used by

      11     Mr. Hamilton were?

      12                  MR. MARUTOLLO:      Objection.     Again,

      13     same objection about internal government

      14     deliberations.      I mean, to the extent you

      15     recall based on these notes and what is said in

      16     the notes, you can answer but otherwise, I'd

      17     instruct you not to answer.

      18                  THE WITNESS:     I think, at least this

      19     is the population trying here was referring to

      20     the population being TPS beneficiaries

      21     generally.     This part of the meeting was

      22     talking about TPS generally, not specifically
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 282 of 463 PageID #:
                                     8716

                                                                         Page 282
        1    Haiti, so I think the population is meaning TPS

        2    beneficiaries was my understanding.

        3                 BY MR. CONNELLY:

        4          Q.     All right.     And now we are down to

        5    the last three lines which appear to begin S2,

        6    which would be Deputy Secretary Duke.            But go

        7    ahead and read.

        8          A.     "S2.   Really tries to get the facts.

        9    And apply them to the law.         Now that we" --

      10     "now that we're looking at this afresh."

      11           Q.     We are on Page 4 now which begins

      12     with the word James.

      13           A.     "James.    DOS uses as foreign policy.

      14     S2.    Can we support keeping state in their

      15     lane?"

      16           Q.     And when DOS is a reference to what

      17     organization?

      18           A.     Department of State.

      19           Q.     And is this in the context -- is

      20     this when DOS uses -- ordinarily, you would

      21     expect to find an object there, is this

      22     instance in the context of TPS, or do you know?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 283 of 463 PageID #:
                                     8717

                                                                         Page 283
        1    Again, I don't want -- just what was said by

        2    James, because I am guessing, this obviously

        3    captures in a summary fashion, but not all

        4    together.

        5                 MR. MARUTOLLO:      Again, I would

        6    request that Ms. Anderson not answer that

        7    question as it goes into internal government

        8    deliberations and instruct her not to answer.

        9    She can testify about the sentence that she

      10     wrote in her notes, but apart from that, to the

      11     extent it goes further into what occurred in

      12     the conversation, I instruct Ms. Anderson not

      13     to answer.

      14                  THE WITNESS:     I think this note that

      15     I captured that states DOS uses as foreign

      16     policy, my understanding was that James was

      17     referring to TPS.

      18                  BY MR. CONNELLY:

      19          Q.      All right.     And then go ahead and

      20     proceed.

      21          A.      "S2.   Can we support keeping state

      22     in our lane?      Need."
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 284 of 463 PageID #:
                                     8718

                                                                         Page 284
        1         Q.      I'm sorry.     I had used that as an

        2    earlier example of my being more interested.

        3                 MR. CONNELLY:      And, Joe, I don't

        4    want to keep hitting my head against the wall.

        5    So I will try a question and you can tell me if

        6    I am hitting the wall again.

        7                 BY MR. CONNELLY:

        8         Q.      Do you -- did you have an

        9    understanding of what the phrase "keep state in

      10     their lane" conveyed at the time?           By that, I

      11     mean, you are obviously capturing a summary of

      12     the conversation, not a verbatim.

      13                  Can you tell me from your summary

      14     note what Duke said that you partially captured

      15     with the quote, "can we support keeping state

      16     in their lane?"

      17                  MR. MARUTOLLO:      I mean, I would

      18     object first on the ground of the questioning

      19     vague, but again, I would assert that this

      20     calls for internal government deliberations as

      21     it raises a question about what Secretary Duke

      22     was saying, the substance of what she was
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 285 of 463 PageID #:
                                     8719

                                                                         Page 285
        1    saying, rather than a question about notes that

        2    are on the page that Ms. Anderson kept, so I

        3    would instruct Ms. Anderson not to answer the

        4    question on the deliberative process privilege.

        5                 BY MR. CONNELLY:

        6         Q.      So with that instruction, let's

        7    continue.     Why don't you go ahead and continue

        8    reading what is on the page.

        9         A.      "Need to be able to point back to

      10     the statute.      Everything that supported the

      11     decision.     SS came over without Tillerson

      12     actually seeing it."

      13          Q.      Let's stop there.       Best

      14     recollection, are these all comments that were

      15     made by Duke?

      16                  MR. MARUTOLLO:      Objection to the

      17     extent you know and given our earlier objection

      18     about deliberative process, you can answer the

      19     question.

      20                  THE WITNESS:     I can't say with

      21     certainty that these were all made by Deputy

      22     Secretary Duke.      The one with S2 before it was.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 286 of 463 PageID #:
                                     8720

                                                                         Page 286
        1    The next statement, "need to be able to point

        2    back to the statute," my best recollection is

        3    that she probably made that statement as well.

        4    Similarly with the next one, "everything that

        5    supported the decision," I am much less certain

        6    about the next statement that, "SS came over

        7    without Tillerson actually seeing it."

        8                 BY MR. CONNELLY:

        9         Q.      Let me stop you for a second.

      10                  MR. CONNELLY:      I am going back to

      11     that same line, Joe, so you can be sensitive.

      12                  MR. MARUTOLLO:      Okay.    Thank you.

      13                  BY MR. CONNELLY:

      14          Q.      When you wrote down, "S2.         Can we

      15     support keeping state in their lane?"

      16                  Can you tell me what you meant when

      17     you wrote those words down.          What did you --

      18     what did you mean and what were you trying to

      19     remember with that note?

      20                  MR. MARUTOLLO:      Again, I would

      21     object.    So that it calls for internal

      22     government deliberations.         You know, I think --
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 287 of 463 PageID #:
                                     8721

                                                                         Page 287
        1    I mean to the extent -- I would instruct the

        2    witness to answer only to the extent you are

        3    talking about a note that you took and then the

        4    fact that you put -- you handwrote something

        5    onto a document, but to the extent it goes to

        6    the actual deliberations and the actual

        7    discussion with Secretary Duke, I instruct you

        8    not to answer, so with that objection, I think

        9    you can answer that question with that

      10     limitation.

      11                  THE WITNESS:     I wanted to remember

      12     that S2 had raised a question regarding, can we

      13     support keeping state in their lane, which to

      14     me meant, can we look into how we can have

      15     state focus on providing country conditions as

      16     opposed to using TPS as a foreign policy tool.

      17                  BY MR. CONNELLY:

      18          Q.      Let me -- what you had previously

      19     read, there is a reference to SS came over

      20     without Tillerson.

      21                  What is SS a reference to?

      22          A.      South Sudan.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 288 of 463 PageID #:
                                     8722

                                                                         Page 288
        1         Q.      I'm sorry.     I'm not quite sure where

        2    we -- did we -- have you read the remainder of

        3    this page which starts with Gene?

        4         A.      No, not yet.

        5         Q.      Okay.

        6         A.      "Gene.    S1 not hesitant to make TPS

        7    designations when warranted.          S2.   He's so

        8    neutral.     We need to know who is here, what

        9    they are doing, are they being productive."

      10          Q.      The next page begins with James.

      11          A.      Yes.    "James."

      12          Q.      Go ahead.

      13          A.      "In January.     Which ones up for

      14     review and send groups up.         What can we bundle.

      15     Send up chart calendar.         Expand chart.      New

      16     metrics.     Specific reasons for designating that

      17     can be measured for future designations.

      18     Deviation from starting point."

      19          Q.      Best recollection, that all that you

      20     just related were observations made by James?

      21          A.      I'm not sure.      I can't tell.

      22          Q.      Okay.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 289 of 463 PageID #:
                                     8723

                                                                         Page 289
        1         A.      "On I-821 form."

        2         Q.      What is that?

        3         A.      That is the TPS application.

        4         Q.      All right.

        5         A.      "On I-821 form.      What other data

        6    could we gather and put into our systems to

        7    gather merit based and contributions to

        8    society."

        9         Q.      Do you have a recollection of whose

      10     observation that was?

      11          A.      No.   I'm not sure who said that.

      12          Q.      What did you mean -- or what was the

      13     purpose for you to capture the observation

      14     about gathering merit based and contributions

      15     to society?

      16                  MR. MARUTOLLO:      Objection.     Again, I

      17     think that still goes to something beyond this

      18     document in terms of calling for internal

      19     government deliberations so I instruct

      20     Ms. Anderson not to answer.

      21                  BY MR. CONNELLY:

      22          Q.      Go ahead.    You can continue reading
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 290 of 463 PageID #:
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                                                                         Page 290
        1    on the bottom of the page.

        2         A.      "New data collecting proposal to S2.

        3    Present a plan by" -- I can't read the next

        4    couple of words, "by the" something "of"

        5    something "June/July for a plan to gather new

        6    data as part of Sudan, South Sudan briefing.

        7    Prospective for new form.         Late June/early July

        8    proposals for more data collection.            Check with

        9    Kathy on info."

      10          Q.      The reference to Kathy, is that

      11     Kathy Kovarik?

      12          A.      Kathy Nuebel Kovarik.

      13          Q.      And the last thing that you just

      14     read which concludes your handwritten notes, do

      15     you have a recollection of whose observations

      16     those were?

      17          A.      I'm sorry.     I was looking at -- can

      18     I go back for one second.

      19          Q.      Sure.

      20          A.      This Anderson 0005 that -- the page

      21     that begins James --

      22          Q.      Uh-huh.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 291 of 463 PageID #:
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                                                                         Page 291
        1           A.     -- at the top.     I think that

        2    reflects from there on, a separate conversation

        3    that I had with James immediately following the

        4    broader meeting, so I think that -- the end of

        5    the Page 00004 was the end of the group

        6    meeting.

        7           Q.     And then near the end of the

        8    separate meeting with James, there is a

        9    reference to a new form.

      10                   Can you tell me what the new form

      11     was?

      12          A.       Where are you?

      13          Q.       About five lines from the very end

      14     on 06.      Prospective for new form.

      15          A.       I think that was continuing to talk

      16     about the possibility of amending the TPS

      17     application form.

      18          Q.       Is the larger meeting, not the James

      19     meeting afterwards, but is this meeting held

      20     perhaps on May 19 which included Secretary Duke

      21     and Gene Hamilton, is this the meeting that

      22     left you as you described in your e-mail
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 292 of 463 PageID #:
                                     8726

                                                                         Page 292
        1    fuming?

        2                 MR. MARUTOLLO:      Objection.

        3                 You can answer.

        4                 THE WITNESS:     This is the meeting

        5    that I was referring to in that May 20 e-mail,

        6    yes.

        7                 BY MR. CONNELLY:

        8         Q.      What was it about the meeting that

        9    left you fuming?

      10                  MR. MARUTOLLO:      Objection.     I'm

      11     going to direct the witness not to answer, that

      12     would go to the deliberations that occurred

      13     during the meeting, the substance of which

      14     would be subject to deliberative process

      15     privilege.

      16                  MR. CONNELLY:      Okay.   Well, that --

      17     actually, that, among the many disagreements we

      18     have, that is probably the best example and we

      19     will probably run up to the judge in terms of

      20     who is right or wrong in terms of how much

      21     right we have to probe this witness's

      22     understanding of what happened and her reaction
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 293 of 463 PageID #:
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                                                                         Page 293
        1    to it.

        2                 MR. MARUTOLLO:      Again, that's fine,

        3    I mean, we are happy to go to the Court, but at

        4    the same time, I mean, we are not pretending to

        5    bring Ms. Anderson back, because, I mean, if

        6    we're going to go --

        7                 MR. CONNELLY:      I'm going to do it

        8    today.

        9                 MR. MARUTOLLO:      Right, I mean, at

      10     the same time, look, if there is other -- I

      11     mean, I realize there have been a number of

      12     issues that I have instructed the witness not

      13     to answer, I mean, not sure what exactly we're

      14     going to go to the Court on, which one or which

      15     particular question, but...

      16                  MR. CONNELLY:      I mean, I'm not going

      17     to give the guy a long laundry list and we will

      18     kind of tighten it up and give him several at

      19     some point this afternoon.

      20                  MR. MARUTOLLO:      Again, that's fine.

      21     I think we are in, like, the fifth hour, so I

      22     mean -- of the deposition.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 294 of 463 PageID #:
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                                                                          Page 294
        1                 MR. CONNELLY:      Not quite, but okay.

        2    Who is counting?

        3                 MR. MARUTOLLO:      We're getting close,

        4    right?     But, you know, again, we are happy if

        5    you want to talk off the record, too, about

        6    other compromises that could be reached, we are

        7    happy to go to the Court.

        8                 MR. CONNELLY:      No, either she is

        9    here or she comes back or she doesn't.             We will

      10     figure it out.       We will see where we go.

      11                  MR. MARUTOLLO:      And again, the

      12     reason I bring up the time though is that if

      13     the Court is not available now and if we wait

      14     until the end, we're not going to bring the

      15     witness back.

      16                  MR. CONNELLY:      That's my bad.      Maybe

      17     the Court will still tell you to bring her

      18     back, but I understand, that is my risk if that

      19     happens.

      20                  MR. MARUTOLLO:      Right.

      21                  BY MR. CONNELLY:

      22          Q.      Okay.    Let's go now to -- let me ask
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 295 of 463 PageID #:
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                                                                         Page 295
        1    our last question, perhaps getting the same

        2    objection.

        3                 Do you recall whether any of the

        4    lines that you captured here in these

        5    observations or summaries that -- were any of

        6    these observations the basis for your fuming

        7    after the meeting?

        8                 MR. MARUTOLLO:      Objection.

        9                 You can answer.

      10                  THE WITNESS:     I think that many of

      11     the notes that I capture here formed the basis

      12     for my frustration after the meeting, yes.

      13                  BY MR. CONNELLY:

      14          Q.      I take it -- I should ask the

      15     question, then you can object.

      16                  And more specifically, what in the

      17     notes or -- led to your frustration or your

      18     fuming?

      19                  MR. MARUTOLLO:      Objection.

      20                  You can answer that.

      21                  THE WITNESS:     I think broadly, it

      22     was a general sense coming out of the meeting
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 296 of 463 PageID #:
                                     8730

                                                                         Page 296
        1    of the direction of the TPS program and the

        2    types of information that was going to be

        3    considered as part of TPS.

        4                 BY MR. CONNELLY:

        5          Q.     Let's go now to KA-51, which your

        6    best guess might have occurred perhaps on

        7    Monday, May 22, when you thought that perhaps

        8    the public announcement of the extension was

        9    made.

      10           A.     I have it in front of me.

      11           Q.     Okay.   So the first line, I will

      12     quote to you and then ask you.          It says:     "End

      13     close to 7/23," I will interpret that as July

      14     23.

      15                  What is that a reference to?

      16                  MR. MARUTOLLO:      Again, objection.

      17     Without revealing any internal government

      18     deliberations, you can explain what that is

      19     referencing.

      20                  THE WITNESS:     I'm not entirely sure

      21     but my best guess is that that is when we

      22     expected that the 50-day reregistration period
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 297 of 463 PageID #:
                                     8731

                                                                         Page 297
        1    for Haiti TPS would be likely to end.

        2                 BY MR. CONNELLY:

        3         Q.      All right.

        4         A.      Under the extension that was being

        5    announced.

        6         Q.      Why don't you go ahead now and read

        7    the bullet points or the tick marks on the

        8    first page.

        9         A.      "S1 made decision on Section 244,

      10     nothing more.       Conditions have substantially

      11     improved since 2010.        Congress asked us to look

      12     at conditions that led to initial designations

      13     and not at other conditions.          Understand some

      14     fine lines to draw there.         S1.   Commitments and

      15     statements from Haitian government that they

      16     want their nationals back to help rebuild.

      17     These are precisely the entrepreneurial people.

      18     Some language skills.        S1 highly encouraging to

      19     pack up."

      20          Q.      And S1 is a reference to then

      21     Secretary Kelly?

      22          A.      Yes.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 298 of 463 PageID #:
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                                                                         Page 298
        1         Q.      Do you have a recollection as to

        2    whose observations these are on this page?

        3         A.      I don't.

        4         Q.      Do you have in mind, even though you

        5    have already indicated you can't be quite

        6    precise of the date from the notes, do you have

        7    a recollection of who attended this meeting?

        8         A.      This was I think -- it was called an

        9    embargoed media call, so it was just prior to

      10     the public announcement of the Haiti TPS

      11     extension decision.       So it was a public call

      12     that many media individuals participated in.

      13                  I went to the NAC, the DHS

      14     headquarters, to be part of the call and speak

      15     on behalf of the government.          I was there, Gene

      16     Hamilton spoke on the call, Brandon Prelogar

      17     spoke on the call, and then there were a host

      18     of communications individuals there for DHS as

      19     well.

      20          Q.      Does this page capture things that

      21     were said on the call by someone in the

      22     government?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 299 of 463 PageID #:
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                                                                         Page 299
        1         A.      That is my best guess, but it's hard

        2    to know for certain.

        3         Q.      And then I realize you've already

        4    told me this but I can't help myself, but you

        5    don't -- as we sit here this afternoon, you are

        6    uncomfortable, you know, giving your best

        7    estimate of who it was, whose observations you

        8    are capturing on this first page?

        9         A.      I don't remember who was saying

      10     this.

      11          Q.      Okay.   Let's go to Page 2.

      12                  Let me ask you again, now that

      13     you've put this in context, so all of these

      14     notes which run four pages, all of these will

      15     be notes that occurred contemporaneously during

      16     the course of this embargoed media call which

      17     occurred shortly before the public

      18     announcement?

      19          A.      I think so.

      20          Q.      Okay.

      21          A.      "Evidence to show Haiti on track to

      22     recover and why six months.          Gene.   FRN will
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 300 of 463 PageID #:
                                     8734

                                                                            Page 300
        1    outline conditions.       Must look at statute.          Can

        2    be differing views.       No, they are not ideal as

        3    compared to United States.         Six months

        4    warranted now.       But may not be the case in the

        5    future."     We are going to make the hard

        6    decisions.     Congress -- "we are going to make

        7    the hard decisions Congress requires us to

        8    make.     S1 felt six months.      Draw conclusion in

        9    the future.     Will look at each country and

      10     analyze conditions and make independent

      11     informed analysis.       Crime?"

      12          Q.      I'm sorry.     Let's stop there.       Do

      13     you have a recollection, was this a -- let me

      14     first ask you.

      15                  In this embargoed media call, does

      16     there come a point where people on the call are

      17     allowed to ask questions?

      18          A.      Yes, there was.

      19          Q.      Okay.   And do you have any

      20     recollection off of this note:          "Crime?"     Was

      21     that an issue that was raised by someone in the

      22     media or do you have a recollection?
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                                                                         Page 301
        1         A.      What issue?

        2         Q.      Crime?

        3         A.      Oh, crime.     I would guess yes, but

        4    it is possible that knowing that it would

        5    likely be a question that was affirmatively

        6    raised on the call, but my assumption is that

        7    somebody asked on the call.

        8         Q.      Why don't you go ahead and read that

        9    last four or five lines of Page 9.

      10          A.      "Crime?    S1 made his decision on

      11     factors outlined in 244."         S1 asked for -- "S1

      12     asks for info.      Is about programmatic

      13     integrity.     Common sense questions.         Like

      14     crime.    Employed in school.        U.S. has not

      15     previously collected or reported on previously.

      16     S1 needs to be able to answer to American

      17     people.    Static conditions in Haiti independent

      18     of earthquake."

      19          Q.      Let's stop there.       Do you know

      20     whether the government has someone record and

      21     type up the -- something closer to a verbatim

      22     when these embargoed media calls are made?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 302 of 463 PageID #:
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                                                                         Page 302
        1                 MR. MARUTOLLO:      Objection.

        2                 You can answer to the extent you

        3    know.

        4                 THE WITNESS:     I don't know if there

        5    is a record kept of it.

        6                 BY MR. CONNELLY:

        7         Q.      Do you recall how the portion that

        8    you just read to us which relates to quote

        9    unquote common sense and then crime and then

      10     employed and then in school and then the

      11     observation U.S. has not previously collected

      12     or reported on properly?

      13          A.      I believe that was previously.

      14          Q.      Previously.     Okay.    First of all,

      15     are these, you know, shorthand concepts of

      16     crime, employment and schools, do you recall,

      17     was that -- was the actual observation, was

      18     that about TPS people or Haiti or other

      19     countries who are in the U.S.?

      20                  MR. MARUTOLLO:      Again, only -- I

      21     would object but only to the extent that the

      22     answer refers to internal government
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 303 of 463 PageID #:
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                                                                         Page 303
        1    deliberations that took place outside of this

        2    media embargo, in which media were not

        3    presented.     If media was present during -- and

        4    that answers his question, then you can answer

        5    the question assuming that the media were

        6    present at that point.

        7                 THE WITNESS:     Yes.    I believe this

        8    was reflecting things that were said on the

        9    media call and I think that crime, employed in

      10     school, were referring to looking at the TPS

      11     population in the United States or the TPS

      12     population generally.

      13                  BY MR. CONNELLY:

      14          Q.      Does the characteristics of the TPS

      15     population in the United States, is that a

      16     factor, is that a relevant factor at all in

      17     terms of the continuing conditions in the

      18     country itself?

      19                  MR. MARUTOLLO:      Objection.     I think

      20     that, first, again, Ms. Anderson is not a

      21     30(b)(6) witness and that calls for more of a

      22     policy assessment and second, I would object to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 304 of 463 PageID #:
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                                                                         Page 304
        1    the extent it calls for information that is

        2    related to internal government deliberations,

        3    but with those two limitations in mind, you can

        4    answer the question.

        5                 THE WITNESS:     Can you state the

        6    question one more time.

        7                 BY MR. CONNELLY:

        8         Q.      Sure.   I would rather make the

        9    reporter find it.       I might change it, so you

      10     can answer this one.

      11                  In your personal efforts, you know,

      12     in your involvement over several years with TPS

      13     issues including determinations of TPS or

      14     determinations of extensions or redesignations

      15     of TPS, a part of that process, as I think we

      16     have established, is a factor, not the only

      17     factor, but a factor in -- especially in

      18     extensions is the current conditions in the

      19     foreign country, correct?

      20                  MR. MARUTOLLO:      Objection.     First,

      21     again, I -- it assumes facts not in evidence,

      22     and I think it mischaracterizes the testimony
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 305 of 463 PageID #:
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                                                                         Page 305
        1    as well, and I still assert deliberative

        2    process privilege but you can answer the

        3    question.

        4                 THE WITNESS:     Looking at current

        5    conditions in a country is part of the TPS

        6    review process.

        7                 BY MR. CONNELLY:

        8         Q.      Okay.   Prior to the May of 2017, had

        9    you ever used any statistics or information

      10     about crime or employment or schooling in the

      11     U.S. for TPS people who were displaced in the

      12     U.S., as a part of your gathering information

      13     to make a determination about whether a TPS

      14     status should be extended?

      15                  MR. MARUTOLLO:      I would just object

      16     again to the extent the answer calls for

      17     information related to internal government

      18     deliberations, I instruct you not to answer

      19     that portion.      Otherwise, you can answer the

      20     question.     Although I note also an objection on

      21     vagueness grounds.

      22                  THE WITNESS:     I think there were
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 306 of 463 PageID #:
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                                                                         Page 306
        1    several pieces in there that make it difficult

        2    for me to give one clear answer to the

        3    question.     Could you break it down a little

        4    bit?

        5                 BY MR. CONNELLY:

        6         Q.      I could.     You know what, let me -- I

        7    mean, it's fair for me to do this, but I mean,

        8    rather than for me to guess, where does your

        9    confusion lie?      Where is it -- how is it easier

      10     for you to answer the question if I break it

      11     down?

      12                  MR. MARUTOLLO:      Objection.     I think

      13     you can answer that question, but I mean, it's

      14     ultimately the counsel's deposition, but you

      15     can answer the question.

      16                  THE WITNESS:     I am struggling with

      17     kind of the piece in my previous experience,

      18     what are you talking about, also TPS people

      19     displaced in the United States, I'm not sure

      20     what you mean by that exactly.

      21                  BY MR. CONNELLY:

      22          Q.      Thank you.     That's helpful because I
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 307 of 463 PageID #:
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                                                                         Page 307
        1    can do a better job.

        2                 Talking about the topics of crime,

        3    employment and schools, was that a reference to

        4    trying to gather statistics on those topics

        5    relating to people who were enjoying TPS status

        6    in the United States?

        7                 MR. MARUTOLLO:      Objection.     Again,

        8    to the extent it calls for internal government

        9    deliberations, I instruct you not to answer,

      10     but otherwise, to the extent you understand the

      11     question, you can answer the question.

      12                  THE WITNESS:     I do think those were

      13     referring to characteristics of individuals who

      14     held TPS status.

      15                  BY MR. CONNELLY:

      16          Q.      Okay.   And prior to this time, in

      17     your work generating determinations about

      18     designations or redesignations or extensions,

      19     had you ever considered or used any of those

      20     factors in the work that you did?

      21                  MR. MARUTOLLO:      Objection.     I would

      22     still first argue vague, and then to the extent
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 308 of 463 PageID #:
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                                                                         Page 308
        1    -- and compound, and to the extent this calls

        2    for internal government deliberations, I still

        3    instruct you not to answer that question, but

        4    you can answer it with that limitation.

        5                 THE WITNESS:     Prior to this May

        6    Haiti TPS extension determination process, I

        7    don't recall looking at the criminality, the

        8    rate of employment or the rate of public school

        9    attendance of TPS beneficiaries in order to

      10     make a recommendation on whether TPS should be

      11     designated, extended or terminated.

      12                  THE VIDEOGRAPHER:       Can we go off the

      13     record for a second so I can swap tapes.

      14                  MR. CONNELLY:      Sure.

      15                  THE VIDEOGRAPHER:       We're going off

      16     the record.

      17                  The time is 16:11.

      18                  (A short recess was taken.)

      19                  THE VIDEOGRAPHER:       We're going back

      20     on the record.

      21                  The time is 16:19.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 309 of 463 PageID #:
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                                                                         Page 309
        1         Q.      Could you go to KA-52.        That's the

        2    third of your four sets of handwritten

        3    documents, and I think you told us before that

        4    you best -- as you can place this, this meeting

        5    would have occurred perhaps sometime before the

        6    FRN was issued on May 24?

        7         A.      I believe it was, but the more

        8    important piece of it, I think it was after the

        9    decision was made.

      10          Q.      That decision was that the

      11     designation would be extended?

      12          A.      For six months.

      13          Q.      For six months, just for Haiti.

      14          A.      Yes.

      15          Q.      I'm sorry, if you told me, I don't

      16     recall.

      17                  Who was at this meeting?

      18          A.      This was a meeting convened by

      19     Secretary Kelly and again, it was to talk about

      20     TPS more broadly than just Haiti.           It was

      21     following this scramble to make the TPS

      22     decision about Haiti and looking at the process
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 310 of 463 PageID #:
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                                                                         Page 310
        1    in general going forward.

        2         Q.      I'm going to ask you -- we may not

        3    cover all of this, but why don't you go ahead

        4    and read the first page where there are four

        5    asterisked items.

        6                 You know what, after the first

        7    asterisk, I will have you stop because you have

        8    a page break and perhaps that suggests a

        9    different -- let's get started.

      10          A.      "Temporary in the title.        But no

      11     other clear guidance in statute to indicate how

      12     long it can go on.       18 months at a time.

      13     Temporary element.       But nothing that says how

      14     many times can extend.        And in" --

      15          Q.      Could that be fact?

      16          A.      Yes.   "And, in fact, discretionary

      17     in initial designation.         But not in whether to

      18     extend.    Must continue as long as conditions

      19     are met and no limit on that."

      20          Q.      Do you recall whose observations

      21     those were?

      22          A.      Looking at this first page in the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 311 of 463 PageID #:
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                                                                         Page 311
        1    items that are asterisked, my best recollection

        2    is that these were points that I was thinking

        3    about prior to this meeting that if I had an

        4    opportunity to make in the meeting, I might

        5    make.     I'm not sure that these were statements

        6    made in the meeting.

        7         Q.      All right.     Let's go to the second

        8    asterisk in the middle of the page.

        9         A.      "Need to look back at last

      10     redesignation for relevant condition."

      11          Q.      Continue to the third asterisk.

      12          A.      "Can look at subsequent events that

      13     compound effects of initial event and prevent

      14     country from recovery.        Food insecurity."

      15          Q.      And the final asterisk on the first

      16     page?

      17          A.      "State.    Political tool.      Valuable

      18     partner in understanding conditions on the

      19     ground since they are there.          Usually solid

      20     analysis of country conditions.           Then include

      21     discretionary factors.        Helpful for us to know

      22     their position especially in initial.            When
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 312 of 463 PageID #:
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                                                                         Page 312
        1    have discretion.       And good to understand the

        2    bilateral issues.       For example, work with

        3    government on repatriation.          Bundling where we

        4    can.      Consider in relationship but case by

        5    case."

        6         Q.       And then the last asterisk which

        7    finishes Page 2 or Anderson 13 is the Bates

        8    number.

        9         A.       "Could include what we do have in

      10     memo.     Demographic data, gender, age, resident

      11     status at time of application, travel to

      12     country, remittances, standard section in memos

      13     could continue to enrich" -- I'm not sure of

      14     the next word:      "On time."

      15          Q.      Is your best recollection that all

      16     of these points that you just read were things

      17     that you had arranged in your own mind and

      18     committed to writing prior to the meeting?

      19          A.      Yes.   I think these were my thoughts

      20     of contributions I might make in the meeting if

      21     there was an opportunity.

      22          Q.      Did you ever have an opportunity to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 313 of 463 PageID #:
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                                                                         Page 313
        1    make any of these points?

        2                 MR. MARUTOLLO:      Objection.     To the

        3    extent it calls for internal government

        4    deliberations, I would instruct you not to

        5    answer because it goes to the substance of what

        6    was actually discussed at the meeting but to

        7    the extent, it's reflected in your subsequent

        8    notes, you can answer that as well.

        9                 THE WITNESS:     I don't know

      10     specifically.      I contributed to the meeting,

      11     we'd have to walk through the notes and see how

      12     they match up.      I'm not sure.

      13                  BY MR. CONNELLY:

      14          Q.      Besides yourself and Secretary

      15     Kelly, who else was at the meeting?

      16          A.      I attended with James McCament for

      17     USCIS.    I remember that Gene Hamilton was

      18     there.    I don't remember other specific

      19     individuals off the top of my head although I

      20     think the office of general counsel for DHS was

      21     represented.

      22          Q.      All right.     Let's do this.      I have a
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 314 of 463 PageID #:
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                                                                         Page 314
        1    curiosity about a couple of things, so I'm

        2    going to go to those.

        3                 On page -- the third page which is

        4    Anderson 14.

        5         A.      Okay.

        6         Q.      Near the bottom, it says:         "How do

        7    you send CA home?"

        8                 See that?

        9         A.      I do.

      10          Q.      What is CA a reference to?

      11          A.      Central Americans.

      12          Q.      Do you have a recollection of whose

      13     observation or question that was?

      14          A.      I believe that that was Secretary

      15     Kelly.

      16          Q.      And then why don't you go ahead and

      17     read the entirety of that little section.

      18          A.      "How do you send Central Americans

      19     home.     Been here for so long.       Work with

      20     Congress to fix.       Can't kick people out after

      21     15 years.     Haitians saying long roots here."

      22          Q.      Could you go back to the top of that
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 315 of 463 PageID #:
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                                                                         Page 315
        1    page and just go ahead and read it to yourself.

        2    It will be faster, but anytime you believe that

        3    the observations were made by Secretary Kelly,

        4    point those out and I will have you read them.

        5         A.      I'm sorry, the top of Page 14?

        6         Q.      Yes.    I mean, just begin on the top

        7    of Page 14, if you would like to silently go

        8    through it.

        9         A.      "Understanding 18 months."

      10          Q.      No, no.    I'm sorry.

      11          A.      I was going to say I believe that

      12     this was Secretary Kelly's opening statement.

      13     "Understanding 18 months only."           I believe that

      14     was Secretary Kelly.

      15          Q.      Okay.

      16          A.      Other than James's response, "yes."

      17     I believe that these next things were also

      18     reflecting Secretary Kelly.          "People recovered

      19     in short term.       Temporary."     I don't know,

      20     "this temp, temporary, NAT."          I'm not sure what

      21     I meant.     "Up to me."     That was Secretary

      22     Kelly.
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                                                                         Page 316
        1                 I believe this was all from

        2    Secretary Kelly.       "Compounding events, bodies

        3    all buried."      I don't know what "O/C" means.

        4    "Armed conflict.       By definition not temporary."

        5                 So then you have a break where it

        6    looks like Gene made a comment and then again:

        7    "How do you send Central Americans home" was

        8    Secretary Kelly, as I mentioned before.

        9         Q.      Do you happen to recall what you

      10     meant when you recorded "bodies all buried?"

      11                  MR. MARUTOLLO:      Objection.

      12                  You can answer.

      13                  THE WITNESS:     I think there must

      14     have been some kind of example talking about,

      15     as mentioned before, compounding events, and

      16     then in that discussion of looking at whether

      17     the bodies were all buried or not.           I don't

      18     know more than that.        I think it was an

      19     example.

      20                  On Page 15, I'm looking at Page 15.

      21                  BY MR. CONNELLY:

      22          Q.      Okay.
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                                                                         Page 317
        1         A.      I think that at least from the

        2    beginning of the page through:          "Sunset clause.

        3    Would be good but Congress has no moral

        4    courage."     I believe that whole part of the

        5    page is Secretary Kelly.

        6         Q.      What are the observations -- what

        7    did you mean by writing down:          "Why not make

        8    them all legal."

        9                 MR. MARUTOLLO:      Objection.     Again,

      10     to the extent it calls for internal government

      11     deliberations, I ask you not to answer, that's

      12     under the deliberative process privilege, but

      13     if you can answer that question with that

      14     limitation, you can do so.

      15                  THE WITNESS:     I think Secretary

      16     Kelly was musing about steps that Congress

      17     could take related to TPS.

      18                  I'm not sure about this line that

      19     looks like it begins SUM.         I'm not sure who

      20     said that, but the next line:          "Why did S1

      21     extend without thinking about it," was

      22     Secretary Kelly.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 318 of 463 PageID #:
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                                                                         Page 318
        1                 BY MR. CONNELLY:

        2         Q.      Is S1 a reference to Secretary

        3    Kelly?

        4         A.      I think it's a reference to past

        5    secretaries of Homeland Security.

        6         Q.      Is your note capturing what

        7    Secretary Kelly used?        In other words, what did

        8    you mean by the former Homeland Security

        9    secretaries extended without thinking about it?

      10                  MR. MARUTOLLO:      Objection.

      11                  You can answer.

      12                  THE WITNESS:     My note captures what

      13     I believe Secretary Kelly asked the question,

      14     why did previous secretaries extend without

      15     thinking about it.       And then I think that's --

      16                  BY MR. CONNELLY:

      17          Q.      Was there a response?

      18                  MR. MARUTOLLO:      Objection.     I mean,

      19     if -- to the extent it calls for internal

      20     government deliberations, I instruct you not to

      21     answer.    To the extent it's on your notes, I

      22     think that's fair for you to answer.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 319 of 463 PageID #:
                                     8753

                                                                         Page 319
        1                 THE WITNESS:     I think there was

        2    discussion following that question that is not

        3    reflected in my notes.

        4                 MR. CONNELLY:      Fair game for me,

        5    Robert, or do you view that as deliberative?

        6                 MR. MARUTOLLO:      I still think any

        7    substantive discussions at the meeting that are

        8    not reflected in these notes would be

        9    deliberative.      I mean, we would maintain our

      10     objection.

      11                  MR. CONNELLY:      All right.

      12                  BY MR. CONNELLY:

      13          Q.      Let's look, if you would, let's move

      14     along to 16, the next page, in the middle of

      15     the page, there is a reference to Haitian

      16     ambassador or AMB, which I would interpret as

      17     ambassador.

      18          A.      Ambassador, yes.

      19          Q.      Could you read that?

      20          A.      "Haitian ambassador.       They had" -- I

      21     haven't been able to figure out this word that

      22     begins with S.      "They have" blank "and thought
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 320 of 463 PageID #:
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                                                                         Page 320
        1    it would be automatic.        Not a bad people but

        2    they are welfare recipients.          James.    Yep.

        3    Upper one-half percent."

        4         Q.      So the comment yep, presumably that

        5    was made by James?

        6         A.      Yes.

        7         Q.      The rest of the comments that you

        8    just read, do you recall whose observations

        9    they were?

      10          A.      Secretary Kelly.

      11          Q.      And what did you mean by "they are

      12     not a bad people but they are welfare

      13     recipients, "in taking that note down.             Was

      14     that a reference to Haitians in the U.S.?

      15                  MR. MARUTOLLO:      Again, I would

      16     object to the extent it calls for internal

      17     government deliberations and instruct you not

      18     to answer under the deliberative process

      19     privilege and also to the extent it calls for

      20     speculation.      To the extent it's explaining

      21     what this note meant, we would permit

      22     Ms. Anderson to answer.
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                                                                         Page 321
        1                 THE WITNESS:     I wrote this down to

        2    remember what Secretary Kelly said.

        3                 BY MR. CONNELLY:

        4         Q.      Is that a -- did you capture

        5    everything he said or is this just a summary of

        6    this particular topic?

        7                 MR. MARUTOLLO:      Objection.

        8                 You can answer.

        9                 THE WITNESS:     Certainly, in general.

      10     My notes don't capture every word that was

      11     said, so I can't guarantee that I captured

      12     every word.

      13                  BY MR. CONNELLY:

      14          Q.      But to the extent you can recall and

      15     that the note is refreshing your recollection,

      16     which apparently was your purpose of using

      17     them, the reference to "not a bad people but

      18     they are welfare recipients," do you recall

      19     whether that was -- whether that was

      20     articulated that that was a reference to

      21     Haitians in the U.S. as opposed to Haitians

      22     living in Haiti?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 322 of 463 PageID #:
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                                                                         Page 322
        1                 MR. MARUTOLLO:      Objection.

        2                 You can answer.

        3                 THE WITNESS:     I understood it to

        4    mean Haitians generally.

        5                 BY MR. CONNELLY:

        6         Q.      What about the reference to upper

        7    half percent?        What did you mean by capturing

        8    that observation?

        9                 MR. MARUTOLLO:      Same objection as

      10     earlier related to deliberative process, but

      11     you can answer.

      12                  THE WITNESS:     Best I can recall,

      13     Secretary Kelly was saying something about the

      14     upper one-half percent of Haitian society and

      15     I'm not sure.      I can't recall what he meant by

      16     that or why he was referencing that.

      17                  BY MR. CONNELLY:

      18          Q.      Okay.    Let's -- because the

      19     remainder of the notes I think largely cover

      20     countries other than Haiti, I think we will --

      21     I'll forego having you review it.

      22          A.      Okay.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 323 of 463 PageID #:
                                     8757

                                                                         Page 323
        1         Q.      Let's go to the very last page of

        2    your notes, KA-50, which are the ones that were

        3    -- pretty clearly seem to be on May 31, 2017?

        4         A.      Yes.

        5         Q.      It also references Haiti TPS

        6    stakeholder call.       Is that unique or is that

        7    something that has a recurring call?

        8                 MR. MARUTOLLO:      Objection.     Again, I

        9    instruct the witness to answer only to the

      10     extent you know as a fact witness rather than

      11     as a 30(b)(6) witness for anything else.

      12                  THE WITNESS:     It's a common practice

      13     for USCIS after any TPS decision is made, to

      14     host a call and invite TPS stakeholders to call

      15     in and get information about the decision and

      16     ask questions.

      17                  BY MR. CONNELLY:

      18          Q.      Who would the stakeholders be?

      19          A.      They are often NGOs or legal service

      20     providers, individuals can call in.            Sometimes

      21     you have individuals who have TPS, any members

      22     of the public who are interested in the TPS
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 324 of 463 PageID #:
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                                                                          Page 324
        1    decision.

        2         Q.      So this would be obviously not just

        3    an internal government call, but would include

        4    third parties and outsiders?

        5         A.      Correct.

        6         Q.      Did you participate in this call?

        7         A.      Yes, I did.

        8         Q.      Have you regularly participated in

        9    calls like this?

      10          A.      Yes.

      11          Q.      And then you have Q&A.        Tell me,

      12     well, why don't you read your middle note and

      13     then I will ask you a little bit about it.

      14          A.      "Haitian community disappointed for

      15     only six months as opposed to 18 months.             Cruel

      16     to require fee for six months.          Also

      17     disappointed.       Kathy asked for criminal

      18     background when statute allows for two

      19     misdemeanors."

      20          Q.      Go ahead.

      21          A.      "To get auto extension, must request

      22     new EAD and pay the fee."
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                                     8759

                                                                         Page 325
        1         Q.      Do you have a recollection of about

        2    how long this call lasted?

        3         A.      They usually last approximately an

        4    hour.     I don't know for sure.

        5         Q.      Do you know whether any government

        6    agency makes a transcript or keeps a recording

        7    of these calls?

        8                 MR. MARUTOLLO:      Objection.

        9                 You can answer.

      10                  THE COURT:     Our USCIS, I think it's

      11     actually changed titles but the customer --

      12     customer service and public engagement

      13     directorate at least at this time hosted these

      14     calls, and I know they provide a readout of the

      15     call so there should be some record.            I don't

      16     know that it is a transcript, but there should

      17     be some more official record of the call.

      18                  BY MR. CONNELLY:

      19          Q.      So obviously, your little summary

      20     doesn't come anywhere close to, you know,

      21     intending to capture -- if indeed, the call

      22     lasted about an hour, you don't pretend to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 326 of 463 PageID #:
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                                                                         Page 326
        1    capture everything that was asked and answered,

        2    correct?

        3         A.      Not even close.

        4         Q.      Do you happen to remember why the

        5    couple of comments that you did make, that you

        6    quoted about disappointment with only six

        7    months and cruel to require fees and

        8    disappointment about Kathy.          Again, I assume

        9    that that is your supervisor?

      10          A.      Kathy Nuebel Kovarik.

      11          Q.      Yeah.    Asking about criminal

      12     backgrounds, why did you -- what caused you to

      13     capture those particular observations during

      14     the course of this longer call?

      15                  MR. MARUTOLLO:      Objection.     Again,

      16     to the extent it does call for internal

      17     government deliberations, I would instruct you

      18     not to answer.       To the extent it is related to

      19     a media assessment or something that was done

      20     to an outside government entity, then you can

      21     answer the question, but if it is only related

      22     to internal deliberations, again, I would
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 327 of 463 PageID #:
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                                                                         Page 327
        1    instruct you not to answer, but otherwise,

        2    please answer.

        3                 THE WITNESS:     I think these are two

        4    questions that came up during the question and

        5    answer period, and many of the questions and

        6    answers in this type of call are procedural or

        7    operationally-focused, asking how to get TPS or

        8    extend TPS, and because I work on the policy

        9    aspect of TPS, these two questions were more

      10     policy-related so I wanted to remember them.

      11                  BY MR. CONNELLY:

      12          Q.      Do you recall in a little greater

      13     detail whatever the question might have been

      14     that prompted Kathy or maybe how the topic of

      15     Kathy asking for criminal background

      16     information, give me the larger context as best

      17     you can remember from your note helping your

      18     memory what that was about.

      19          A.      My best recollection is that

      20     somebody on the call, a public caller, must

      21     have been aware, I assume through possibly

      22     leaked e-mails at this point, although I'm not
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 328 of 463 PageID #:
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                                                                         Page 328
        1    sure of the timing of that, but my best guess

        2    is that someone was aware that Kathy had made

        3    the request and just made the statement on the

        4    call that that person was disappointed that

        5    this information had been asked for,

        6    particularly because the TPS statute allows

        7    someone who has up to two misdemeanors to

        8    receive and maintain TPS.

        9           Q.    Do you remember, was Kathy on the

      10     call?

      11          A.      I don't think so.

      12          Q.      Do you remember that someone on

      13     behalf of the government responded to the

      14     question, or maybe it wasn't a question, maybe

      15     it was an observation.

      16                  Was there a response to this topic

      17     being raised?

      18          A.      I don't recall what the response

      19     was.

      20          Q.      Okay.   Let's go to 28.

      21                  (Deposition Exhibit KA-28 was marked

      22     for identification.)
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 329 of 463 PageID #:
                                     8763

                                                                         Page 329
        1                 BY MR. CONNELLY:

        2          Q.     I am only interested in what's on

        3    the first page but as always, acclimate

        4    yourself.

        5          A.     Okay.

        6          Q.     Okay.   The middle e-mail on May 23

        7    at 3:44 p.m., you are not initially on that

        8    e-mail, correct?

        9          A.     No.

      10           Q.     It looks like -- but you did get in

      11     the e-mail chain then two days later on May 25?

      12           A.     Yes.

      13           Q.     Okay.   And May 23 was the day before

      14     the FRN extending the Haiti designation for six

      15     months, correct?

      16           A.     I believe that was.

      17           Q.     You can go back and take a look at

      18     it.

      19           A.     May 24th, wasn't it?

      20           Q.     Yeah, I believe so.       Okay.    And in

      21     this e-mail in the middle of it, I'll read it

      22     to you, it says:       "DCOS comments, for S1
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 330 of 463 PageID #:
                                     8764

                                                                         Page 330
        1    letters on Haiti TPS."

        2                 S1 letters would be letters for

        3    Secretary Kelly?

        4         A.      I'm sorry, what is what?

        5         Q.      S1 is Kelly?

        6         A.      S1 is Kelly, but can you repeat what

        7    you said.

        8         Q.      That's okay.     That's really what I

        9    wanted to know.      So it effectively says:         "For

      10     Kelly letters on Haiti TPS, he wants a stronger

      11     response beginning to build a case for not

      12     extending."

      13                  Did I read that correctly?

      14          A.      Yes.

      15          Q.      Then it says:      "From S1, make case

      16     as such," and then emphasizes some points that

      17     include highlight temporary nature, 2010

      18     earthquake is the only reason for TPS being

      19     granted, as well as some additional suggested

      20     language.

      21                  Do you see that?

      22          A.      I see that.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 331 of 463 PageID #:
                                     8765

                                                                         Page 331
        1         Q.      I understand you are neither -- you

        2    only get this two days later, but this is all

        3    being written literally the day before the

        4    extension is made public, right?

        5                 MR. MARUTOLLO:      Objection.     Again,

        6    to the extent that you became aware of that

        7    information, you can answer.

        8                 THE WITNESS:     I think we have had

        9    some confusion about this today and we've never

      10     quite pinned it down, but the date that the

      11     federal register notice was published was the

      12     24th.     I thought that the announcement was made

      13     in the days prior to that, so there was a

      14     public announcement and that was followed by

      15     the publication of the Federal Register notice.

      16                  BY MR. CONNELLY:

      17          Q.      Okay.   So these observations and --

      18     again, I am not asking you to embrace them

      19     because you didn't make them, but these

      20     observations, your best recollection are being

      21     made, this internal e-mail is, to your best

      22     recollection, circulating just sometime very
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 332 of 463 PageID #:
                                     8766

                                                                         Page 332
        1    shortly after it was publicly announced that

        2    Haiti was going to be extended for six months?

        3         A.      That's my best recollection, yes.

        4         Q.      And then you are brought into --

        5    somebody pulls you in, gives you the e-mail

        6    chain.    Do you know who -- because it just says

        7    from policy clearance.

        8                 Do you know what person sent this

        9    e-mail to you and others?

      10          A.      It is signed from Efren.

      11          Q.      Signed in the body?

      12          A.      In the body.     The one from policy

      13     clearance mailbox it looks like.

      14          Q.      Who is Efren?

      15          A.      Efren is somebody who works in the

      16     office of policy and strategy and part of his

      17     role was circulating taskers, we call them, to

      18     the right people in the office to get the work

      19     done.

      20          Q.      What is Efren's last name?

      21          A.      I believe it's Hernandez.

      22          Q.      Okay.   And he begins by saying:         "It
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 333 of 463 PageID #:
                                     8767

                                                                         Page 333
        1    pains me to send this in light of yesterday's

        2    conversation."

        3                 Do you recall being in a

        4    conversation with Efren and perhaps others on

        5    May 24?

        6           A.    I don't, no.

        7           Q.    He goes on to say:       "There were

        8    problems with the person who was supposed to

        9    cover the box on Tuesday.         I am doing it

      10     today."

      11                  What is the task of covering the

      12     box?

      13          A.      I think he's talking about the

      14     policy clearance mailbox, the e-mail address

      15     that is in the From line so it's an e-mail box

      16     that circulates again tasks for people in the

      17     office to complete.

      18          Q.      And after May 25, did you become one

      19     of the people who at least partially was asked

      20     to try to assist in the stronger response that

      21     was being sought by Secretary Kelly?

      22                  MR. MARUTOLLO:      Again, I would
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 334 of 463 PageID #:
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                                                                         Page 334
        1    object to the extent it calls for internal

        2    government deliberations, but I would instruct

        3    you not to answer under the deliberative

        4    process privilege, but otherwise, you can

        5    answer the question.

        6                 THE WITNESS:     I did work on the

        7    response to this incoming letter.           It looks

        8    like it was from Cardinal Joseph Hogan.             I did

        9    work on the response.

      10                  BY MR. CONNELLY:

      11          Q.      Let's go to KA-29, which is 10924.

      12                  (Deposition Exhibit KA-29 was marked

      13     for identification.)

      14                  BY MR. CONNELLY:

      15          Q.      We will probably go through most of

      16     this.     I know you have been good about reading

      17     everything already.

      18          A.      Okay.   Okay.

      19          Q.      The very first e-mail is from Tina

      20     Wimbush, W-I-M-B-U-S-H, on June 7, and she

      21     references the department.

      22                  Is that the Department of Homeland
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 335 of 463 PageID #:
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                                                                         Page 335
        1    Security?

        2         A.      Yes.

        3         Q.      You told me this previously, but

        4    EXSO, what is that an acronym for?

        5         A.      I think it's executive secretariat

        6    or executive secretary's office.

        7         Q.      An office that she is in apparently,

        8    right?

        9         A.      Yes.   Oh, I see it says below.

      10     Office of the executive secretary.

      11          Q.      And then is it fair to say, and if

      12     you flip if you want to, that she notes, I'll

      13     quote it:     "Upon review of the revised draft,

      14     it does not cover all the specific points as

      15     laid out by DCOS for S1 letters on Haiti TPS.

      16     He wants a stronger response, beginning to

      17     build a case for not extending," and then

      18     further, the additional language in terms of

      19     what is being looked for is exactly -- he just

      20     picks up exactly what was in the May 23 e-mail

      21     that I just showed you, which is part of KA-28.

      22          A.      Yes.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 336 of 463 PageID #:
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                                                                         Page 336
        1         Q.      Is that right?

        2         A.      Yes.

        3         Q.      And then this chain does run a bit,

        4    but you first get involved, as best I can tell,

        5    on June 7, so same day, she was at 1:16 p.m.,

        6    at 2:38 p.m., a little more than an hour later,

        7    you are first writing something in the chain

        8    and you say:      "This is ridiculous.       No need to

        9    consult, but feel free to give me a call this

      10     afternoon" if you'd like someone to talk it

      11     through with, "if you would like someone to

      12     talk you through with."

      13                  What were you referencing was

      14     ridiculous?

      15                  MR. MARUTOLLO:      Again, objection to

      16     the extent it calls for internal government

      17     deliberations.      I would instruct you not to

      18     answer under the deliberative process

      19     privilege.     I think you can answer as to the

      20     document that you were referring to, that you

      21     termed ridiculous.

      22                  THE WITNESS:     I was referring to the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 337 of 463 PageID #:
                                     8771

                                                                           Page 337
        1    request to further revise this response letter.

        2                 BY MR. CONNELLY:

        3         Q.      And why had you concluded that it

        4    was ridiculous to try to do that?

        5                 MR. MARUTOLLO:      I would object to

        6    the extent again, this calls for internal

        7    government deliberations.         I would instruct you

        8    not to answer under the deliberative process

        9    privilege.     Again, it reflects a personal

      10     opinion of Ms. Anderson, you know, and I think

      11     it -- I'm going to instruct the witness not to

      12     answer that question as phrased.

      13                  BY MR. CONNELLY:

      14          Q.      What -- did you have concerns with

      15     the request, presumably so, if you summarized

      16     it as ridiculous, correct?

      17                  MR. MARUTOLLO:      Objection.     I will

      18     make the same objection I made a moment ago.              I

      19     direct the witness not to answer at least again

      20     based on that phrasing.

      21                  BY MR. CONNELLY:

      22          Q.      What -- you had a negative reaction
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 338 of 463 PageID #:
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                                                                         Page 338
        1    to the request.      Is that a fair statement?

        2                 MR. MARUTOLLO:      Same objection, but

        3    you can answer based on what is in front of

        4    you, the document in front of you.

        5                 THE WITNESS:     Yes.

        6                 BY MR. CONNELLY:

        7         Q.      And why did you have that reaction?

        8                 MR. MARUTOLLO:      Again, I would

        9    object to the extent, first, it goes beyond

      10     this document, and second, it calls for

      11     internal government deliberations.           Reflects

      12     personal opinion, interpretation of the author

      13     of this document, Ms. Anderson, at least this

      14     e-mail, so I would instruct the witness not to

      15     answer the question.

      16                  MR. CONNELLY:      And, you know, a

      17     couple of times, Joe, you said the question as

      18     asked.    Not your responsibility to get me to

      19     ask the right question but we've been dancing

      20     around this for a very long time.           Is there any

      21     -- I want to probe, you know, what, why she had

      22     this reaction.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 339 of 463 PageID #:
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                                                                         Page 339
        1                 Is there any way for me to formulate

        2    any question that you're going to not instruct

        3    her to not answer?

        4                 MR. MARUTOLLO:      I mean, I don't

        5    think that's a fair assessment.           I mean,

        6    throughout this deposition, there have been

        7    multiple times when I've objected and then

        8    you've rephrased and I have permitted her to

        9    answer so, I mean, I am not formulating

      10     questions, but I am happy to continue in good

      11     faith.

      12                  I would note again, this is a

      13     document that was originally deemed

      14     deliberative.      This is a comment that was made

      15     by a government official and I think, you know,

      16     there is even an argument that, you know, what

      17     we could potentially argue here, that it's

      18     intended to embarrass the witness as well under

      19     Rule 30(d)(3), so I mean, I think there is a

      20     number of arguments we raise.          I think the

      21     document speaks for itself, but we are happy to

      22     continue the deposition obviously.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 340 of 463 PageID #:
                                     8774

                                                                         Page 340
        1                 MR. CONNELLY:      Okay.   Okay.    For

        2    whatever it's worth, I can easily see where

        3    this e-mail chain may embarrass Tina Wimbush.

        4    I don't know why it would necessarily embarrass

        5    anybody who had a strong negative reaction to

        6    it, but that was not my intent.

        7                 BY MR. CONNELLY:

        8         Q.      Well, let me try this.        What did you

        9    mean when you said this is ridiculous?

      10                  MR. MARUTOLLO:      Again, I would

      11     object on the grounds of internal government

      12     deliberations, but I think given my prior

      13     objections, I think it's fair to explain what

      14     you meant by ridiculous.         I think that's a fair

      15     compromise, without waiving any other

      16     privileges but specific to that question.

      17                  THE WITNESS:     I guess I would say I

      18     meant that I thought that a request to continue

      19     to revise this letter was ridiculous, that's

      20     what I meant by saying it.         I thought that it

      21     was ridiculous.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 341 of 463 PageID #:
                                     8775

                                                                         Page 341
        1         Q.      And then your -- the next person in

        2    the chain, Mr. Prelogar makes the observation,

        3    "unreal?"

        4                 Do you see that?

        5         A.      I do.

        6         Q.      Did you have an understanding --

        7    well, did you have an understanding -- I don't

        8    want you to speculate on what was in his head,

        9    but did you have any understanding what he

      10     meant by that word?

      11                  MR. MARUTOLLO:      Again, I would

      12     object because it also calls for speculation as

      13     counsel notes, but again, to the extent you can

      14     explain this document, subject to our

      15     objections related to deliberative process

      16     privilege, you can do so.

      17                  THE WITNESS:     You are asking for my

      18     understanding of his entire message or one

      19     particular word?

      20                  BY MR. CONNELLY:

      21          Q.      Well, I mean, his message is

      22     relatively short.       The whole message is -- I
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 342 of 463 PageID #:
                                     8776

                                                                         Page 342
        1    will just pull some stuff from his statement,

        2    "unreal."

        3                 I am just asking for you to explain,

        4    if you had an understanding at the time, if you

        5    had an understanding of what unreal was

        6    intended to convey.

        7                 What is the import of that

        8    observation?

        9                 MR. MARUTOLLO:      Again, I would just

      10     instruct the witness to answer only to the

      11     extent it does not implicate the deliberative

      12     process privilege.       Doesn't go beyond the four

      13     corners of this document, particularly since

      14     you did not draft that e-mail.

      15                  With those limitations in mind, you

      16     can answer the question.

      17                  THE WITNESS:     I took him to have a

      18     reaction that was similar to mine, that the

      19     request to further revise this response letter

      20     was surprising.

      21                  BY MR. CONNELLY:

      22          Q.      You then -- less than three minutes
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 343 of 463 PageID #:
                                     8777

                                                                         Page 343
        1    later, closer to two minutes later, you got

        2    back to Mr. Prelogar and said:          "Do you see the

        3    suggested language?       It's amazing (and mostly

        4    incorrect.)     This idea of localized damage from

        5    the earthquake is insane."

        6                 What did you mean when you said the

        7    idea of localized damage for the earthquake is

        8    insane?

        9                 MR. MARUTOLLO:      Again, I would

      10     object to the extent it calls for internal

      11     government deliberations.         I instruct you not

      12     to answer under the deliberative process

      13     privilege, but to the extent you can explain

      14     what that sentence means within the four

      15     corners of this document, you can answer the

      16     question.

      17                  THE WITNESS:     In the suggested

      18     language that was sent to us in the 1:16

      19     e-mail, a piece of that proposed or suggested

      20     language says:      "Primarily localized damage in

      21     capital region of Port-au-Prince," I think it's

      22     talking about the previous sentence, that the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 344 of 463 PageID #:
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                                                                         Page 344
        1    damage from the 2010 earthquake that had

        2    ravaged Port-au-Prince and that there was

        3    primarily localized damage, that statement did

        4    not accord with my understanding of the impact

        5    of the 2010 earthquake.

        6                 BY MR. CONNELLY:

        7         Q.      And going to the top of page

        8    Bates-numbered 10925, same page we are on, let

        9    me make sure.

      10                  I'm sorry.     The top e-mail is a

      11     trailer from the previous page, so this is your

      12     e-mail on June 7 at 2:51 p.m. back to Mr.

      13     Prelogar, and you say at the end of your

      14     relatively short message:         "At least the

      15     untruth things said by SEC K can be attributed

      16     to him."

      17                  I take it that SEC K is Secretary

      18     Kelly?

      19          A.      Yes.

      20          Q.      And what did you mean by noting that

      21     the untruth things could be attributed to him?

      22                  MR. MARUTOLLO:      Again, I assert the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 345 of 463 PageID #:
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                                                                         Page 345
        1    objection not to answer anything that reveals

        2    internal government deliberations, but again,

        3    as a compromise here, we will agree for you to

        4    answer and explain that sentence in the e-mail

        5    that you drafted.

        6                 THE WITNESS:     I think I meant that

        7    you can see in this chain that we were

        8    discussing the potentially one way to respond

        9    to this request to revise, was to essentially

      10     use the language from Secretary Kelly's public

      11     statement about the decision that he had made

      12     on TPS, and so in the sentence, I was

      13     reflecting that anything in that statement that

      14     I thought might be untrue were stated by him

      15     rather than us.

      16                  BY MR. CONNELLY:

      17          Q.      The final e-mail in the chain is by

      18     Mr. Prelogar shared with you about -- it

      19     appears to be less than an hour later, about 40

      20     minutes later, and here, this looks like a

      21     draft of some kind of a memo or a letter.

      22                  Can you tell me what -- just the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 346 of 463 PageID #:
                                     8780

                                                                         Page 346
        1    format of what he's providing to you after his

        2    observation:      "This ought to do it."

        3         A.      I think this was his proposed draft,

        4    new draft letter to respond to this request to

        5    further revise the response letter.            This was

        6    the language he proposed to put forward.

        7         Q.      And who was the letter going to be

        8    sent to?

        9                 MR. MARUTOLLO:      Objection.

      10                  You can answer to the extent you

      11     know, or if it is not readily apparent in the

      12     e-mail.

      13                  THE WITNESS:     I can't tell from this

      14     e-mail chain from KA-28 that we had looked at

      15     earlier.     It looks like this entire task was

      16     related to a response letter to go to Cardinal

      17     Joseph Hogan but I can't tell that for sure

      18     from KA-29.

      19                  BY MR. CONNELLY:

      20          Q.      Who is -- okay.      Cardinal, I happen

      21     to know as long as it may be, I still remember

      22     some of my Catholic terminology.           Eminence is
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 347 of 463 PageID #:
                                     8781

                                                                         Page 347
        1    often used as a -- I think is the appropriate

        2    designation to give to a cardinal.

        3         A.      I think this was the appropriate

        4    title or at least Brandon thought it to be,

        5    yes.

        6         Q.      And where was the cardinal?         Just

        7    broadly, was he in Haiti or was he in the

        8    United States or do you know?

        9         A.      I don't know.      I guess my assumption

      10     was that it was -- he was in the United States

      11     but I don't know for sure.

      12          Q.      All right.     I'm going to give you

      13     the next document which will be KA-30.

      14                  (Deposition Exhibit KA-30 was marked

      15     for identification.)

      16                  BY MR. CONNELLY:

      17          Q.      This is really just a continuation.

      18     Most of this document, I think is the same

      19     chain through the last couple of entries on the

      20     first page.

      21          A.      Okay.

      22          Q.      But I am going to take you to the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 348 of 463 PageID #:
                                     8782

                                                                         Page 348
        1    middle page.

        2                 Let's go back to where we have been

        3    already in the middle of Page 561, the second

        4    page, we have already covered this a bit, but

        5    you -- I'm drawing your attention to your 2:51

        6    p.m. statement on June 7, at least the:             "At

        7    least the untruth things said by Secretary

        8    Kelly can be attributed to him."

        9                 And then that is followed by a draft

      10     by Prelogar in response to the cardinal.             In

      11     that draft, there are a number of quotes

      12     attributed to Secretary Kelly.

      13                  Are you able to tell me which, among

      14     those quotes, you think were untrue things?

      15                  MR. MARUTOLLO:      Again, objection to

      16     the extent this calls for internal government

      17     deliberations, I will instruct the witness not

      18     to answer under the deliberative process

      19     privilege.

      20                  To the extent there are items that

      21     you want to explain further than you've already

      22     answered and explained, then so be it, but
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 349 of 463 PageID #:
                                     8783

                                                                         Page 349
        1    otherwise, I would instruct you not to answer.

        2                 BY MR. CONNELLY:

        3         Q.      Let me -- I'm going to deliberately

        4    make this a compound question before you got to

        5    answer because it's kind -- your e-mail

        6    brackets this draft letter.

        7                 If you go to the first page at 4:54

        8    p.m., so we are now talking about two hours

        9    later, you send an e-mail to Mr. Prelogar and

      10     you say:     "That's the best possible combo of

      11     true things from you and quotes of not true

      12     things from SK."

      13                  SK is Secretary Kelly?

      14          A.      Yes.

      15          Q.      "Nicely done."      So whether you --

      16     whether you formulate, you know, what you were

      17     thinking, wondering was untrue at 2:51 or what

      18     was untrue at 4:54 p.m., I'd like you to tell

      19     me what you found to be untrue things stated by

      20     Secretary Kelly that were included in the draft

      21     response to the cardinal?

      22                  MR. MARUTOLLO:      Again, I would
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 350 of 463 PageID #:
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                                                                         Page 350
        1    assert the same objection related to internal

        2    government deliberations, and instruct you not

        3    to answer under the deliberative process

        4    privilege.     To the extent you want to explain

        5    any items within the four corners of this

        6    document, we would permit you to answer that

        7    question.

        8                 THE WITNESS:     Saying these items

        9    were untrue perhaps was a bit hyperbolic, but I

      10     did have concerns about some of the country

      11     conditions stated, and again, I don't know that

      12     what Brandon proposed to go forward was

      13     everything that was in the secretary's

      14     statement, so between my two e-mails, the 2:51

      15     e-mail was referring to the entire statement

      16     that I made, so there may have been more

      17     elements in a statement that I found to be or

      18     characterized as untruth than what ultimately

      19     got in this draft.

      20                  But if you look at Page 20561, the

      21     second paragraph, talking about the secretary

      22     elaborating on Haiti's progress.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 351 of 463 PageID #:
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                                                                         Page 351
        1                 BY MR. CONNOLLY:

        2         Q.      Right.    And then a fairly long

        3    quote, the remainder of that paragraph is a

        4    quote presumably from the secretary, correct?

        5         A.      So to me, several of those elements

        6    didn't characterize the current conditions in

        7    Haiti fully or in the same way that I would

        8    have characterized them as being fully

        9    accurate.

      10          Q.      Let's go to KA-31 which is 880.

      11                  (Deposition Exhibit KA-31 was marked

      12     for identification.)

      13                  BY MR. CONNELLY:

      14          Q.      Okay.    I want to direct your

      15     attention to your e-mail of July 18 at 12:53

      16     p.m. to David Cloe, C-L-O-E.

      17          A.      Yes.

      18          Q.      David is who?

      19          A.      He's, as you can see in his

      20     signature block above, the director of the

      21     Latin America Caribbean affairs in the DHS

      22     headquarters office of policy.
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                                                                         Page 352
        1         Q.       And I am going to read the

        2    paragraph.

        3                  "Yesterday, we participated in a

        4    call with our Acting Director McCament and

        5    Ambassador Merten relating to S1's interest in

        6    the Haitian government actually to facilitate

        7    the return of its nationals to Haiti during the

        8    six-month TPS extension that was announced in

        9    May.      S1 has told the Haitian government on a

      10     couple of occasions that the steps they take

      11     during the six-month TPS extension to help

      12     their nationals in the U.S. obtain updated

      13     travel documents and to otherwise encourage and

      14     facilitate their return to Haiti, will be

      15     something that he takes into account when

      16     considering whether Haiti's TPS designation

      17     should be further extended.          The State is not

      18     aware of any affirmative steps that the Haitian

      19     government has taken in this regard so far?"

      20                  Did I read that accurately?

      21          A.      Yes.

      22          Q.      Does your little summary accurately
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 353 of 463 PageID #:
                                     8787

                                                                         Page 353
        1    reflect, you know, where things stood on this

        2    issue in July 18 of 2017?

        3                 MR. MARUTOLLO:      Objection.     Again,

        4    to the extent it calls for internal government

        5    deliberations, I would instruct you to answer

        6    -- not -- I would instruct you not to answer

        7    under the deliberative process privilege.             You

        8    can limit your answer to what is in the four

        9    corners of this document which is KA-31.

      10                  THE WITNESS:     It accurately

      11     reflected my understanding at that time.

      12                  BY MR. CONNELLY:

      13          Q.      Okay.   So the -- I'm going to

      14     summarize, and you can tell me whether I've it

      15     right.    That Kelly was saying that if the Haiti

      16     government encouraged and facilitated the

      17     return to Haiti of some of their people, that

      18     action would be something that he, the decision

      19     maker on the TPS status, would take into

      20     account when he next considered whether Haiti's

      21     TPS designation should be further extended.

      22                  Is that a fair characterization?
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 354 of 463 PageID #:
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                                                                         Page 354
        1                 MR. MARUTOLLO:      Again, I would

        2    object to the characterization as the document

        3    speaks for itself and I would also object on

        4    the ground it's vague, and further with respect

        5    to deliberative process, because this was still

        6    a deliberative e-mail communication, but given

        7    those limitations, you can answer the question.

        8                 THE WITNESS:     I think that the

        9    sentence as I worded it in the e-mail is a fair

      10     characterization of what I understood to be the

      11     -- what the secretary had told the Haitian

      12     government.

      13                  BY MR. CONNELLY:

      14          Q.      Okay.   Would -- in your estimation

      15     and in your, you know, the professional factors

      16     that you consider in these determinations for

      17     an extension, does the return of foreigners to

      18     their country, is that a current condition to

      19     be considered in deciding on whether or not an

      20     extension should be granted?

      21                  MR. MARUTOLLO:      I would object to

      22     that question as phrased.         First, vagueness
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 355 of 463 PageID #:
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                                                                         Page 355
        1    grounds and second, again, this witness is not

        2    a 30(b)(6) witness.       This is a question for the

        3    decision maker, and I think it certainly goes

        4    to deliberative materials as to what factors

        5    were considered in reaching a final decision,

        6    so we would certainly object and direct the

        7    witness not to answer that question as phrased.

        8                 BY MR. CONNELLY:

        9         Q.      Are you going to follow that

      10     direction?

      11          A.      Yes.

      12          Q.      Had you ever, prior to this

      13     suggestion by Secretary Kelly that he might be

      14     influencing his decision making by whether

      15     people were returning to the country, had that

      16     factor, people returning to their country, ever

      17     been a part of your process in making

      18     determinations about extensions or

      19     designations?

      20                  MR. MARUTOLLO:      Objection, again, as

      21     phrased.     I would object as -- first as vague

      22     and certainly calls for information related to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 356 of 463 PageID #:
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                                                                         Page 356
        1    internal government deliberations, and also

        2    presumes facts not testified to today regarding

        3    a process and whether or not -- and frankly,

        4    ultimately, the secretary is the one who makes

        5    the decisions not Ms. Anderson, so on those

        6    grounds as well, we would object and direct the

        7    witness not to answer that question as phrased.

        8                 BY MR. CONNELLY:

        9         Q.      Could you tell me if there is

      10     anything -- if you go back to the very first

      11     document that I provided to you today, which

      12     presumably is KA-1, and that's the actual

      13     statutory basis for the TPS issue.

      14                  Do you have that before you?

      15          A.      Yes.

      16          Q.      We just briefly glanced along some

      17     of the ideas or some of the concerns about

      18     ongoing armed conflict, earthquake, flood,

      19     drought, epidemic, other environmental disaster

      20     and then finally, extraordinary and temporary

      21     conditions.     Remember, I think we had at least

      22     a brief discussion about that.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 357 of 463 PageID #:
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                                                                         Page 357
        1         A.      We discussed the statute.

        2         Q.      Yeah.   And I think you told me that

        3    you were, you know, familiar with those

        4    concepts, correct?

        5         A.      I'm familiar with this section of

        6    the law.

        7         Q.      Yeah.   Okay.    Then we briefly

        8    discussed it in -- a little bit further, the

        9    extensions and what the attorney general or his

      10     designee which in this case would be the

      11     secretary of Homeland Security, what he would

      12     do in determining whether or not conditions for

      13     redesignation should be continued.

      14          A.      You are talking about Section 3A?

      15          Q.      Yes.

      16          A.      Yes.

      17          Q.      Okay.   I would just like to ask you

      18     if there is any basis in the statute itself,

      19     show me in the statute where swapping out

      20     whether a country would ask its people back is

      21     a valid consideration in terms of whether a

      22     designation should be further extended.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 358 of 463 PageID #:
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                                                                         Page 358
        1                 MR. MARUTOLLO:      I would object and

        2    instruct the witness not to answer.            Again,

        3    this is a fact witness, she is not an expert

        4    witness, not a 30(b)(6) witness.

        5                 If that question calls -- as

        6    phrased, calls for a legal conclusion and, you

        7    know, frankly at this stage, I think it is

        8    bordering on harassment.         We are now in Hour 6

        9    at least I think of the deposition, it is about

      10     5:15, and admittedly, we did take an hour lunch

      11     break, but we haven't even gotten into the Duke

      12     determination at issue in this litigation yet.

      13                  Now we are going back to earlier

      14     exhibits, you know, so I mean, obviously, you

      15     can take a deposition as you like, but I'm not

      16     going to permit Ms. Anderson to, you know, to

      17     answer questions again about her understanding

      18     of the statute and statutory factors when it's

      19     irrelevant as a fact witness to her testimony

      20     and, you know, so I would just object and

      21     instruct the witness not to answer that

      22     question.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 359 of 463 PageID #:
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                                                                         Page 359
        1                 BY MR. CONNELLY:

        2         Q.      Have you ever -- in your role in

        3    helping assist and gather information so that

        4    the secretary can make a decision about either

        5    designating or extending a TPS status for a

        6    country, have you -- have you ever offered that

        7    encouraging people to return to the country

        8    would be an appropriate factor to consider in

        9    making that determination?

      10                  MR. MARUTOLLO:      Again, I object.       I

      11     think that calls for internal government

      12     deliberations about the substance of

      13     communications that are made.          Given the way

      14     that the question is phrased, we'd instruct the

      15     witness not to answer that question under the

      16     deliberative process privilege.

      17                  BY MR. CONNELLY:

      18          Q.      Have you ever -- other than this

      19     singular instance, are you aware of a secretary

      20     or his delegate ever seeking to at least

      21     partially base his decision on extending a TPS

      22     determination based upon whether the country
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 360 of 463 PageID #:
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                                                                         Page 360
        1    was encouraging its people to return?

        2                 MR. MARUTOLLO:      Again, I would make

        3    the same objection again.         To the extent you

        4    later learned in a Federal Register notice or a

        5    final determination, that was a factor, if you

        6    learned at some point based on public

        7    information that was made final, I think you

        8    can answer that, but otherwise, I direct you

        9    not to answer, so you can answer with that

      10     limitation in mind.

      11                  THE WITNESS:     Can you specify what

      12     element in particular you are wondering if --

      13     was ever taken into account?

      14                  BY MR. CONNELLY:

      15          Q.      An attempt by Haiti or any other

      16     foreign country to facilitate the return of its

      17     people.

      18                  MR. MARUTOLLO:      I would just object

      19     on vagueness grounds as well, but again, given

      20     our limitation that I just noted about being

      21     related to a final agency determination that

      22     you came across, even though you are not an
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 361 of 463 PageID #:
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                                                                         Page 361
        1    expert witness or a 30(b)(6) witness, you can

        2    answer in your capacity as a fact witness in

        3    this case.

        4                 THE WITNESS:     In general, the

        5    ability for a state to handle returns to this

        6    date, as well as whether nationals can return

        7    in safety, is part of the statutory basis that

        8    has been considered in the past as far as I

        9    understand it, as to whether a TPS designation

      10     can be made and should be extended or

      11     terminated.

      12                  BY MR. CONNELLY:

      13          Q.      Are you basically referencing an

      14     ability of a country to reabsorb their people

      15     would be a factor to consider in continuing TPS

      16     status or deciding whether to extend it?

      17                  MR. MARUTOLLO:      Object on vagueness

      18     grounds and mischaracterizing the testimony

      19     that Ms. Anderson just provided, but with those

      20     objections in mind, you can answer the

      21     question.

      22                  THE WITNESS:     In particular, I'm
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 362 of 463 PageID #:
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                                                                         Page 362
        1    referencing the statutory language for

        2    environmentally-based designation, which is

        3    (b)(1)(b).

        4                 So in the environmental basis for a

        5    designation, part of the statutory

        6    requirements, II, is that the foreign state is

        7    unable temporarily to handle adequately the

        8    return to the state of aliens who are

        9    nationals, so for environmentally-based

      10     designations, that is a statutory

      11     consideration.      Under C, for countries that are

      12     designated on the basis of extraordinary and

      13     temporary conditions, one of the -- again,

      14     statutory considerations is whether those

      15     extraordinary and temporary conditions in the

      16     foreign state prevent aliens who are nationals

      17     of the state from returning to the state and

      18     safety.

      19                  So for Haiti, which was designated

      20     on extraordinary and temporary conditions

      21     grounds, one of the statutory elements to

      22     consider is whether there are conditions in the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 363 of 463 PageID #:
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                                                                          Page 363
        1    foreign state that prevent aliens who are

        2    nationals of the state from running to the

        3    state and safety.

        4                 MR. CONNELLY:      Let's do this.      I

        5    think maybe we have got about an hour left.              I

        6    could be better if I spent some time thinking

        7    through where I want to go and what I want to

        8    do with that time, so let's take a short break.

        9    I don't care if you stay in place or you want

      10     to move around, but let's do that.

      11                  MR. MARUTOLLO:      Sure.    Thank you.

      12                  THE VIDEOGRAPHER:       We're going off

      13     the record.

      14                  The time is 17:22.

      15                  (A short recess was taken.)

      16                  THE VIDEOGRAPHER:       We're back on the

      17     record.

      18                  The time is 17:32.

      19                  BY MR. CONNELLY:

      20          Q.      We're going to ask you to take a

      21     look at KA-34 which appears to be a draft of a

      22     DHS statement about terminating Haiti.
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                                                                         Page 364
        1                 (Deposition Exhibit KA-34 was marked

        2    for identification.)

        3                 BY MR. CONNELLY:

        4         Q.      I'm really not going to ask you much

        5    about the content, but you let me know when you

        6    are comfortable having me ask you questions.

        7         A.      Let me look at it a bit.        Okay.

        8         Q.      Did you take part in generating this

        9    draft?

      10          A.      Yes, I believe so.

      11          Q.      Do you know who else was involved in

      12     that process?      That's too broad a question.

      13                  I mean, were there co-authors

      14     besides yourself or were you the principal

      15     drafter?

      16                  MR. MARUTOLLO:      Objection to the

      17     extent the -- which time, I guess I would just

      18     ask for clarification, but you can answer the

      19     question.

      20                  THE WITNESS:     Sure, without knowing

      21     exactly which draft this is, it looks like it

      22     was leading up to the May decision because we
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 365 of 463 PageID #:
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                                                                         Page 365
        1    are talking about the designation being set to

        2    expire on July 22.

        3                 So I would say, yes, I was involved

        4    in drafting this, probably co-authored it with

        5    Brandon.

        6                 BY MR. CONNELLY:

        7         Q.      Let's go to -- I'm going to give you

        8    another document.       I'm going to give you KA-36.

        9                 (Deposition Exhibit KA-36 was marked

      10     for identification.)

      11                  THE WITNESS:     Okay.

      12                  BY MR. CONNELLY:

      13          Q.      This one I'm going to go a little

      14     bit differently.       I mean, this -- the chain

      15     runs for a full week, it starts on October 6

      16     and runs through October 13.          I'm going to go

      17     to the last memo first with you.

      18                  That's a memo from Kathy Nuebel

      19     Kovarik to several people including yourself

      20     and she says:      "I am going to send you a

      21     revision of all three memo by 10:00 a.m."

      22                  Having looked through the full
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 366 of 463 PageID #:
                                     8800

                                                                         Page 366
        1    chain, can you tell me or do you have a

        2    recollection of what the three memo are that

        3    she is referencing here?

        4                 MR. MARUTOLLO:      Objection.

        5                 You can answer.

        6                 THE WITNESS:     It's hard for me to be

        7    certain from this chain, but my best guess is

        8    that there were recommendation memos for the

        9    three Central American countries designated for

      10     TPS, Honduras, Nicaragua and El Salvador, but

      11     it's hard for me to be certain.

      12                  BY MR. CONNELLY:

      13          Q.      All right.     Just a one-off question.

      14     There is a -- on the first page, there is an

      15     acronym reference to RU and one of the other

      16     memos.

      17                  What is RU?

      18          A.      It's research unit, a research unit.

      19          Q.      Okay.   Were you involved in any or

      20     all of those three Central American memos?

      21                  MR. MARUTOLLO:      Objection.

      22                  You can answer.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 367 of 463 PageID #:
                                     8801

                                                                         Page 367
        1                 THE WITNESS:     Again, I am not

        2    entirely sure that those are the three memos

        3    being referred to here but I was involved in

        4    drafting the recommendation memos for the three

        5    Central American countries.

        6                 BY MR. CONNELLY:

        7         Q.      Okay.   I assume that it would be

        8    expected in drafting those memos, you did your

        9    level best to, you know, take all available

      10     information and generate a memo that, you know,

      11     reflected your best efforts to let the decision

      12     makers know what the circumstances were in the

      13     country?

      14                  MR. MARUTOLLO:      Objection.

      15                  But you can answer the question.

      16                  THE WITNESS:     Yes, that's my normal

      17     process.

      18                  BY MR. CONNELLY:

      19          Q.      And then Kovarik goes on to say in

      20     her October 13 memo:        "The problem is that it

      21     reads as though we'd recommend an extension

      22     because we talk so much about how bad it is,
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 368 of 463 PageID #:
                                     8802

                                                                         Page 368
        1    but there is not enough in there about positive

        2    steps that have been taken since its

        3    designation."

        4                 Given your uncertainty of the three

        5    memos and now we go into a singular tense,

        6    using the phrase "it," but could you tell me --

        7    can you recall from having received this

        8    memo -- I mean having received this e-mail,

        9    what Kovarik was referencing when she said,

      10     there is a problem that it reads as though we'd

      11     recommend an extension because of how much is

      12     bad and not enough about positive steps?

      13                  MR. MARUTOLLO:      Objection.     Again,

      14     it calls for speculation for the reasons

      15     counsel noted, but you can answer the question.

      16                  THE WITNESS:     It seems to me as

      17     though she is talking about either all three

      18     memos in question, although using the singular

      19     or one of those memos in particular.            I guess

      20     it would be all three as they were being done

      21     at the same time.

      22                  BY MR. CONNELLY:
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 369 of 463 PageID #:
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                                                                         Page 369
        1         Q.      Okay.   And more particularly, do you

        2    have any recollection that your product, if

        3    indeed you had drafted one or more of these

        4    memos, do you have a recollection of your

        5    product being questioned by Kathy Kovarik for

        6    talking about, you know, how bad it is in the

        7    country and not enough about the positive

        8    steps?

        9                 MR. MARUTOLLO:      Objection.     I would

      10     instruct the witness not to answer to the

      11     extent that that question calls for the -- it

      12     calls for internal government deliberation that

      13     will be protected by the deliberative process

      14     privilege, in terms of what a supervisor was

      15     discussing about a draft predecisional

      16     memorandum, so given the way the question was

      17     phrased, I would direct that Ms. Anderson not

      18     answer the question.

      19                  BY MR. CONNELLY:

      20          Q.      I'm going to show you KA-37, which

      21     is just one add-on to this long chain.

      22                  (Deposition Exhibit KA-37 was marked
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 370 of 463 PageID #:
                                     8804

                                                                         Page 370
        1    for identification.)

        2                 BY MR. CONNELLY:

        3          Q.     Feel free to fully compare but I'll

        4    represent in good faith that I believe the only

        5    thing new on this document from the previous

        6    one is the final e-mail which is at the top of

        7    it.

        8          A.     Okay.

        9          Q.     The top memo is from Brandon

      10     Prelogar on October 13 at 8:59 a.m.            As I say,

      11     it follows that previous chain so it's still on

      12     that same topic area.

      13                  He says:    "We can comb through the

      14     country conditions to try to see what else

      15     there might be, but the basic problem is that

      16     it IS bad there WRT," is that with regard to --

      17     is that the acronym for with regard to or do

      18     you know?

      19           A.     I think so, with regard to or with

      20     respect to.     I'm not sure which.

      21           Q.     Or with respect to, "all of the

      22     standard metrics" for his first observation.
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 371 of 463 PageID #:
                                     8805

                                                                         Page 371
        1                 When he says "we," and you are

        2    included on this e-mail, does that help you --

        3    or tell me your best recollection, were you

        4    involved in the process of taking a look at

        5    least one or more of three memos that Kovarik

        6    had mentioned in the prior e-mail, which was

        7    8:51 in the morning on the same day, October

        8    13?

        9                 MR. MARUTOLLO:      Again, I would

      10     object to the extent it calls for internal

      11     government deliberations.         I instruct the

      12     witness not to answer under the deliberative

      13     process privilege, but to the extent you can

      14     explain this e-mail based on this document

      15     that's in front of you, you can answer.             I

      16     would also object on the ground it calls for

      17     speculation as you did not draft this e-mail.

      18                  THE WITNESS:     I think that when he

      19     says "we," he's talking about him and me.               I

      20     was involved.

      21                  BY MR. CONNELLY:

      22           Q.     And he goes on to state as a part of
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 372 of 463 PageID #:
                                     8806

                                                                         Page 372
        1    his relatively short e-mail:          "We can work with

        2    RU," that is research unit?

        3         A.      Yes.

        4         Q.      "To try to get more and/or comb

        5    through the country conditions, we are again

        6    looking for positive gems, but the conditions

        7    are what they are."

        8                 And is it basically kind of just a

        9    bedrock concept in making decisions about

      10     designations or extensions that you are

      11     supposed to try to take a good hard look at

      12     exactly what the conditions are in the country

      13     in order to make an informed decision?

      14                  MR. MARUTOLLO:      Again, I would

      15     object to the extent it calls for internal

      16     government deliberations and I would instruct

      17     the witness not to answer under the

      18     deliberative process privilege, but also

      19     instruct the witness, she may answer but only

      20     to the extent it is in her role as a fact

      21     witness and not as a 30(b)(6) witness for the

      22     agency and in her personal dealings with TPS.
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                                                                         Page 373
        1                 THE WITNESS:     Part of my role is to

        2    take the full and very comprehensive country

        3    condition report that was provided to us by the

        4    research unit and pull out items from the full

        5    report that would be included in the memo that

        6    would go to the secretary.

        7                 I always tried to pull an objective

        8    and balanced and the most critical, as they

        9    seem to me, factors that were in the research

      10     unit report and include them in the draft memo.

      11                  BY MR. CONNELLY:

      12          Q.      All right.     Let's go to KA-38 which

      13     is 1118.

      14                  (Deposition Exhibit KA-38 was marked

      15     for identification.)

      16                  THE WITNESS:     Okay.

      17                  BY MR. CONNELLY:

      18          Q.      All right.     And part of that October

      19     12 memo to Kathy Nuebel Kovarik, the core part

      20     of it says:     "We have written" -- I better go

      21     back.

      22                  Let's take it through, "Kathryn,"
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 374 of 463 PageID #:
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                                                                         Page 374
        1    that is you, correct, in the second -- his

        2    second paragraph?

        3         A.      Yes.

        4         Q.      "And I have completed a draft Haiti

        5    TPS decision memo attached.          In short, based on

        6    our review of country conditions, we have

        7    written it so that it could support either

        8    extension or termination, but left the

        9    recommendation blank pending further

      10     discussion."

      11                  Does that comport with your own

      12     recollection of writing a memo that could

      13     support either extension or termination?

      14                  MR. MARUTOLLO:      Again, I object to

      15     the extent it calls for internal government

      16     deliberations, but otherwise, you can answer

      17     the question to the extent you can explain

      18     based on this document.

      19                  THE WITNESS:     I believe this was an

      20     accurate characterization of how we drafted the

      21     memo.

      22                  BY MR. CONNELLY:
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                                                                         Page 375
        1         Q.      Okay.   And did anyone ask you to

        2    draft the memo giving those dual options?

        3                 MR. MARUTOLLO:      Objection.     Again, I

        4    would say that that calls for internal

        5    government deliberations and as phrased, I

        6    would instruct Ms. Anderson not to answer under

        7    the deliberative process privilege.

        8                 MR. CONNELLY:      No room to answer on

        9    that one?

      10                  MR. MARUTOLLO:      Not -- at least not

      11     the way that's phrased.         I mean, if it's

      12     related to something in this e-mail or

      13     something that she can explain based on this

      14     e-mail, that is one thing, but the way it is

      15     phrased, I would instruct Ms. Anderson not to

      16     answer the question under the deliberative

      17     process privilege.

      18                  BY MR. CONNELLY:

      19          Q.      If you take a look at his first

      20     observation in his e-mail, he says:            "Kathy,"

      21     and that Kathy is spelled K-A-T-H-Y, that is

      22     presumably Kathy Nuebel Kovarik?
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                                     8810

                                                                         Page 376
        1         A.      Yes.

        2         Q.      And "(and Larry.)"       And Larry is

        3    Larry Levine?

        4         A.      Yes.

        5         Q.      "Kathy and Larry who has been

        6    pestering - I mean, italicized "reminding -

        7    us," and then it moves on to talk about the

        8    draft that you completed.         Okay?

        9                 What did you understand Brandon to

      10     be conveying to you in terms of what was being

      11     asked by Kathy and Larry?

      12                  MR. MARUTOLLO:      Objection.     It

      13     assumes facts not in evidence and it also calls

      14     for speculation, and I again reassert the

      15     deliberative process privilege, but limiting

      16     your answer to the objections I've just set

      17     forth and limiting it to this document, you can

      18     answer the question.

      19                  THE WITNESS:     You mean what is being

      20     conveyed to me in this whole e-mail?

      21                  BY MR. CONNELLY:

      22          Q.      Yeah.   Well, that's fine.        Why don't
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 377 of 463 PageID #:
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                                                                         Page 377
        1    you try that and we will see whether your

        2    lawyer is concerned that you are giving me too

        3    much information.

        4                 MR. MARUTOLLO:      I think to the

        5    extent again, that you don't relay any internal

        6    government deliberations and limiting it to

        7    this e-mail, you can answer the question.

        8                 THE WITNESS:     So my understanding of

        9    what Brandon explained here is to provide the

      10     draft of the memo to Kathy for her review,

      11     noting that we had completed the draft and that

      12     following our review of the country conditions,

      13     we had structured it again so that it could

      14     support either an extension determination by

      15     the secretary or a termination determination by

      16     the secretary, but without filling in a USCIS

      17     recommendation.

      18                  BY MR. CONNELLY:

      19          Q.      Do you recall any other times when

      20     you generated a draft -- I don't need to know

      21     the content, just whether you generated any

      22     draft for a TPS decision which, rather than
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 378 of 463 PageID #:
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                                                                         Page 378
        1    coming down with a recommendation, was written

        2    either to support extension or termination?

        3                 MR. MARUTOLLO:      Again, I would

        4    object and I would say that the question as

        5    phrased does call for internal governmental

        6    deliberations, because even though it may not

        7    go into the substance of the country at issue,

        8    it would go into whether or not a

        9    recommendation was or was not provided, and

      10     that would be internal government

      11     deliberations, so the way the question is

      12     phrased, I would instruct the witness not to

      13     answer under the deliberative process

      14     privilege.

      15                  MR. CONNELLY:      Do you -- I'm not

      16     sure this is any different, but I can't think

      17     of any reason why this is privileged

      18     information.

      19                  BY MR. CONNELLY:

      20          Q.      I would like to know whether, other

      21     than on this occasion, you provided TPS

      22     decision memos that were written to support
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 379 of 463 PageID #:
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                                                                         Page 379
        1    either extension or termination?

        2                 MR. MARUTOLLO:      Again, I would

        3    assert the same objection.         I think it's the

        4    same question.      The fact that it's going to the

        5    underlying conclusion and whether or not the

        6    recommendation is blank, is still, in itself,

        7    essentially a recommendation, because it's left

        8    open-ended, so I think again, the way that is

        9    phrased, I think it calls for deliberative

      10     process.     It's subject to the deliberative

      11     process privilege.

      12                  To the extent Ms. Anderson can

      13     answer whether or not she drafted memos related

      14     to TPS more generally, and not limiting it to

      15     times when she left the recommendation blank, I

      16     think she can answer that question, so I mean,

      17     with that limitation, perhaps you can answer.

      18                  MR. CONNELLY:      Although I'm not sure

      19     that that is very useful.         I think it's, you

      20     know, well-established that she drafted other

      21     memos.    I already know that.        I think she's

      22     provided that answer, so I am interested in
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 380 of 463 PageID #:
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                                                                         Page 380
        1    whether this memo was idiosyncratic in the

        2    sense that it was the only one she ever drafted

        3    that left open whether or not to extend or

        4    terminate.

        5                 MR. MARUTOLLO:      Again, I would

        6    reassert the objection and also I would note

        7    that in addition to the deliberative process

        8    privilege, the fact that it's not limited in

        9    any way by any other country and it's the fact

      10     that this is a -- you know, this is already --

      11     an e-mail is included and there's already been

      12     testimony about the Haiti TPS decision memo is

      13     further grounds to instruct the witness not to

      14     answer.

      15                  BY MR. CONNELLY:

      16          Q.      When you said that it was someone

      17     else would be -- it would be left to be filled

      18     in, who was going to fill it in?           Who was going

      19     to make that decision?

      20                  MR. MARUTOLLO:      Just objection.

      21     First, I think it mischaracterizes testimony

      22     about what was said about who would fill things
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 381 of 463 PageID #:
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                                                                         Page 381
        1    in or whether -- whether that was Mr. Prelogar

        2    or Ms. Anderson.

        3                 I further object to the extent it

        4    calls for internal government deliberations,

        5    but I would instruct the witness she can answer

        6    the question with those objections in mind.

        7                 THE WITNESS:     I would note that we

        8    left it blank and as Brandon said, my

        9    understanding was we left it pending further

      10     discussion, so I think we were not sure what

      11     the corporate CIS position was going to be.

      12                  I don't know that it was clear at

      13     the point that this e-mail was written who

      14     ultimately would fill in the recommendation,

      15     but we understood that there were -- there was

      16     further discussion to be had to arrive at the

      17     USCIS recommendation.

      18                  BY MR. CONNELLY:

      19          Q.      I will give you KA-39.

      20                  (Deposition Exhibit KA-39 was marked

      21     for identification.)

      22                  BY MR. CONNELLY:
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                                                                         Page 382
        1         Q.      I'm going to be focused on the

        2    second page.      I will -- take your time to

        3    familiar yourself with the entire e-mail chain.

        4         A.      Okay.

        5         Q.      Am I right that this e-mail chain is

        6    about the CA or Central American TPS decision

        7    memos?

        8         A.      Yes.

        9         Q.      Okay.   And Haiti is not included, I

      10     don't think.

      11          A.      I don't think so.

      12          Q.      Okay.   So very briefly, just on the

      13     Kathy Kovarik October 19, 12:45 a.m. e-mail,

      14     which is on Page 674, the Bates number.

      15          A.      Okay.

      16          Q.      She references comments, suggestions

      17     from Craig.

      18                  Who is Craig?

      19                  MR. MARUTOLLO:      Objection.     Again,

      20     you can answer to the extent you know, but I

      21     instruct the witness not to speculate.

      22                  THE WITNESS:     He's a USCIS chief
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                                                                         Page 383
        1    counsel.

        2                 BY MR. CONNELLY:

        3         Q.      Was he an ordinary part of the kind

        4    of revision process for the TPS decision memos?

        5                 MR. MARUTOLLO:      Again, I would

        6    object not only to the extent it calls for

        7    internal government deliberations, but as chief

        8    counsel, to the extent it implicates the

        9    attorney-client privilege.         I believe as the

      10     witness stated, Craig Symons is the -- I

      11     believe is the chief counsel at USCIS, so to

      12     the extent that there is any questions related

      13     to communications made between Craig Symons

      14     specifically or the office of chief counsel, we

      15     would assert, first, the deliberative process

      16     privilege but also the attorney-client

      17     privilege, so I instruct the witness not to

      18     answer.

      19                  MR. CONNELLY:      Okay.   Again, I am

      20     not a judge, but I think that is pretty thin.

      21     I don't want content.        I am just asking

      22     outwardly, you know, the question without any
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 384 of 463 PageID #:
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                                                                         Page 384
        1    contents requested, whether Symons was an

        2    ordinary part of the revision, not any process

        3    on the TPS memos.

        4                 MR. MARUTOLLO:      Well, I think the

        5    question about whether it goes to revisions or

        6    editing goes to substance of the memos.             I

        7    mean, I think if the extent of your questions

        8    is whether or not, you know, on a privileged

        9    log, Craig Symons would have been listed, I

      10     think that is one thing, but I think that would

      11     be as far as we would permit any questioning

      12     related to the office of legal counsel.

      13                  BY MR. CONNELLY:

      14          Q.      Prior to 2017, did you have any

      15     interactions with Craig Symons?

      16          A.      Craig Symons was a political

      17     appointee and I guess he did work for USCIS

      18     prior to 2017, but I didn't know him prior to

      19     then.

      20          Q.      When was he -- when did he become a

      21     political appointee?

      22          A.      I think he was part of the beachhead
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                                                                         Page 385
        1    team that helped with the transition for USCIS.

        2         Q.      Transition to the Trump

        3    Administration?

        4         A.      Transition to the administration.

        5         Q.      And then what, did he become general

        6    counsel then after the Trump Administration?

        7    His title changed to general counsel?

        8         A.      At some point towards the beginning

        9    of the Trump Administration, he received the

      10     position of chief counsel.

      11          Q.      Okay.   We will go to KA-40.

      12                  (Deposition Exhibit KA-40 was marked

      13     for identification.)

      14                  THE WITNESS:     Okay.

      15                  BY MR. CONNELLY:

      16          Q.      And part of this memo was in a prior

      17     document that I showed you with the lower part,

      18     so I will focus on the -- in the middle of the

      19     memo on October 22, Kathy Nuebel Kovarik asks

      20     Robert Law to take a look at the draft Haiti

      21     TPS decision memo.

      22                  Tell me who Robert Law is.
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                                                                         Page 386
        1          A.     Robert Law is Kathy's -- I guess his

        2    technical title is senior advisor.            He's a

        3    political.

        4          Q.     Appointee?

        5          A.     Yes.

        6          Q.     Brought in by the Trump

        7    Administration?

        8          A.     Yes.

        9          Q.     And he responds to her on October

      10     22:   "The draft," and the draft we are

      11     referring to is the draft that you and Mr.

      12     Prelogar had provided; is that right?

      13                  MR. MARUTOLLO:      Objection.     I would

      14     direct the witness not to answer this question.

      15     This is an e-mail that is between Ms. Kovarik

      16     and Mr. Law.      Ms. Anderson is not even

      17     referenced in this part of the e-mail.

      18                  I think this calls for -- obviously

      19     calls for speculation, but certainly, it is

      20     internal government deliberations of other

      21     government officials not even involving

      22     Ms. Anderson.
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                                                                         Page 387
        1                 BY MR. CONNELLY:

        2         Q.      We're going to slow down.         Let's go

        3    to Brandon Prelogar's Thursday, October 12,

        4    10:11 p.m. e-mail which is on this page, and am

        5    I correct that he says -- copies you, and says

        6    to Kathy Nuebel Kovarik:         "Kathryn" -- meaning

        7    you, "and I have completed a draft Haiti TPS

        8    decision memo attached.

        9                 Is that what he represents in his

      10     e-mail?

      11          A.      Yes.

      12          Q.      And later that day, the next e-mail,

      13     this is all in a chain provided to us within,

      14     you know, the ordinary business records of the

      15     government.

      16                  MR. MARUTOLLO:      With respect to it,

      17     it was not the ordinary business record of the

      18     government.     It was -- we produced it because

      19     it was produced in the Ramos litigation.             We

      20     have not waived deliberative process but in an

      21     effort to avoid really unnecessary litigation,

      22     we have agreed to allow for questions related
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                                                                         Page 388
        1    to these documents as long as they are limited

        2    to the four corners of these documents, so I

        3    would object to that characterization.

        4                 MR. CONNELLY:      Okay.   Although

        5    again, I wasn't looking for an edge, but

        6    really, Joe, is there going to be any question

        7    when we go to trial, is anybody going to claim

        8    these are not business records of the

        9    government?

      10                  MR. MARUTOLLO:      Well, no.     I am not

      11     making a representation about that.            I'm saying

      12     you said in the ordinary course, it was

      13     produced.

      14                  MR. CONNELLY:      Okay.

      15                  MR. MARUTOLLO:      I'm sorry.     To the

      16     extent you meant in the ordinary course at

      17     USCIS, that's one thing.         I'm sorry, if you

      18     meant US -- in the ordinary course of this

      19     litigation, then understood.

      20                  MR. CONNELLY:      That's all right.

      21     Nobody's going to fight about that I don't

      22     think.    The judge won't permit it.
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                                                                         Page 389
        1                   BY MR. CONNELLY:

        2           Q.      But in any event, where -- Prelogar

        3    references a completed draft, a Haiti TPS

        4    decision memo by himself and you on October 12.

        5                   On October 22, on the same e-mail

        6    chain, Kovarik writes to Law and doesn't

        7    include either you or Prelogar, says:            "Can you

        8    look at this draft."

        9                   And he gets back to her later, a few

      10     hours later, and says:        "The draft is

      11     overwhelmingly weighted for extension, which I

      12     do not think is the conclusion we are looking

      13     for."       I guess I'll leave it.

      14                    You know, I mean, it's unfair for

      15     you.    You don't have to be the prover on this,

      16     but I don't think there is any question that we

      17     are talking about the draft Haiti TPS decision

      18     memo by you and your colleague.           That was

      19     observational.       We'll just leave it at that and

      20     move on.

      21                    MR. MARUTOLLO:    We would object to

      22     that observation.
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                                                                         Page 390
        1                 MR. CONNELLY:      That's a fair point

        2    on your part.

        3                 BY MR. CONNELLY:

        4         Q.      Let's go to what I'm going to call

        5    what is 40-A because it wasn't in my original

        6    grouping, 9539.

        7                 (Deposition Exhibit 40-A was marked

        8    for identification.)

        9                 BY MR. CONNELLY:

      10          Q.      I'm not going to spend very much

      11     time on this.       It is largely going to be a

      12     parenthetical observation you make on Page 542

      13     which is four pages in.

      14          A.      542?

      15          Q.      Yes.

      16          A.      Okay.

      17          Q.      My general understanding is that you

      18     were asked to comment on a transcript that was

      19     generated by public comments that Dave Lapin,

      20     L-A-P-I-N, made; is that right?

      21                  MR. MARUTOLLO:      Objection.

      22                  You can answer to the extent it's
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 391 of 463 PageID #:
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                                                                         Page 391
        1    related to this e-mail.

        2                 THE WITNESS:     We were asked to

        3    review and comment this transcript that was

        4    provided to us.      I'm not entirely sure.         I

        5    mean, yes, Dave Lapin spoke, it appears.

        6                 BY MR. CONNELLY:

        7         Q.      Okay.   Who is Dave Lapin?

        8         A.      To the best of my knowledge and

        9    recollection, although I am not certain, I

      10     think he's part of DHS Office of Public

      11     Affairs.

      12          Q.      And down on the bottom, near the

      13     bottom on Page 542, there is a large bracketed

      14     capital letter parenthetical.          Did you generate

      15     those comments?

      16          A.      I think Brandon and I worked on

      17     these comments together.

      18          Q.      Okay.

      19                  MR. CONNELLY:      Let's move to KA-41,

      20     2248.

      21                  (Deposition Exhibit KA-41 was marked

      22     for identification.)
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                                                                         Page 392
        1                 BY MR. CONNELLY:

        2         Q.      My only question is going to be

        3    about numerical point No. 6 that you raise in

        4    the top e-mail.

        5                 Can I ask you a question?         Are you

        6    ready?

        7         A.      Go ahead.

        8         Q.      Is this -- the context of this

        9    e-mail chain, you and Brandon Prelogar are

      10     looking at what I am going to assume are drafts

      11     of decisions that the secretary is going to be

      12     making about extending or terminating TPS

      13     status for various countries?

      14                  MR. MARUTOLLO:      Objection.

      15                  You can answer to the extent it is

      16     limited to this e-mail.

      17                  THE WITNESS:     No.    I think we had

      18     recently received the State Department's

      19     recommendations and country condition

      20     assessments for these countries.

      21                  BY MR. CONNELLY:

      22          Q.      Okay.
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                                                                         Page 393
        1         A.      And were --

        2         Q.      You are commenting on your --

        3         A.      Reading and commenting on our

        4    impressions of the State Department's

        5    recommendations.

        6         Q.      State Department's recommendations.

        7    Okay.

        8                 And the one that relates to Haiti,

        9    numerical No. 6 quote by you:          "Don't know

      10     whether you read Haiti but it looks like one of

      11     our messes, the country conditions cited

      12     completely support an extension, but the stated

      13     conclusion of termination."

      14                  What were you conveying or what did

      15     you mean by using the phrase "one of our

      16     messes?

      17                  MR. MARUTOLLO:      Objection.

      18                  You can answer.

      19                  THE WITNESS:     I was referring to

      20     some of the recent DHS memos that -- from which

      21     the assessment or the description of country

      22     conditions didn't necessarily lead to the
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                                                                         Page 394
        1    recommended conclusion of the memo.

        2                 BY MR. CONNELLY:

        3         Q.      Okay.   I will show you KA-42 which

        4    is 1273.

        5                 (Deposition Exhibit KA-42 was marked

        6    for identification.)

        7                 THE WITNESS:     Okay.

        8                 BY MR. CONNELLY:

        9         Q.      Okay.   And this -- the major part of

      10     this chain e-mail is the -- Secretary Elaine

      11     Duke's announcement of ending TPS designation

      12     for Haiti, correct?

      13          A.      That's a good chunk of it, yes.

      14          Q.      And then you -- Mr. Prelogar shared

      15     that with you on November 20 at 8:17 in the

      16     evening, and you got back to him a half an hour

      17     or so later, with the observation:           "Brilliant.

      18     How did we end up with a department of dunces."

      19                  Was brilliant declaratory, ironic,

      20     sarcastic?     How would you characterize your use

      21     of that word?

      22                  MR. MARUTOLLO:      Objection.
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                                                                         Page 395
        1                 You can answer.

        2                 THE WITNESS:     I think it was

        3    intended to be somewhat sarcastic.

        4                 BY MR. CONNELLY:

        5         Q.      And what were you conveying or what

        6    was your meaning for posing the question of how

        7    you ended up with a department of dunces?

        8                 MR. MARUTOLLO:      Objection.

        9                 You can answer.

      10                  THE WITNESS:     I think I was

      11     expressing frustration at the decision to

      12     terminate Haiti's TPS and the conclusions that

      13     had been drawn in this announcement.

      14                  BY MR. CONNELLY:

      15          Q.      Have you had, since this time in

      16     November of last year, have you continued to be

      17     engaged in working on the decisions about Haiti

      18     and its status -- its TPS status?

      19                  MR. MARUTOLLO:      Objection.     Vague.

      20                  You can answer.

      21                  THE WITNESS:     I can say with the

      22     decision to terminate Haiti's TPS, there are no
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                                                                         Page 396
        1    further decisions scheduled to be made.

        2                 BY MR. CONNELLY:

        3         Q.      Okay.

        4         A.      But I continue to work on issues

        5    related to Haiti's TPS status.

        6         Q.      Again, I don't want to know anything

        7    more than what the issues are that you continue

        8    to work on.

        9                 MR. MARUTOLLO:      Again, I would

      10     object to the extent there's anything related

      11     to deliberative, that would be protected by the

      12     deliberative process privilege, which would

      13     include internal government deliberations, but

      14     generally, you can answer general subject areas

      15     to the extent there are any related to TPS

      16     designations on Haiti.

      17                  THE WITNESS:     In my role -- again,

      18     I'm in a new role now, but when I was in the

      19     office of policy and strategy, any policy

      20     issues related to TPS that come up are within

      21     our portfolio, so, you know, if there are

      22     questions that come up related to employment
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                                                                         Page 397
        1    authorization documents, related to, you know,

        2    Haiti TPS that sometimes are ongoing, if there

        3    are policy determinations to be made about who

        4    should maintain TPS or TPS should be withdrawn

        5    from certain individuals.

        6                 If there are Congressional inquiries

        7    related to Haiti TPS, I might be involved in

        8    responding to those, so just kind of ongoing

        9    questions related to administering the TPS

      10     program.

      11                  BY MR. CONNELLY:

      12          Q.      Can you tell me, if you can, in some

      13     rough fraction of your time since the decision

      14     to terminate last November, how much of your

      15     2018 time has been occupied with issues or

      16     matters involving Haiti?

      17          A.      That's hard for me to characterize.

      18     I mean, TPS ebbs and flows in terms of time

      19     that we spend on it, whether it's busy or not.

      20     Like I said, the litigation has taken a good

      21     amount of the time spent on Haiti TPS as well.

      22          Q.      Even through 2018?
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                                                                         Page 398
        1                 MR. MARUTOLLO:      And, again, I would

        2    just object to the extent it implicates an

        3    attorney-client privilege or anything along the

        4    lines of preparation for litigation or things

        5    of that nature.

        6                 But apart from that, you can answer

        7    the question.

        8                 THE WITNESS:     I would say

        9    TPS-related issues continue to be a regular

      10     part of -- or continued in my previous role to

      11     be a regular part of my work.

      12                  BY MR. CONNELLY:

      13          Q.      Lastly, in the course of dealing

      14     with the TPS situation with Haiti, since the

      15     new administration came in in January of 2017,

      16     did you ever have any direct contact, whether

      17     oral, e-mail or in any other possible

      18     communication formats, with anyone at the White

      19     House regarding Haiti and its TPS status?

      20                  MR. MARUTOLLO:      I would object on

      21     the grounds laid out in our White House -- or

      22     our motion for protective order related to
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 399 of 463 PageID #:
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                                                                         Page 399
        1    White House, related to discovery issues, and

        2    also to the extent there is any further

        3    questioning about presidential communications,

        4    but with those limitations in mind, you can

        5    answer the question.

        6                 THE WITNESS:     What was the time

        7    frame again?

        8                 BY MR. CONNELLY:

        9         Q.      Since the beginning of the

      10     administration, since January of 2017.

      11                  MR. MARUTOLLO:      And again, only to

      12     the extent, the question is whether --

      13                  BY MR. CONNELLY:

      14          Q.      I'm sorry.     The start of the

      15     administration, January 2017.

      16                  MR. MARUTOLLO:      Again, we would

      17     permit -- over -- we would assert our

      18     objections again for the reasons set forth in

      19     our motion for protective order with the White

      20     House discovery, and also to the extent it does

      21     not implicate any presidential communication

      22     privilege, and to the extent that it only is --
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                                                                         Page 400
        1    this question about whether there were even any

        2    communications between Ms. Anderson and the

        3    White House during that period, and with that

        4    limitation in mind, we can instruct you to

        5    answer the question.

        6                 THE WITNESS:     I attended a meeting

        7    at the White House in May 2017, the meeting

        8    that was referenced earlier that was hosted by

        9    a director at the National Security Council,

      10     that was about Haiti.

      11                  MR. MARUTOLLO:      I'm sorry.     I don't

      12     mean to interrupt, but as that is a -- that

      13     meeting may include classified information, I

      14     just want to -- I don't mean to interrupt the

      15     witness, but since it is a classified issue, I

      16     do want to at least note that, but with that

      17     caveat, you may continue to answer if there is

      18     anything further you'd like to add.

      19                  THE WITNESS:     Okay.    Only that I

      20     attended a meeting that was regarding Haiti

      21     generally and TPS was discussed, and so there

      22     was a White House representative from the
Case 1:18-cv-01599-WFK-ST Document 150-1 Filed 03/01/19 Page 401 of 463 PageID #:
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                                                                         Page 401
        1    National Security Council there at the meeting.

        2                 Additionally, it had been a regular

        3    practice in the past administration and the

        4    Obama Administration and the current

        5    administration to occasionally have contact

        6    with individuals working at the National

        7    Security Council who work on the TPS portfolio.

        8                 Sometimes they will reach out to ask

        9    about the status of TPS determination, and so I

      10     don't have a record of specific contacts but I

      11     probably had some contact with an NSC

      12     representative relating to Haiti's TPS.

      13                  BY MR. CONNELLY:

      14          Q.      Do you recall the name of the

      15     representative?

      16                  MR. MARUTOLLO:      I would just assert

      17     the same objection, but you can provide the

      18     name.

      19                  THE WITNESS:     In the 2017 year, I'm

      20     not sure when they transitioned, but I worked

      21     some with Melissa Bishop and also a man named

      22     Scott Oudkirk.
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                                                                         Page 402
        1                 BY MR. CONNELLY:

        2           Q.    Can you spell that last name.

        3           A.    O-U-D-K-I-R-K.

        4           Q.    Anybody else come to mind?         I am

        5    talking White House at large.          I'm not -- that

        6    wasn't shorthand for just the president, but

        7    anyone who was working in the White House.

        8                 MR. MARUTOLLO:      Again, assert the

        9    same objection and only to the extent you

      10     identify names, we would permit the witness to

      11     answer.

      12                  THE WITNESS:     Possibly Monte Hawkins

      13     at the National Security Council.           I'm not sure

      14     if I had contact with him about Haiti or not,

      15     but he was there at the beginning of this

      16     administration still.

      17                  And then Jill St. John who was

      18     detailed to the National Security Council from

      19     DHS.

      20                  BY MR. CONNELLY:

      21          Q.      So is it your best recollection that

      22     any contact or communications you had with
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                                                                         Page 403
        1    anyone involved with the White House, that was

        2    strictly -- your best recollection was

        3    strictly, it was people at the National

        4    Security Council?

        5         A.      Yes.

        6                 MR. CONNELLY:      Okay.   That's all

        7    I've got.

        8                 MR. MARUTOLLO:      So we would just ask

        9    for an opportunity for the witness to sign and

      10     review the transcript which is part of Rule 31.

      11                  MR. CONNELLY:      And let me -- I

      12     should say.     It's kind of embedded in the

      13     record.

      14                  There may be, you know, a dust-up

      15     over whether or not you should have answered or

      16     had her answer questions and whether or not --

      17     we will have to decide whether we think that is

      18     worth bringing to the judge or not, and

      19     obviously, we will have to abide by whatever

      20     the judge tells us to do.

      21                  I give you that as a caveat to this

      22     deposition having concluded.
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                                                                         Page 404
        1                 MR. MARUTOLLO:      I would just

        2    reiterate that, again, we are willing to go to

        3    the Court now while the witness is here.

        4    Ms. Anderson is obviously a career employee.

        5    We have a very strict schedule.

        6                 We have an agreement related to -- a

        7    joint agreement that the plaintiffs filed the

        8    other night to have the judge available during

        9    these depositions to have real-time rulings, so

      10     we would object to bringing Ms. Anderson back,

      11     besides on the deliberative piece, just as a

      12     practical matter, given the tight schedule but

      13     that is our position.        Thank you.

      14                  MR. CONNELLY:      Thank you.

      15                  THE VIDEOGRAPHER:       This concludes

      16     the deposition of Ms. Anderson.

      17                  We are going off the record at

      18     18:24.

      19                  (Whereupon, the proceeding was

      20     concluded at 6:24 p.m.)

      21

      22
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                                                                         Page 405
        1    DEPOSITION ERRATA SHEET

        2    Our Assignment No. 448917

        3    Case Caption:      Saget

        4    vs. Trump

        5

        6         DECLARATION UNDER PENALTY OF PERJURY

        7    I declare under penalty of perjury that I have

        8    read the entire transcript of my Deposition

        9    taken in the captioned matter or the same has

      10     been read to me, and the same is true and

      11     accurate, save and except for changes and/or

      12     corrections, if any, as indicated by me on the

      13     DEPOSITION ERRATA SHEET hereof, with the

      14     understanding that I offer these changes as if

      15     still under oath.

      16

      17     Signed on the___________day of ____________,

      18     2018.

      19       ________________________________

      20       KATHRYN ANDERSON

      21

      22
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        3    ______________________________________________

        4    Reason for change:____________________________

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      18     ______________________________________________

      19     Reason for change:____________________________

      20

      21     SIGNATURE________________________DATE:________

      22                KATHRYN ANDERSON
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        6    ______________________________________________

        7    Reason for change:____________________________

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      11     Page No.______ Line No.______ Change to:______

      12     ______________________________________________

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      14     Page No.______ Line No.______ Change to:______

      15     ______________________________________________

      16     Reason for change:____________________________

      17     Page No.______ Line No.______ Change to:______

      18     ______________________________________________

      19     Reason for change:____________________________

      20

      21     SIGNATURE:______________________DATE__________

      22                    KATHRYN ANDERSON
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                                                                         Page 408
        1              CERTIFICATE OF NOTARY PUBLIC

        2              I, Bonnie L. Russo, the officer before

        3    whom the foregoing deposition was taken, do

        4    hereby certify that the witness whose testimony

        5    appears in the foregoing deposition was duly

        6    sworn by me; that the testimony of said witness

        7    was taken by me in shorthand and thereafter

        8    reduced to computerized transcription under my

        9    direction; that said deposition is a true

      10     record of the testimony given by said witness;

      11     that I am neither counsel for, related to, nor

      12     employed by any of the parties to the action in

      13     which this deposition was taken; and further,

      14     that I am not a relative or employee of any

      15     attorney or counsel employed by the parties

      16     hereto, nor financially or otherwise interested

      17     in the outcome of the action.

      18                          ____________________________

      19                         Notary Public in and for

      20                          the District of Columbia

      21

      22     My Commission expires:        June 30, 2020
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